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                                   ProHacVice, ClaimsAgent, RELATED, APPEAL, JNTADMN, LEAD




                                  U.S. Bankruptcy Court
                        Eastern District of New York (Central Islip)
                          Bankruptcy Petition #: 8−18−71748−ast
                                                                               Date filed:   03/16/2018
Assigned to: Judge Alan S. Trust                                         Plan confirmed:     02/26/2019
Chapter 11                                                                   341 meeting:    05/23/2018
Voluntary                                                    Deadline for filing claims:     10/28/2022
Asset                                                  Deadline for filing claims (govt.):   09/12/2018


Debtor                                            represented by John P Amato
Orion Healthcorp, Inc.                                           Thompson Coburn Hahn & Hessen LLP
1715 Route 35 North                                              488 Madison Avenue
Suite 303                                                        New York, NY 10022
Middletown, NJ 07748                                             212−478−7380
NASSAU−NY                                                        Fax : 212−478−7200
Tax ID / EIN: 58−1597246                                         Email: jamato@hahnhessen.com

                                                                Thomas Robert Califano
                                                                Sidley Austin LLP
                                                                787 Seventh Avenue
                                                                New York, NY 10019
                                                                212−839−5575
                                                                Fax : 212−839−5599
                                                                Email: tom.califano@sidley.com

                                                                Richard A. Chesley
                                                                DLA Piper LLP (US)
                                                                444 West Lake Street
                                                                Suite 900
                                                                Chicago, IL 60606
                                                                (312) 368−4000
                                                                Fax : (312) 236−7516

                                                                DLA Piper US LLP
                                                                1251 Avenue of the Americas
                                                                New York, NY 10020−1104
                                                                212−335−4500
                                                                Fax : 212−335−4501

                                                                Rachel Nanes
                                                                200 South Biscayne Boulevard
                                                                Suite 2500
                                                                Miami, FL 33131
                                                                Email: rachel.nanes@dlapiper.com

                                                                Mark T Power
                                                                Thompson Coburn Hahn & Hessen LLP
                                                                488 Madison Avenue
                                                                Suite 1400
                                                                New York, NY 10022
                                                                212−478−7350
                                                                Fax : 212−478−7400
                                                                Email: mpower@hahnhessen.com


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Jointly Administered Debtor                     represented by John P Amato
Constellation Healthcare Technologies, Inc.                    (See above for address)
One Arin Park
1715 Route 35 North                                            Thomas Robert Califano
Suite 303                                                      (See above for address)
Middletown, NJ 07748
Tax ID / EIN: 47−2320135                                       Richard A. Chesley
                                                               (See above for address)

                                                               DLA Piper US LLP
                                                               (See above for address)

                                                               Rachel Nanes
                                                               (See above for address)

                                                               Christopher Oprison
                                                               DLA Piper LLP (US)
                                                               200 South Biscayne Boulevard
                                                               Suite 2500
                                                               Miami, FL 33131
                                                               305−423−8522
                                                               Fax : 305−437−8131

                                                               Mark T Power
                                                               (See above for address)

                                                               David Sager
                                                               DLP Piper LLP (US)
                                                               51 Johm F. Kenndey Parkway
                                                               Suire 120
                                                               Short Hills, NJ 07078−2704
                                                               973−520−2550
                                                               Fax : 973−8520−2551

Jointly Administered Debtor                     represented by John P Amato
NEMS Acquisition, LLC                                          (See above for address)
One Arin Park
1715 Route 35 North                                            Thomas Robert Califano
Suite 303                                                      (See above for address)
Middletwon, NJ 07748
Tax ID / EIN: 46−5137378                                       Richard A. Chesley
                                                               (See above for address)

                                                               DLA Piper US LLP
                                                               (See above for address)

                                                               Rachel Nanes
                                                               (See above for address)

                                                               Christopher Oprison
                                                               (See above for address)

                                                               Mark T Power
                                                               (See above for address)

                                                               David Sager
                                                               (See above for address)

Jointly Administered Debtor                     represented by John P Amato
Northeast Medical Solutions, LLC                               (See above for address)
1715 Route 35 North
Suite 303                                                      Thomas Robert Califano

                                                                                              2
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Middletown, NJ 07748                                          (See above for address)
Tax ID / EIN: 25−1872703
                                                              Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
Physicians Practice Plus, LLC                                 (See above for address)
1715 Route 35 North
Suite 303                                                     Thomas Robert Califano
Middletown, NJ 07748                                          (See above for address)
Tax ID / EIN: 47−3214122
                                                              Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
Physicians Practice Plus Holdings, LLC                        (See above for address)
One Arin Park
1715 Route 35 North                                           Thomas Robert Califano
Suite 303                                                     (See above for address)
Middletown, NJ 07748
Tax ID / EIN: 47−3206100                                      Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)


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                                                                 Mark T Power
                                                                 (See above for address)

                                                                 David Sager
                                                                 (See above for address)

Jointly Administered Debtor                       represented by John P Amato
Medical Billing Services, Inc.                                   (See above for address)
1715 Route 35 North
Suite 303                                                        Thomas Robert Califano
Middletown, NJ 77042                                             (See above for address)
Tax ID / EIN: 76−0162971
                                                                 Richard A. Chesley
                                                                 (See above for address)

                                                                 DLA Piper US LLP
                                                                 (See above for address)

                                                                 Rachel Nanes
                                                                 (See above for address)

                                                                 Christopher Oprison
                                                                 (See above for address)

                                                                 Mark T Power
                                                                 (See above for address)

                                                                 David Sager
                                                                 (See above for address)

Jointly Administered Debtor                       represented by John P Amato
Rand Medical Billing, Inc.                                       (See above for address)
1715 Route 35 North
Suite 303                                                        Thomas Robert Califano
Middletown, NJ 07748                                             (See above for address)
Tax ID / EIN: 95−3697887
                                                                 Richard A. Chesley
                                                                 (See above for address)

                                                                 DLA Piper US LLP
                                                                 (See above for address)

                                                                 Rachel Nanes
                                                                 (See above for address)

                                                                 Christopher Oprison
                                                                 (See above for address)

                                                                 Mark T Power
                                                                 (See above for address)

                                                                 David Sager
                                                                 (See above for address)

Jointly Administered Debtor                       represented by John P Amato
RMI Physician Services Corporation                               (See above for address)
1715 Route 35 North
Suite 303                                                        Thomas Robert Califano
Middletown, NJ 77042                                             (See above for address)
Tax ID / EIN: 76−0437239
                                                                 Richard A. Chesley
                                                                 (See above for address)

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                                                               DLA Piper US LLP
                                                               (See above for address)

                                                               Rachel Nanes
                                                               (See above for address)

                                                               Christopher Oprison
                                                               (See above for address)

                                                               Mark T Power
                                                               (See above for address)

                                                               David Sager
                                                               (See above for address)

Jointly Administered Debtor                     represented by John P Amato
Western Skies Practice Management, Inc.                        (See above for address)
1715 Route 35 North
Suite 303                                                      Thomas Robert Califano
Middletown, NJ 07748                                           (See above for address)
Tax ID / EIN: 84−1031904
                                                               Richard A. Chesley
                                                               (See above for address)

                                                               DLA Piper US LLP
                                                               (See above for address)

                                                               Rachel Nanes
                                                               (See above for address)

                                                               Christopher Oprison
                                                               (See above for address)

                                                               Mark T Power
                                                               (See above for address)

                                                               David Sager
                                                               (See above for address)

Jointly Administered Debtor                     represented by John P Amato
Integrated Physician Solutions, Inc.                           (See above for address)
368 W. Pike St., Suite 103
Lawrenceville, GA 30046                                        Thomas Robert Califano
Tax ID / EIN: 58−2260543                                       (See above for address)

                                                               Richard A. Chesley
                                                               (See above for address)

                                                               DLA Piper US LLP
                                                               (See above for address)

                                                               Rachel Nanes
                                                               (See above for address)

                                                               Christopher Oprison
                                                               (See above for address)

                                                               Mark T Power
                                                               (See above for address)

                                                               David Sager

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                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
NYNM Acquisition, LLC                                         (See above for address)
One Arin Park
1715 Route 35 North                                           Thomas Robert Califano
Suite 303                                                     (See above for address)
Middletown, NJ 07748
Tax ID / EIN: 00−0000000                                      Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
Northstar FHA, LLC                                            (See above for address)
One Arin Park
1715 Route 35 North                                           Thomas Robert Califano
Suite 303                                                     (See above for address)
Middletown, NJ 07748
Tax ID / EIN: 00−0000000                                      Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)
                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
Vachette Business Services, Ltd.                              (See above for address)
One Arin Park
1715 Route 35 North                                           Thomas Robert Califano
Suite 303                                                     (See above for address)
Middletown, NJ 07748
Tax ID / EIN: 30−0664672                                      Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)


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                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
MDRX Medical Billing, LLC                                     (See above for address)
One Arin Park
1715 Route 35 North                                           Thomas Robert Califano
Suite 303                                                     (See above for address)
Middletown, NJ 07748
Tax ID / EIN: 81−1785410                                      Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
VEGA Medical Professionals, LLC                               (See above for address)
One Arin Park
1715 Route 35 North                                           Thomas Robert Califano
Suite 303                                                     (See above for address)
Middletown, NJ 07748
Tax ID / EIN: 81−2851055                                      Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
Allegiance Consulting Associates, LLC                         (See above for address)

                                                                                        7
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1715 Route 35 North
Suite 303                                                     Thomas Robert Califano
Middletown, NJ 07003                                          (See above for address)
Tax ID / EIN: 46−1557291
                                                              Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
Allegiance Billing & Consulting, LLC                          (See above for address)
1715 Route 35 North
Suite 303                                                     Thomas Robert Califano
Middletown, NJ 07748                                          (See above for address)
Tax ID / EIN: 52−2297141
                                                              Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
Phoenix Health, LLC                                           (See above for address)
1715 Route 35 North
Suite 303                                                     Thomas Robert Califano
Middletown, NJ 07748                                          (See above for address)
Tax ID / EIN: 47−5650856
                                                              Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Rachel Nanes
                                                              (See above for address)

                                                              Christopher Oprison

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                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
NEMS West Virginia, LLC                                       (See above for address)
1715 Route 35 North
Suite 303                                                     Thomas Robert Califano
Middletown, NJ 07748                                          (See above for address)
Tax ID / EIN: 46−1449624
                                                              Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
Northstar First Health, LLC                                   (See above for address)
1715 Route 35 North
Suite 303                                                     Thomas Robert Califano
Middletown, NJ 07748                                          (See above for address)
Tax ID / EIN: 47−4501522
                                                              Richard A. Chesley
                                                              (See above for address)

                                                              DLA Piper US LLP
                                                              (See above for address)
                                                              Christopher Oprison
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)

                                                              David Sager
                                                              (See above for address)

Jointly Administered Debtor                    represented by John P Amato
New York Network Management, L.L.C.                           (See above for address)
1715 Route 35 North
Suite 303                                                     Thomas Robert Califano
Middletown, NJ 07748                                          (See above for address)
Tax ID / EIN: 11−3347168
                                                              DLA Piper US LLP
                                                              (See above for address)

                                                              Mark T Power
                                                              (See above for address)


                                                                                        9
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U.S. Trustee
United States Trustee
Long Island Federal Courthouse
560 Federal Plaza − Room 560
Central Islip, NY 11722−4437
(631) 715−7800

Cred Committee Aty
Pachulski Stang Ziehl & Jones LLP

Creditor Committee                                  represented by Pachulski Stang Ziehl & Jones LLP
Official Committee of Unsecured Creditors                          780 Third Avenue
                                                                   36th Floor
                                                                   New York, NY 10017

                                                                  Ilan D Scharf
                                                                  Pachulski Stang Ziehl & Jones LLP
                                                                  780 Third Avenue
                                                                  36th Floor
                                                                  New York, NY 10017
                                                                  (212) 561−7721
                                                                  Fax : (212) 561−7777
                                                                  Email: ischarf@pszyjw.com

 Filing Date          #                                        Docket Text

                          1        Chapter 11 Voluntary Petition for Non−Individuals. Fee Amount $1717
                                   Filed by Thomas R Califano on behalf of Orion Healthcorp, Inc.
                                   Chapter 11 Plan due by 07/16/2018. Disclosure Statement due by
 03/16/2018                        07/16/2018. (Califano, Thomas) (Entered: 03/16/2018)

                          156      Order Setting Last Day To File Proofs of Claim. Proofs of Claims due
                                   by 7/5/2018 at 5:00 pm. Government Proof of Claim due by 9/12/2018
                                   at 5:00 pm. Signed on 5/3/2018(Attachments: # 1 Exhibit) (sld)
 05/03/2018                        (Entered: 05/03/2018)

                          204      Statement of Financial Affairs for Non−Individuals (Form 207) Filed by
                                   Thomas R Califano on behalf of Orion Healthcorp, Inc. (RE: related
                                   document(s) Update / Set Deadlines (BK)) (Califano, Thomas)
 05/15/2018                        (Entered: 05/15/2018)

                          1053     Motion to Object/Reclassify/Reduce/Expunge Claims: Claim
                                   Number(s): 240. Objections to be filed on 9/22/2022 at 4:00 p.m..
                                   Hearing on Objections, if any, will be held on: TBD. Filed by Mark T
                                   Power on behalf of Howard M. Ehrenberg. Order to be presented for
                                   signature on 9/23/2022. (Attachments: # 1 Exhibit A − Proposed Order
 08/23/2022                        # 2 Exhibit B − Claim 240) (Power, Mark) (Entered: 08/23/2022)

                          1054     Affidavit/Certificate of Service Filed by Epiq Bankruptcy Solutions
                                   LLC (RE: related document(s)1052 Motion to
                                   Object/Reclassify/Reduce/Expunge Claims filed by Liquidating Trustee
                                   Howard M. Ehrenberg, 1053 Motion to
                                   Object/Reclassify/Reduce/Expunge Claims filed by Liquidating Trustee
 08/25/2022                        Howard M. Ehrenberg). (Amporfro, Regina) (Entered: 08/25/2022)

 10/04/2022               1058     Ordered, Adjudged, and Decreed Claim No. 240 filed by Constellation
                                   Health Investment, LLC is disallowedin its entirety and ordered
                                   expunged from the claims register. The Claim Objection is hereby
                                   sustained. (Related Doc # 1053) Signed on 10/4/2022. (amp) (Entered:


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                          10/05/2022)

                   1059   Notice of Appeal to District Court Court. . Fee Amount $298 Filed by
                          Anthony F Giuliano on behalf of Constellation Health Investment, LLC
                          (RE: related document(s)1058 Order on Motion to
                          Object/Reclassify/Reduce/Expunge Claims). Appellant Designation due
                          by 11/1/2022. Transmission of Designation to District Court Due by
                          11/17/2022. (Attachments: # 1 Certificate of Service)(Giuliano,
10/18/2022                Anthony) (Entered: 10/18/2022)

                   1071   Appellant Designation of Contents For Inclusion in Record On Appeal
                          & Statement of Issues Filed by Anthony F. Giuliano on behalf of
                          Constellation Health Investment, LLC (RE: related document(s)1059
                          Notice of Appeal filed by Interested Party Constellation Health
                          Investment, LLC, 1065 Statement of Issues on Appeal filed by
                          Interested Party Constellation Health Investment, LLC). Appellee
                          designation due by 12/2/2022. (Giuliano, Anthony) (Entered:
11/18/2022                11/18/2022)




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                                                                                  10:19:08


Fill in this information to identify the case:

United States Bankruptcy Court for the:
Eastern District of New York
                                      (State)

Case number (If known): _________________________ Chapter 11                                                                             Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                              Orion Healthcorp, Inc.


2.   All other names debtor used
     in the last 8 years
     Include any assumed names, trade
     names, and doing business as names



3.   Debtor’s federal Employer
                                                XX-XXXXXXX
     Identification Number (EIN)


4.   Debtor’s address                           Principal place of business                                 Mailing address, if different from principal place
                                                                                                            of business


                                                100 Jericho Quadrangle, Suite 235                           1735 Route 35 North
                                                Number       Street                                         Number       Street




                                                                                                            P.O. Box



                                                Jericho                          NY               17753     Middletown                    NJ                07748
                                                City                             State         Zip Code     City                          State          Zip Code

                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business

                                                Nassau
                                                County
                                                                                                            Number       Street




                                                                                                            City                          State          Zip Code




5.   Debtor’s website (URL)                     www.orionhealthcorp.com


6.   Type of debtor                                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                       Partnership (excluding LLP)
                                                       Other. Specify:



                                                A. Check one:

Official Form 201                                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 1
                                                                                                                                               EAST\152032199.2

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                                                       Filed
                                                           03/16/18
                                                             12/09/22 Entered
                                                                       Entered03/16/18
                                                                               12/09/2221:27:52
                                                                                        10:19:08
Debtor          Orion Healthcorp, Inc.                                                             Case number (if known)
                Name




7.    Describe debtor’s business
                                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                     None of the above


                                                 B. Check all that apply:
                                                     Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                     Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                    5614


8.    Under which chapter of the                 Check one:
      Bankruptcy Code is the
      debtor filing?                                 Chapter 7
                                                     Chapter 9
                                                     Chapter 11. Check all that apply:
                                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                        affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every
                                                                        3 years after that).
                                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                                        is a small business debtor, attach the most recent balance sheet, statement of
                                                                        operations, cash-flow statement, and federal income tax return or if all of these
                                                                        documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.
                                                                        Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                        in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                        Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                        12b-2.
                                                     Chapter 12


9.    Were prior bankruptcy cases                    No
      filed by or against the debtor                 Yes.    District                         When                             Case number
      within the last 8 years?                                                                        MM / DD / YYYY
      If more than 2 cases, attach a separate                District                         When                             Case number
      list.
                                                                                                      MM / DD / YYYY


10.   Are any bankruptcy cases                       No
      pending or being filed by a                    Yes.    Debtor See Rider 1                                             Relationship
      business partner or an
      affiliate of the debtor?                               District                                                       When
                                                                                                                                           MM / DD / YYYY
      List all cases. If more than 1, attach a
      separate list.                                         Case number, if known




Official Form 201                                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 2
                                                                                                                                                  EAST\152032199.2

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                    Case
                     Case8-18-71748-ast
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Debtor       Orion Healthcorp, Inc.                                                     Case number (if known)
             Name




11.   Why is the case filed in this   Check all that apply:
      district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have         No     [See Rider 2]
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal
      property that needs                         Why does the property need immediate attention? (Check all that apply.)
      immediate attention?                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                      Other


                                                  Where is the property?
                                                                              Number         Street




                                                                              City                                  State              ZIP Code


                                                  Is the property insured?
                                                      No
                                                      Yes. Insurance agency

                                                              Contact name

                                                              Phone


          Statistical and administrative information


13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.


14.   Estimated number of                 1-49                                       1,000-5,000                          25,001-50,000
      creditors                           50-99                                      5,001-10,000                         50,001-100,000
      (on a consolidated basis)           100-199                                    10,001-25,000                        More than 100,000
                                          200-999


15.   Estimated assets                    $0-$50,000                                 $1,000,001-$10 million               $500,000,001-$1 billion
      (on a consolidated basis)           $50,001-$100,000                           $10,000,001-$50 million              $1,000,000,001-$10 billion
                                          $100,001-$500,000                          $50,000,001-$100 million             $10,000,000,001-$50 billion
                                          $500,001-$1 million                        $100,000,001-$500 million            More than $50 billion




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 3
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 Debtor       Orion Healthcorp, Inc.                                                        Case number (if known)
              Name




16.   Estimated liabilities                     $0-$50,000                            $1,000,001-$10 million                     $500,000,001-$1 billion
      (on a consolidated basis)                 $50,001-$100,000                      $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                $100,001-$500,000                     $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million                   $100,000,001-$500 million                  More than $50 billion



                     Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of              ■     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of              this petition.
      debtor
                                                ■     I have been authorized to file this petition on behalf of the debtor.

                                                ■    I have examined the information in this petition and have a reasonable belief that the information is
                                                true and correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on 03/16/2018
                                                        MM / DD / YYYY


                                          /s/ Timothy J. Dragelin                                    Timothy J. Dragelin
                                               Signature of authorized representative of debtor       Printed name

                                         Title: Chief Restructuring Officer




18.   Signature of attorney                     /s/ Thomas R. Califano                               Date     03/16/2018
                                                Signature of attorney for debtor                               MM / DD / YYYY




                                         Thomas R. Califano
                                         Printed name

                                         DLA Piper LLP (US)
                                         Firm name

                                         1251 Avenue of the Americas
                                         Number Street

                                         New York                                                                           NY                 10020-1104
                                         City                                                                               State              ZIP Code

                                         (212) 335-4500                                                                     thomas.califano@dlapiper.com
                                         Contact phone                                                                      Email address

                                         2286144                                                                            NY
                                         Bar number                                                                         State




 Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          : Chapter 11
                                                                :
ORION HEALTHCORP, INC.,                                         : Case No. 18-_____ (___)
                                                                :
                    Debtor.                                     :
--------------------------------------------------------------- x

                                                     Rider 1

                    Pending Bankruptcy Cases Filed by the Debtor and Its Affiliates

         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a voluntary
petition in the United States Bankruptcy Court for the Eastern District of New York for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint administration of their
cases with the lead case number assigned to the chapter 11 case of Orion Healthcorp, Inc.

    1.    Orion Healthcorp, Inc.
    2.    Constellation Healthcare Technologies, Inc.
    3.    NEMS Acquisition, LLC
    4.    Northeast Medical Solutions, LLC
    5.    NEMS West Virginia, LLC
    6.    Physicians Practice Plus Holdings, LLC
    7.    Physicians Practice Plus, LLC
    8.    Medical Billing Services, Inc.
    9.    Rand Medical Billing, Inc.
    10.   RMI Physician Services Corporation
    11.   Western Skies Practice Management, Inc.
    12.   Integrated Physician Solutions, Inc.
    13.   NYNM Acquisition, LLC
    14.   Northstar FHA, LLC
    15.   Northstar First Health, LLC
    16.   Vachette Business Services, Ltd.
    17.   Phoenix Health, LLC
    18.   MDRX Medical Billing, LLC
    19.   VEGA Medical Professionals, LLC
    20.   Allegiance Consulting Associates, LLC
    21.   Allegiance Billing & Consulting, LLC




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                : Chapter 11
ORION HEALTHCORP, INC.,                                         :
                                                                : Case No. 18-_____ (___)
                    Debtor.                                     :
--------------------------------------------------------------- x

                                                    Rider 2

                   Real Property or Personal Property that Needs Immediate Attention
        Question 12, among other things, asks the debtor to identify any property that poses or is alleged
to pose a threat of imminent and identifiable hazard to public health or safety.
        The above-captioned debtor (the “Debtor”) does not believe it owns or possesses any real or
personal property that (i) poses a threat of imminent and identifiable hazard to public health or safety, (ii)
needs to be physically secured or protected from the weather, or (iii) includes perishable goods or assets
that could quickly deteriorate. The Debtor notes that it is not aware of the exact definition of “imminent
and identifiable hazard” as used in this form.




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                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK
                                               www.nyeb.uscourts.gov

                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE 1073-2(b)



DEBTOR(S): ORION HEALTHCORP, INC.                                                            CASE NO.:

         Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:
[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under 11 U.S.C. § 541(a).]


   NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

   THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.:                            JUDGE:                                      DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO):                       [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:



2. CASE NO.:                            JUDGE:                                     DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO):                       [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:




                                                                [OVER]

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DISCLOSURE OF RELATED CASES (cont’d)


3. CASE NO.:                           JUDGE:                                          DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO):                           [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                 (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:




NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):               Y

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.


/s/ Thomas R. Califano
Signature of Debtor’s Attorney                                                Signature of Pro-se Debtor/Petitioner


                                                                              Mailing Address of Debtor/Petitioner


                                                                              City, State, Zip Code


                                                                              Email Address


                                                                              Area Code and Telephone Number


Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of
a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                         page 8
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          : Chapter 11
                                                                :
ORION HEALTHCORP, INC., et al.,1                                : Case No. 18-_____ (___)
                                                                :
                    Debtor.                                     : (Joint Administration Pending)
--------------------------------------------------------------- x

               CONSOLIDATED LIST OF CREDITORS WHO HAVE THE
       SEVENTY-FIVE (75) LARGEST UNSECURED CLAIMS AND ARE NOT INSIDERS

         The above-captioned debtor and its debtor affiliates (collectively, the “Debtors”) hereby certify
that the Consolidated List of Creditors Who Have the Seventy-Five (75) Largest Unsecured Claims and
Are Not Insiders submitted herewith contains the names and addresses of the Debtors’ consolidated top
seventy-five (75) unsecured creditors (the “Top 75 List”). The list has been prepared from the Debtors’
unaudited books and records as of the Petition Date. The Top 75 List was prepared in accordance with
Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases.
The Top 75 List does not include: (1) persons who come within the definition of an “insider” set forth in
11 U.S.C. § 101(31); or (2) secured creditors. The information presented in the Top 75 List shall not
constitute an admission by, nor is it binding on, the Debtors. Moreover, nothing herein shall affect the
Debtors’ right to challenge the amount or characterization of any claim at a later date. The failure of the
Debtors to list a claim as contingent, unliquidated or disputed does not constitute a waiver of the Debtors’
right to contest the validity, priority, and/or amount of any such claim. The Debtors are comprised of
twenty-one (21) affiliated companies. There are over 3,200 creditors and parties in interest in these cases,
and there may be potential for confusion and/or overlap regarding creditor obligations. Given the
circumstances, the Debtors submit that it is appropriate for them to file a consolidated list of their
seventy-five (75) largest unsecured creditors.




1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown); Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141). The corporate headquarters and the mailing
address for the Debtors listed above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.




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      Fill in this information to Identify the case:

      Debtor Name: Orion Healthcorp, Inc., et al.
                                                                                                                                        Check if this is an
      United States Bankruptcy Court for the: Eastern District of New York                                                              amended filing
      Case Number (If known):       18-_____




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 75 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 75 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                         professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                         services, and         or disputed     setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                               Total claim, if       Deduction          Unsecured
                                                                                                               partially secured     for value of       claim
                                                                                                                                     collateral or
                                                                                                                                     setoff

  1       WINSTON & STRAWN LLP                 CONTACT: CHRIS            TRANSACTION-               D                                                      $3,000,000.00
          35 W. WACKER DRIVE                   ZOCHOWSKI                 RELATED
          CHICAGO, IL 60601-9703               PHONE: 1-312-558-5600
                                               CZochowski@winston.com
  2       GSS INFOTECH                         CONTACT: BHARGAV          LITIGATION CLAIM          D,U                                                     $2,700,000.00
          2050, BRUNSWICK PLAZA - 1            MAREPALLY
          STATE HIGHWAY 27                     PHONE: 1-732-798-3101
          SUITE 201                            FAX: 512.266.8803
          NORTH BRUNSWICK, NJ 08902
  3       THE BANK OF NEW YORK                                           PROMISSORY NOTE            D                                                      $1,942,111.77
          NOMINEES LIMITED
          ONE PICCADILLY GARDENS
          MANCHESTER M1 1RN ENGLAND
  4       FOREST NOMINEES LIMITED                                        PROMISSORY NOTE            D                                                      $1,234,745.00
          P.O. BOX 328
          ST PETER PORT
          GUERNSEY GY1 3TY CHANNEL
          ISLANDS
  5       HAREWOOD NOMINEES LIMITED                                      PROMISSORY NOTE            D                                                      $1,133,357.02
          10 HAREWOOD AVENUE
          LONDON NW1 6AA ENGLAND
  6       HSBC GLOBAL CUSTODY NOMINEE                                    PROMISSORY NOTE            D                                                      $1,035,078.37
          UK LIMITED
          8 CANADA SQUARE
          LONDON E14 5HQ ENGLAND




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                   Page 1
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  Debtor: Orion Healthcorp, Inc., et al.                                                     Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  7     PLATFORM SECURITIES NOMINEES       PHONE: 44 12 1233 0336    PROMISSORY NOTE            D                                                        $912,654.79
        LIMITED                            FAX: 44 12 1605 0909
        CANTERBURY HOUSE
        85 NEWHALL STREET
        BIRMINGHAM B3 1LH ENGLAND
  8     AMERICAN EXPRESS TRAVEL            CONTACT: RAQUEL           LITIGATION                D,U                                                       $855,502.85
        RELATED SERVICES COMPANY, INC.     HERNANDEZ, ASSISTANT
        200 VESEY STREET                   CUSTODIAN
        NEW YORK, NY 10285                 PHONE: 212-640-5130
                                           FAX: 212-640-0404
  9     HSBC GLOBAL CUSTODY NOMINEE                                  PROMISSORY NOTE            D                                                        $813,345.00
        UK LIMITED
        8 CANADA SQUARE
        LONDON E14 5HQ ENGLAND
  10    NORTRUST NOMINEES LIMITED          PHONE: 44-2079822000      PROMISSORY NOTE            D                                                        $637,037.26
        50 BANK STREET
        CANARY WHARF
        LONDON E14 5NT ENGLAND
  11    JIM NOMINEES LIMITED                                         PROMISSORY NOTE            D                                                        $632,177.40
        78 MOUNT EPHRAIM
        TUNBRIDGE WELLS
        KENT TN4 8BS ENGLAND
  12    MORGAN STANLEY CLIENT                                        PROMISSORY NOTE            D                                                        $535,841.49
        SECURITIES NOMINEES LIMITED
        25 CABOT SQUARE
        CANARY WHARF
        LONDON E14 4QA ENGLAND
  13    STEEL VALLEY EMERGENCY             CONTACT: TOM DANNIBALLE LITIGATION CLAIM            D,U                                                       $500,000.00
        PHYSICIANS, LLC                    PHONE: 1-740-264-7173
        2720 SUNSET BLVD                   jhazlewood@reedsmith.com
        STEUBENVILLE, OH 43952


  14    ROBINSON BROG LEINWAND             CONTACT: ADAM GREENE      PROFESSIONAL              D,U                                                       $475,000.00
        GREENE GENOVESE AND GLUCK PC       PHONE: 1-212-603-6355     SERVICES
        875 THIRD AVENUE                   ajg@robinsonbrog.com
        9TH FLOOR
        NEW YORK, NY 10022
  15    BNY OCS NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                        $450,732.02
        ONE PICCADILLY GARDENS
        MANCHESTER M1 1RN UNITED
        KINGDOM
  16    NORTRUST NOMINEES LIMITED                                    PROMISSORY NOTE            D                                                        $424,916.11
        50 BANK STREET
        CANARY WHARF
        LONDON E14 5NT UNITED
        KINGDOM
  17    KOLB RADIOLOGY, PC                 CONTACT: DR. THOMAS       LITIGATION CLAIM          D,U                                                       $375,000.00
        635 MADISON AVE                    KOLB, MD
        NEW YORK, NY 10022                 PHONE: 1-212-602-1168
                                           tkolbmd@yahoo.com




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                  Page 2
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  Debtor: Orion Healthcorp, Inc., et al.                                                     Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  18    CREDIT SUISSE CLIENT NOMINEES                                PROMISSORY NOTE            D                                                        $367,650.00
        UK LIMITED
        ONE CABOT SQUARE
        CANARY WHARF
        LONDON E14 4QJ UNITED
        KINGDOM
  19    THE BANK OF NEW YORK                                         PROMISSORY NOTE            D                                                        $335,676.49
        NOMINEES LIMITED
        ONE PICCADILLY GARDENS
        MANCHESTER M1 1RN UNITED
        KINGDOM
  20    GOLDMAN SACHS INTERNATIONAL        PHONE: 44 2077 741000     PROMISSORY NOTE            D                                                        $319,576.86
        PO BOX 62663
        PETERBOROUGH COURT
        133 FLEET STREET
        LONDON EC4P 4AY UNITED
        KINGDOM
  21    LEXINGTON LANDMARK SERVICES        CONTACT: DAVID M.         PROMISSORY NOTE            D                                                        $301,000.00
        LLC                                BLUMENTHAL
        CO ROBINSON BROG LEINWAND          PHONE: 212 603-0497
        GREEN                              zb@robinsonbrog.com
        GENOVESE AND GLUCK PC
        875 THIRD AVENUE, 9TH FLOOR
        NEW YORK, NY 10022
  22    FINNCAP                            CONTACT: STUART ANDREWS TRANSACTION                  D                                                        $299,594.04
        60 NEW BROAD STREET                PHONE: 020 7220 0565    RELATED
        LONDON EC2M 1JJ UNITED             sandrews@finncap.com
        KINGDOM
  23    PERSHING NOMINEES LIMITED                                    PROMISSORY NOTE            D                                                        $299,476.51
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  24    CHASE NOMINEES LIMITED             PHONE: 44 20 7777 2000    PROMISSORY NOTE            D                                                        $287,665.27
        PO BOX 7732
        1 CHASESIDE
        BOURNEMOUTH BH1 9XA UNITED
        KINGDOM
  25    ROOKMINEE SINGH-NARAYAN            CONTACT: ROOKMINEE        LITIGATION CLAIM          D,U                                                       $250,000.00
        JAIRAJ YAMRAJTHANK                 SINGH-NARAYAN JAIRAJ
        9317 207TH ST                      YAMRAJTHANK
        2295 LANCASTER AVE, BALDWIN, NY    FAX: 718-740-2000
        11510                              legal@abdulhassan.com
        QUEENS VILLAGE, NY 11428
  26    1805 OLD ALABAMA V ORION                                     LITIGATION CLAIM                                                                    $227,473.59
        1805 OLD ALABAMA ROAD
        ROSWELL, GA 30076
  27    YOUNG CONAWAY                      CONTACT: JAMES L PATTON   TRANSACTION-               D                                                        $225,000.00
        RODNEY SQUARE                      FAX: 302.571.1253         RELATED
        1000 NORTH KING ST                 jpatton@ycst.com
        WILMINGTON, DE 19801




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                  Page 3
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  Debtor: Orion Healthcorp, Inc., et al.                                                         Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,       Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact              debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                         professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                         services, and         or disputed     setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                               Total claim, if       Deduction          Unsecured
                                                                                                               partially secured     for value of       claim
                                                                                                                                     collateral or
                                                                                                                                     setoff

  28    SKANDINAVISKA ENSKILDA BANKEN      CONTACT: MARK LUSCOMBE        PROMISSORY NOTE            D                                                        $172,000.00
        AB PUBL                            PHONE: 44 20 72464000
        CO BNP PARIBAS SECURITIES          mark.luscombe@seb.co.uk
        SERVICES
        55 MOORGATE
        4TH FLOOR
        LONDON EC2R 6PA UNITED
        KINGDOM
  29    NORTRUST NOMINEES LIMITED                                        PROMISSORY NOTE            D                                                        $153,832.50
        50 BANK STREET
        CANARY WHARF
        LONDON E14 5NT UNITED
        KINGDOM
  30    PARKERSBURG RADIOLOGY              CONTACT: MIKE HENSLEY         LITIGATION CLAIM          D,U                                                       $150,000.00
        SERVICES, INC.                     PHONE: 1-270-793-2027
        PO BOX 779
        PARKERSBURG, WV 26102
  31    BREWIN NOMINEES LIMITED                                          PROMISSORY NOTE            D                                                        $141,900.00
        PO BOX 1025
        TIME CENTRAL
        GALLOWGATE
        NEWCASTLE UPON TYNE NE99 1SX
        UNITED KINGDOM
  32    ALLIANCE HEALTH SCIENCES           PHONE: 214.420.8200           TRADE DEBT                                                                          $133,494.00
        3418 MIDCOURT RD                   FAX: 214.420.8205
        STE 118                            info@alliancediagnostics.co
        CARROLLTON, TX 75006               m
  33    N.Y. NOMINEES LIMITED                                            PROMISSORY NOTE            D                                                        $129,000.00
        PO BOX 293
        20 FARRINGDON ROAD
        LONDON EC1M 3NH UNITED
        KINGDOM
  34    ABN AMRO GLOBAL NOMINEES                                         PROMISSORY NOTE            D                                                        $118,250.00
        LIMITED
        5 ALDERMANBURY SQUARE
        LONDON EC2V 7HR UNITED
        KINGDOM
  35    GEBBS HEALTHCARE SOLUTIONS,        CONTACT: KIRAN KUMAR,         LITIGATION CLAIM          D,U                                                       $110,057.50
        INC.                               SVP CLIENT RELATIONS
        4640 ADMIRALTY WAY                 SOLUTIONS
        STE 950                            PHONE: 1-201-562-8294
        MARINA DEL RAY 90292               Kiran.Kumar@gebbs.com
  36    LAWSHARE NOMINEES LIMITED          PHONE: 1-892-523-346          PROMISSORY NOTE            D                                                        $103,313.95
        CALVERLEY HOUSE
        55 CALVERLEY ROAD
        TUNBRIDGE WELLS
        KENT TN1 2TU UNITED KINGDOM
  37    COCKERELL DERMATOPATHOLOGY,        CONTACT: BRANDA WANDER LITIGATION CLAIM                  D                                                        $100,000.00
        P.A.                               PHONE: 1-214-530-5200
        100 HIGHLAND PARK VILLAGE          info@lynnllp.com
        STE 200
        DALLAS, TX 75205




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                      Page 4
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  Debtor: Orion Healthcorp, Inc., et al.                                                      Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  38    STATE STREET NOMINEES LIMITED      PHONE: 44 0 131 315 2000   PROMISSORY NOTE            D                                                         $87,075.00
        525 FERRY ROAD                     FAX: 44 0 131 315 2999
        EDINBURGH EH5 2AW UNITED
        KINGDOM
  39    UBS PRIVATE BANKING NOMINEES                                  PROMISSORY NOTE            D                                                         $84,481.67
        LTD
        1 FINSBURY AVENUE
        LONDON EC2M 2AN UNITED
        KINGDOM
  40    NORTRUST NOMINEES LTD                                         PROMISSORY NOTE            D                                                         $79,629.55
        GFS CUSTODY SERVICING - EMEA
        NORTHERN TRUST
        50 BANK STREET
        LONDON E14 5NT UNITED
        KINGDOM
  41    MR MAX EDWARD ROYDE                                           PROMISSORY NOTE            D                                                         $76,785.53
        13 ELMS ROAD
        LONDON SW4 9ER UNITED
        KINGDOM
  42    PERSHING NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                         $76,785.53
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  43    MERRILL LYNCH INTERNATIONAL        PHONE: 44-20-7628-1000     PROMISSORY NOTE            D                                                         $73,902.81
        2 KING EDWARD STREET               UKWealthManagement@ml.
        LONDON EC1A 1HQ UNITED             com
        KINGDOM
  44    RATHBONE NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                         $69,574.00
        PORT OF LIVERPOOL BUILDING
        PIER HEAD
        LIVERPOOL L3 1NW UNITED
        KINGDOM
  45    PERSHING NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                         $63,855.00
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  46    PERSHING NOMINEES LIMITED                                     PROMISSORY NOTE            D                                                         $59,458.68
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  47    PLATFORM SECURITIES NOMINEES                                  PROMISSORY NOTE            D                                                         $59,294.42
        LIMITED
        CANTERBURY HOUSE
        85 NEWHALL STREET
        BIRMINGHAM B3 1LH UNITED
        KINGDOM
  48    CRITERIONS, LLC                    info@criterions.com        TRADE DEBT                 D                                                         $57,090.00
        18 GENEVIEVE PLACE
        GREAT NECK, NY 11021




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                   Page 5
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  Debtor: Orion Healthcorp, Inc., et al.                                                     Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  49    PERSHING NOMINEES LIMITED                                    PROMISSORY NOTE            D                                                         $54,481.00
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL UNITED
        KINGDOM
  50    CHRISTINE COHEN                    CONTACT: CHRISTINE COHEN PROFESSIONAL                D                                                         $53,143.17
        39 OCEAN AVENUE                    chriscohen55@yahoo .com  FEES
        CENTER MORICHES, NY 11934
  51    JIM NOMINEES LIMITED                                         PROMISSORY NOTE            D                                                         $47,052.75
        78 MOUNT EPHRAIM
        TUNBRIDGE WELLS
        KENT TN4 8BS
  52    CLAUDIO FERRER                     CONTACT: MARIA RITA       LITIGATION CLAIM          D,U                                                        $46,000.00
        VILES BECKMAN, LLC                 ALAIMO
        ATTN MARIA RITA ALAIMO             FAX: 877-441-9119
        6350 PRESIDENTIAL COURT
        FORT MYERS, FL 33919
  53    PLATFORM SECURITIES NOMINEES                                 PROMISSORY NOTE            D                                                         $44,298.60
        LIMITED
        CANTERBURY HOUSE
        85 NEWHALL STREET
        BIRMINGHAM B3 1LH
  54    CHASE NOMINEES LIMITED                                       PROMISSORY NOTE            D                                                         $43,715.52
        PO BOX 7732
        1 CHASESIDE
        BOURNEMOUTH BH1 9XA
  55    MCGUIREWOODS LLP                   CONTACT: GEORGE KEITH    TRANSACTION                 D                                                         $42,900.00
        800 EAST CANAL STREET              MARTIN                   RELATED
        RICHMOND, VA 23219                 gmartin@mcguirewoods.com


  56    EQUIVALENT DATA LLC.               CONTACT: MICHAEL J        TRADE DEBT                                                                           $42,500.00
        CO MANFRED STERNBERG JR            MEDRANO
        4550 POST OAK PLACE SUITE 119      FAX: 713-939-4538
        HOUSTON, TX 77027                  Solutions@eqd.com
  57    TD DIRECT INVESTING NOMINEES                                 PROMISSORY NOTE            D                                                         $37,358.83
        (EUROPE) LIMITED
        EXCHANGE COURT
        DUNCOMBE STREET
        LEEDS LS1 4AX
  58    HSBC GLOBAL CUSTODY NOMINEE                                  PROMISSORY NOTE            D                                                         $36,281.25
        (UK)
        LIMITED
        8 CANADA SQUARE
        LONDON E14 5HQ
  59    PEEL HUNT HOLDINGS LIMITED                                   PROMISSORY NOTE            D                                                         $36,140.21
        MOOR HOUSE
        120 LONDON WALL
        LONDON EC2Y 5ET
  60    STIFEL NICOLAUS EUROPE LTD         CONTACT: DAVID ARCH       TRANSACTION                D                                                         $35,819.68
        150 CHEAPSIDE                      david.arch@stifel.com     RELATED
        LONDON EC2V 6ET




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                  Page 6
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  Debtor: Orion Healthcorp, Inc., et al.                                                     Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  61    STIFEL NICOLAUS EUROPE LIMITED                               PROMISSORY NOTE            D                                                         $34,744.86
        150 CHEAPSIDE
        LONDON EC2V 6ET
  62    NOMURA PB NOMINEES LIMITED                                   PROMISSORY NOTE            D                                                         $31,772.27
        1 ANGEL LANE
        LONDON EC4R 3AB
  63    TD DIRECT INVESTING NOMINEES                                 PROMISSORY NOTE            D                                                         $28,746.36
        (EUROPE) LIMITED
        EXCHANGE COURT
        DUNCOMBE STREET
        LEEDS LS1 4AX
  64    STATE STREET NOMINEES LIMITED                                PROMISSORY NOTE            D                                                         $27,950.00
        525 FERRY ROAD
        EDINBURGH EH5 2AW
  65    HSBC CLIENT HOLDINGS NOMINEE                                 PROMISSORY NOTE            D                                                         $27,535.05
        (UK)
        LIMITED
        8 CANADA SQUARE
        LONDON E14 5HQ
  66    W B NOMINEES LIMITED                                         PROMISSORY NOTE            D                                                         $25,800.00
        ST JAMES HOUSE
        27-43 EASTERN ROAD
        ROMFORD ESSEX RM1 3NH
  67    NEW JERSEY INNOVATION              pqrs@njii.com             TRADE DEBT                                                                           $25,415.00
        INSTITUTE
        ENTERPRISE DEVELOPMENT
        CENTERS
        211 WARREN ST
        NEWARK, NJ 07103
  68    KERN CAL LAND PROPERTIES LLC.      CONTACT: ELSIE SALVUCCI   RENT                                                                                 $24,747.80
        PO BOX 299
        SIMI VALLEY, CA 93062
  69    AGE                                                          TRADE DEBT                                                                           $21,677.87
        16625 REDMOND WAY M475
        REDMOND, WA 98052
  70    VICTOIRE NOMINEES LIMITED                                    PROMISSORY NOTE            D                                                         $21,217.49
        10 HAREWOOD AVENUE
        LONDON NW1 6AA
  71    PERSHING NOMINEES LIMITED                                    PROMISSORY NOTE            D                                                         $19,402.46
        THE ROYAL LIVER BUILDING
        PIER HEAD
        LIVERPOOL L3 1LL
  72    HOUSTON TEXAS WESTCHASE III        CONTACT: ROBERT O.       RENT                                                                                  $18,588.62
        PROPERTIES                         CROMWELL II
        CO MOODY RAMBIN INTEREST           bcromwell@moodyrambinint
        1455 WEST LOOP SOUTH SUITE 700     .com
        HOUSTON, TX 77027
  73    CDW GOVERNMENT, INC. 1515          FAX: 847-419-6200         TRADE DEBT                                                                           $17,358.12
        75 REMITTANCE DR
        SUITE 1515
        CHICAGO, IL 60675-1515




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                  Page 7
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  Debtor: Orion Healthcorp, Inc., et al.                                                     Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  74    BARCLAYSHARE NOMINEES LIMITED                                PROMISSORY NOTE            D                                                         $16,261.74
        1 CHURCHILL PLACE
        LONDON E14 5HP


  75    LAWSHARE NOMINEES LIMITED                                    PROMISSORY NOTE            D                                                         $14,648.81
        CALVERLEY HOUSE
        55 CALVERLEY ROAD
        TUNBRIDGE WELLS
        KENT TN1 2TU




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 75 Largest Unsecured Claims                                  Page 8
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Fill in this information to identify the case and this filing:


Debtor Name Orion Healthcorp, Inc., et al.

United States Bankruptcy Court for the: Eastern District of New York
                                                  (State)

Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                  Declaration and signature

              I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
              partnership; or another individual serving as a representative of the debtor in this case.

              I have examined the information in the documents checked below and I have a reasonable belief that the information is true
              and correct:

              ☐           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


              ☐           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


              ☐           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


              ☐           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


              ☐           Schedule H: Codebtors (Official Form 206H)


              ☐           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


              ☐           Amended Schedule


              ☒           Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the Seventy-Five (75) Largest
                          Unsecured Claims and Are Not Insiders (Official Form 204). Presented on a Consolidated Basis.


              ☐          Other document that requires a declaration


I declare under penalty of perjury that the foregoing is true and correct.

Executed on       03/16/2018
                  MM / DD / YYYY                   /s/ Timothy J. Dragelin
                                                   Signature of individual signing on behalf of debtor

                                                   Timothy J. Dragelin
                                                   Printed name

                                                   Chief Restructuring Officer
                                                   Position or relationship to debtor




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          : Chapter 11
                                                                :
ORION HEALTHCORP, INC.,                                         : Case No. 18-_____ (___)
                                                                :
                    Debtor.                                     :
--------------------------------------------------------------- x

                                CORPORATE OWNERSHIP AND
                    E.D.N.Y. LOCAL BANKRUPTCY RULE 1073-3 STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, and Rule

1073-3 of the Local Bankruptcy Rules for the Eastern District of New York, the undersigned authorized

officer of the Debtor certifies that the following corporate entities or individuals, other than a

governmental unit, directly or indirectly own 10% or more of any class of the Debtor’s equity interest.

                            Shareholder                                 Percentage Ownership Interest
    Constellation Healthcare Technologies, Inc.
    One Arin Park
                                                                                       100%
    1735 Route 35 North, Suite 303
    Middletown, NJ 07748




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Fill in this information to identify the case and this filing:



Debtor Name Orion Healthcorp, Inc.

United States Bankruptcy Court for the: Eastern District of New York
                                                  (State)

Case number (If known):



Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                   ☒              Other document that requires a declaration Statement of Corporate Ownership

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            03/16/2018                                /s/ Timothy J. Dragelin
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 Timothy J. Dragelin
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                : Chapter 11
ORION HEALTHCORP, INC.,                                         :
                                                                : Case No. 18-_____ (___)
                    Debtor.                                     :
--------------------------------------------------------------- x

                                LIST OF EQUITY SECURITY HOLDERS

        Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), the above-captioned debtor hereby

provides the following list of holders of equity interests:


               Name and Address of Interest Holder                             Percentage of Interests Held
Constellation Healthcare Technologies, Inc.
One Arin Park
                                                                                            100%
1735 Route 35 North, Suite 303
Middletown, NJ 07748




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Fill in this information to identify the case and this filing:



Debtor Name Orion Healthcorp, Inc.

United States Bankruptcy Court for the: Eastern District of New York
                                                  (State)

Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204).


                   ☒              Other document that requires a declaration List of Equity Security Holders

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            03/16/2018                                /s/ Timothy J. Dragelin
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 Timothy J. Dragelin
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




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                      [OMNIBUS RESOLUTION PLACEHOLDER]




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                 OMNIBUS JOINT WRITTEN CONSENT
  OF THE BOARDS OF DIRECTORS, SOLE STOCKHOLDERS, SOLE MANAGERS
               AND SOLE MEMBERS, AS APPLICABLE, OF
          CONSTELLATION HEALTHCARE TECHNOLOGIES, INC.
      AND EACH OF ITS SUBSIDIARIES LISTED ON EXHIBIT A HERETO

                                         March 16, 2018

        Each of the undersigned, being all of the members of the board of directors, the sole
stockholder, the sole manager or the sole member (each, an “Authorized Governing Body” and
collectively, the “Authorized Governing Bodies”) of the applicable entity or entities listed on
Exhibit A hereto (each a “Company” and collectively, the “Companies”), pursuant to the
applicable laws of the jurisdiction of organization of each Company and the applicable
provisions of the organizational documents of each Company, does hereby consent to the
following actions, adopt the following resolutions by written consent in lieu of a meeting and
agree that said resolutions shall have the same force and effect as if duly adopted at a meeting of
the Authorized Governing Body of each Company held for that purpose:

       WHEREAS, the Authorized Governing Bodies considered the financial and operational
conditions of the Companies’ businesses;

        WHEREAS, the Authorized Governing Bodies reviewed the historical performance of
the Companies, the market for the Companies’ products and services, and the current and long-
term liabilities of the Companies;

        WHEREAS, the Authorized Governing Bodies reviewed, considered, and received the
recommendations of the senior management of the Companies and the advice of the Companies’
professionals and advisors with respect to potential avenues for relief that are available to the
Authorized Governing Bodies, upon behalf of the Companies, including the possibility of
pursuing a restructuring of the Companies’ business and assets under chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”);
        WHEREAS, in order to maintain independence and flexibility in analyzing and
investigating various restructuring alternatives, the Authorized Governing Bodies of each of the
Companies that are corporations (the “Corporations”) desire to set up a special committee of
such Authorized Governing Bodies comprised only of one or more disinterested and independent
directors (the “Special Committee”) to investigate, analyze and negotiate such restructuring
alternatives as the Special Committee deems appropriate and in the best interests of each of the
Corporations, their creditors, equity holders, and other interested parties, as may be appropriate
under applicable law; and

       WHEREAS, the Authorized Governing Bodies of each of the Corporations have
determined that Robert J. Rosenberg qualifies as a disinterested and independent director for
purposes of serving on the Special Committee.

       NOW, THEREFORE BE IT RESOLVED, that, the Authorized Governing Bodies of
each of the Corporations hereby (i) establishes the Special Committee, (ii) sets the number of

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directors to comprise the Special Committee at one (1) director, (iii) appoints Robert J.
Rosenberg to serve as the sole member of the Special Committee; and (iv) and authorizes and
empowers the Special Committee to have the full power and authority of the Board for the
purposes of the following resolutions; and it is

        FURTHER RESOLVED, that, in the business judgment of Special Committee and each
of the Authorized Governing Bodies of each of the Companies that are not corporations
(collectively, with the Special Committee of each of the Corporations, the “Acting Governing
Bodies”), after consideration of the alternatives presented to Acting Governing Bodies and the
recommendations of senior management of the Companies and the advice of the Companies’
professionals and advisors that, at this time under the relevant circumstances, it is desirable and
in the best interests of the Companies, their creditors, equity holders, and other interested parties
(as such consideration may be appropriate under applicable law) for voluntary petitions to be
filed by the Companies under the provisions of chapter 11 of the Bankruptcy Code; and it is

        FURTHER RESOLVED, that the Companies’ petitions seeking relief under the
provisions of chapter 11 of the Bankruptcy Code (the “Petitions”) are approved in all respects
and that Timothy J. Dragelin, Chief Restructuring Officer of all of the Companies and Chief
Executive Officer of certain of the Companies and the other officers of the Companies
(collectively, the “Authorized Persons”) be, and hereby are, authorized and directed, on behalf of
and in the name of the Companies, to execute the Petitions or authorize the execution of the
Petitions and to cause the same to be filed with the United States Bankruptcy Court for the
Eastern District of New York, at such time as the Authorized Persons deem appropriate, in order
to commence cases under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11
Cases”); and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
execute a senior secured super-priority debtor-in-possession credit agreement (the “DIP Credit
Agreement”) and all notes, security agreements, financing statements, certificates, consents, and
other documents, agreements, and instruments related thereto, with such additions, deletions, or
modifications as the Authorized Persons may approve, and to take any and all actions which they
may deem necessary or proper in order to consummate the DIP Credit Agreement and the
transactions set forth therein; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
execute and file all petitions, schedules, lists, and other papers and to take any and all actions
which they may deem necessary or proper in connection with the prosecution of the Chapter 11
Cases and, in that connection, for the Authorized Persons to retain and employ all assistance, by
legal counsel or otherwise, which they may deem necessary or proper in order to successfully
prosecute the Chapter 11 Cases; and it is

       FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized
and directed to retain on behalf of the Companies, upon such terms and conditions as the
Authorized Persons shall approve, the following to represent the Companies in connection with
the Chapter 11 Cases –
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    •    DLA Piper LLP (US), to render legal services to and to serve as bankruptcy counsel for
         the Companies;

    •    FTI Consulting, Inc., to provide the Companies a chief restructuring officer and certain
         additional personnel and to designate Timothy J. Dragelin as Chief Restructuring Officer;
         and

    •    Epiq Bankruptcy Solutions, LLC to serve as claims and noticing agent for the
         Companies; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
retain on behalf of the Companies other attorneys, investment bankers, accountants, restructuring
professionals, financial advisors, and other professionals, upon such terms and conditions as the
Authorized Persons shall approve, to render services to the Companies in connection with the
Chapter 11 Cases or any related insolvency proceeding; and it is

       FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person to file the Petitions or with respect to the Chapter 11 Cases, any related
insolvency proceeding, or in any matter related thereto, or by virtue of these resolutions be, and
hereby are, in all respects ratified, confirmed, and approved; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized
and directed, in the name of and on behalf of the Companies, to take or cause to be taken any
and all such further action and to execute and deliver or cause to be executed or delivered all
such further agreements, documents, certificates, and undertakings and to incur all such fees
and expenses as in their judgment shall be necessary, appropriate, or advisable to effectuate the
purpose and intent of any and all of the foregoing resolutions.
                                    [Signature Pages Follow]




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                                                                EXHIBIT A
                                                                 Companies


                         Company                             Applicable Law                  Section of Governing Document
1.      Constellation Healthcare Technologies, Inc.   Section 141(f) of the Delaware   Article 2 Section 2.8 of the Amended and
                                                      General Corporation Law          Restated By-laws of Constellation Healthcare
                                                                                       Technologies, Inc.

2.      Orion Healthcorp, Inc.                        Section 141(f) of the Delaware   Article III, Section 3.16 of the Amended and
                                                      General Corporation Law          Restated By-laws of Orion Healthcorp, Inc.

3.      NEMS Acquisition, LLC                         Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                                      Limited Liability Company Act,   of NEMS Acquisition, LLC
                                                      6 Del. C. § 18-101 et seq.
4.      Northeast Medical Solutions, LLC              Section 8942 of the              Article (IV)(a)(i) of the Amended and Restated
                                                      Pennsylvania Limited Liability   Operating Agreement of Northeast Medical
                                                      Company Act of 1994              Solutions, LLC

5.      NEMS West Virginia, LLC                       Section 8942 of the              Article (IV)(a)(i) of the Amended and Restated
                                                      Pennsylvania Limited Liability   Operating Agreement of NEMS West Virginia,
                                                      Company Act of 1994              LLC

6.      Physicians Practice Plus Holdings, LLC        Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                                      Limited Liability Company Act,   of Physicians Practice Plus Holdings, LLC
                                                      6 Del. C. § 18-101 et seq.
7.      Physicians Practice Plus, LLC                 Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                                      Limited Liability Company Act,   of Physicians Practice Plus, LLC
                                                      6 Del. C. § 18-101 et seq.
8.      Medical Billing Services, Inc.                Section 6.201 of the Texas       Article III, Section 3.16 of the Amended and
                                                      Business Organizations Code      Restated By-laws of Medical Billing Services,
                                                                                       Inc.


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                        Company                          Applicable Law                   Section of Governing Document
9.      Rand Medical Billing, Inc.               Section 307(b) of the California   Article III, Section 3.16 of the Amended and
                                                 Corporations Code                  Restated By-laws of Rand Medical Billing, Inc.

10. RMI Physician Services Corporation           Section 6.201 of the Texas         Article III, Section 3.16 of the Amended and
                                                 Business Organizations Code        Restated By-laws of RMI Physician Services
                                                                                    Corporation

11. Western Skies Practice Management, Inc.      Section 7-108-202 of               Article III, Section 3.16 of the Amended and
                                                 the Colorado Revised Statutes      Restated By-laws of Western Skies Practice
                                                                                    Management, Inc.

12. Integrated Physician Solutions, Inc.         Section 141(f) of the Delaware     Article III, Section 3.16 of the Amended and
                                                 General Corporation Law            Restated By-laws of Integrated Physician
                                                                                    Solutions, Inc.

13. NYNM Acquisition, LLC                        Section 18-404 of the Delaware     Article (IV)(a)(i) of the Operating Agreement
                                                 Limited Liability Company Act,     of NYNM Acquisition, LLC
                                                 6 Del. C. § 18-101 et seq.
14. Northstar FHA, LLC                           Section 18-404 of the Delaware     Article (IV)(a)(i) of the Operating Agreement
                                                 Limited Liability Company Act,     of Northstar FHA, LLC
                                                 6 Del. C. § 18-101 et seq.
15. Northstar First Health, LLC                  Section 18-404 of the Delaware     Article (IV)(a)(i) of the Amended and Restated
                                                 Limited Liability Company Act,     Operating Agreement of Northstar First Health,
                                                 6 Del. C. § 18-101 et seq.         LLC

16. Vachette Business Services, Ltd.             Chapter 1705 of the Ohio           Article 3 Section 3.3 of the Amended and
                                                 Revised Code                       Restated Operating Agreement of Vachette
                                                                                    Business Services, Ltd.

17. Phoenix Health, LLC                          Section 18-404 of the Delaware     Article (IV)(a)(i) of the Operating Agreement
                                                 Limited Liability Company Act,     of Phoenix Health, LLC
                                                 6 Del. C. § 18-101 et seq.


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                     Company                       Applicable Law                  Section of Governing Document
18. MDRX Medical Billing, LLC               Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                            Limited Liability Company Act,   of MDRX Medical Billing, LLC
                                            6 Del. C. § 18-101 et seq.
19. VEGA Medical Professionals, LLC         Section 18-404 of the Delaware   Article (IV)(a)(i) of the Operating Agreement
                                            Limited Liability Company Act,   of VEGA Medical Professionals, LLC
                                            6 Del. C. § 18-101 et seq.
20. Allegiance Consulting Associates, LLC   Section 407 of the New York      Article (IV)(a)(i) of the Amended and Restated
                                            Limited Liability Company Law    Operating Agreement of Allegiance Consulting
                                                                             Associates, LLC

21. Allegiance Billing & Consulting, LLC    Section 407 of the New York      Article (IV)(a)(i) of the Operating Agreement
                                            Limited Liability Company Law    of Allegiance Billing & Consulting, LLC




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0RWLRQZDVDSSURSULDWHJLYHQWKHFLUFXPVWDQFHVDQGQRRWKHURUIXUWKHUQRWLFHEHLQJUHTXLUHGDQG

WKHOHJDODQGIDFWXDOEDVHVVHWIRUWKLQWKH0RWLRQDQGDQ\KHDULQJWKHUHRQHVWDEOLVKMXVWFDXVHIRU

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               *HQHUDO%DU'DWH-XO\DWSP (67 VKDOOEHWKHGHDGOLQHIRUDOO

    SHUVRQV RU HQWLWLHV RWKHU WKDQ *RYHUQPHQWDO 8QLWV DV GHILQHG LQ VHFWLRQ    RI WKH

    %DQNUXSWF\&RGH WRILOHSURRIVRIFODLP HDFKD³3URRIRI&ODLP´ EDVHGRQFODLPVDJDLQVWDQ\

    'HEWRUWKDWDURVHSULRUWRWKH3HWLWLRQ'DWHLQFOXGLQJFODLPVIRUWKHYDOXHRIJRRGVVROGWRDQ\

    'HEWRULQWKHRUGLQDU\FRXUVHRIEXVLQHVVDQGUHFHLYHGE\VXFK'HEWRUZLWKLQWZHQW\  GD\V

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    VXFKUHMHFWLRQLVGDWHGRQRUEHIRUHWKHGDWHRIHQWU\RIWKLV2UGHUEHUHTXLUHGWRILOHD3URRIRI

    &ODLPEDVHGRQVXFKUHMHFWLRQRQRUEHIRUHWKHODWHURIWKHDSSOLFDEOH%DU'DWHRUWKHGDWHWKDWLV

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    D FODLP RU LLL DGG D QHZ FODLP WR WKH 6FKHGXOHV GHVFULEHG DV ³GLVSXWHG´ ³FRQWLQJHQW´ RU

    ³XQOLTXLGDWHG´WKHGHDGOLQH i.e.WKH$PHQGHG6FKHGXOHV%DU'DWH IRUWKHDSSOLFDEOHFODLPDQW

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                                    WKH 'HEWRUV¶ FODLPV DQG QRWLFLQJ DJHQW LQ WKHVH FKDSWHU  FDVHV  (DFK
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                                    (OHFWURQLF 5HFRUGV DW KWWSVHFIQ\HEXVFRXUWVJRY  LL  HOHFWURQLF
                                    VXEPLVVLRQ XVLQJ WKH LQWHUIDFH DYDLODEOH RQ (SLT¶V ZHEVLWH DW
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                                    HOHFWURQLFPHDQVE\860DLORURWKHUKDQGGHOLYHU\V\VWHPVRDVWREH
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                          FODLPDQWLVQRWDQLQGLYLGXDOE\DQDXWKRUL]HGDJHQWRIWKHFODLPDQW LL 
                          LQFOXGH VXSSRUWLQJ GRFXPHQWDWLRQ RU LI YROXPLQRXV D VXPPDU\ RI
                          VXSSRUWLQJGRFXPHQWVDQGDQH[SODQDWLRQDVWRZK\GRFXPHQWDWLRQLVQRW
                          DYDLODEOH DQG LGHQWLI\ ZKHUH VXFK VXSSRUWLQJ GRFXPHQWDWLRQ PD\ EH
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                          6WDWHVFXUUHQF\

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                          LGHQWLI\LQJWKHSDUWLFXODULQYRLFHVFRUUHVSRQGLQJWRWKHDVVHUWHG E  
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                   I     (DFK3URRIRI&ODLPPXVWVSHFLI\E\QDPHWKH'HEWRUDJDLQVWZKLFKDFODLP
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                          DVHSDUDWH3URRIRI&ODLPPXVWEHILOHGDJDLQVWHDFKVXFK'HEWRU

                   J     DQ\ SHUVRQ RU HQWLW\ WKDW KROGV D FODLP DULVLQJ IURP WKH UHMHFWLRQ RI DQ
                          H[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHDVWRZKLFKWKHRUGHUDXWKRUL]LQJVXFK
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                          WRILOHD3URRIRI&ODLPRQRUEHIRUHVXFKGDWHDVWKH&RXUWPD\IL[LQWKH
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                          VWDPSHGFRS\E\UHWXUQPDLOVKDOOLQFOXGHDQDGGLWLRQDOFRS\RIWKH3URRI
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                                   WKDWKDYHSUHYLRXVO\ILOHGD3URRIRI&ODLP

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                           -DQXDU\DQGWKHGDWHRIWKHHQWU\RIWKLV2UGHU

                    K     DOOSDUWLHVWROLWLJDWLRQZLWKWKH'HEWRUV

                    L     DOOFXUUHQWDQGIRUPHUHPSOR\HHVGLUHFWRUVDQGRIILFHUV WRWKHH[WHQWWKDW
                           FRQWDFWLQIRUPDWLRQIRUDIRUPHUHPSOR\HHGLUHFWRURURIILFHULVDYDLODEOH
                           LQWKH'HEWRUV¶ERRNVDQGUHFRUGV 

                     M         WR WKH 6HFXULWLHV DQG ([FKDQJH &RPPLVVLRQ DW DQ\ SODFH WKH
                             &RPPLVVLRQ GHVLJQDWHV LI WKH &RPPLVVLRQ KDV ILOHG HLWKHU D QRWLFH RI
                             DSSHDUDQFHLQWKHFDVHRUDZULWWHQUHTXHVWWRUHFHLYHQRWLFHV  WRWKH
                             ,QWHUQDO5HYHQXH6HUYLFHDWLWVDGGUHVVVHWRXWLQWKHUHJLVWHUPDLQWDLQHG
                             XQGHU5XOH H IRUWKLVGLVWULFW  WRWKH8QLWHG6WDWHVDWWRUQH\IRU
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                                DQG DOO RWKHU DSSOLFDEOH *RYHUQPHQWDO 8QLWV DQG SDUWLHV HQWLWOHG WR
                             QRWLFHXQGHU%DQNUXSWF\5XOH M DQG

                    N     WKH2IILFHRIWKH$WWRUQH\*HQHUDOLQDOOVWDWHVLQZKLFKWKH'HEWRUVRSHUDWH
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                7KH'HEWRUVZLOOPDLOWKH%DU'DWH1RWLFHWRHDFKRIWKHIRUHJRLQJSDUW\¶VODVW

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    UHWXUQHG E\ WKH SRVW RIILFH ZLWK IRUZDUGLQJ DGGUHVVHV E  FHUWDLQ SDUWLHV DFWLQJ RQ EHKDOI RI

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    DGGUHVVHVWRWKH'HEWRUVIRUGLUHFWPDLOLQJDQG F DGGLWLRQDOSRWHQWLDOKROGHUVRIFODLPVEHFRPH

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    PDLOLQJV RI WKH %DU 'DWH 1RWLFH DW DQ\ WLPH XS WR WZHQW\RQH   GD\V LQ DGYDQFH RI WKH

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    ZKR DUH XQNQRZQ RU QRW UHDVRQDEO\ DVFHUWDLQDEOH E\ WKH 'HEWRUV E NQRZQ FUHGLWRUV ZLWK

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    Dated: May 3, 2018                                                         Alan S. Trust
           Central Islip, New York                                    United States Bankruptcy Judge



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                               Exhibit 1

                           (Bar Date Notice)




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                               :    Chapter 11
                                                                     :
ORION HEALTHCORP, INC.                                               :    Case No. 18-71748 (AST)
CONSTELLATION HEALTHCARE TECHNOLOGIES, INC.                          :    Case No. 18-71749 (AST)
NEMS ACQUISITION, LLC                                                :    Case No. 18-71750 (AST)
                                                                     :
NORTHEAST MEDICAL SOLUTIONS, LLC                                          Case No. 18-71751 (AST)
                                                                     :
NEMS WEST VIRGINIA, LLC                                              :    Case No. 18-71752 (AST)
PHYSICIANS PRACTICE PLUS, LLC                                        :    Case No. 18-71753 (AST)
PHYSICIANS PRACTICE PLUS HOLDINGS, LLC                               :    Case No. 18-71754 (AST)
MEDICAL BILLING SERVICES, INC.                                       :    Case No. 18-71755 (AST)
RAND MEDICAL BILLING, INC.                                           :    Case No. 18-71756 (AST)
RMI PHYSICIAN SERVICES CORPORATION                                   :    Case No. 18-71757 (AST)
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WESTERN SKIES PRACTICE MANAGEMENT, INC.                                   Case No. 18-71758 (AST)
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INTEGRATED PHYSICIAN SOLUTIONS, INC.                                 :    Case No. 18-71759 (AST)
NYNM ACQUISITION, LLC                                                :    Case No. 18-71760 (AST)
NORTHSTAR FHA, LLC                                                   :    Case No. 18-71761 (AST)
NORTHSTAR FIRST HEALTH, LLC                                          :    Case No. 18-71762 (AST)
VACHETTE BUSINESS SERVICES, LTD.                                     :    Case No. 18-71763 (AST)
MDRX MEDICAL BILLING, LLC                                            :    Case No. 18-71764 (AST)
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VEGA MEDICAL PROFESSIONALS, LLC                                           Case No. 18-71765 (AST)
                                                                     :
ALLEGIANCE CONSULTING ASSOCIATES, LLC                                :    Case No. 18-71766 (AST)
ALLEGIANCE BILLING & CONSULTING, LLC                                 :    Case No. 18-71767 (AST)
PHOENIX HEALTH, LLC                                                  :    Case No. 18-71789 (AST)
                                                                     :
                                    Debtors.                         :    (Jointly Administered)
---------------------------------------------------------------------x

        NOTICE OF DEADLINE FOR FILING PROOFS OF CLAIM, INCLUDING
                         SECTION 503(b)(9) CLAIMS

       PLEASE TAKE NOTICE that on March 16, 2018 (the “Petition Date”), Orion
HealthCorp, Inc. and its affiliated debtors and debtors in possession listed above (collectively,
the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”).

       PLEASE TAKE FURTHER NOTICE that on April 24, 2018, the Debtors filed the
Motion of the Debtors for an Order (I) Establishing Deadlines for Filing Proofs of Claim,
Section 503(b)(9) Claims and (II) Approving the Form and Manner of Notice Thereof [D.I. 135].




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       PLEASE TAKE FURTHER NOTICE that, on [•], 2018, the United States Bankruptcy
Court for the Eastern District of New York (the “Bankruptcy Court”), having jurisdiction over
the Debtors’ chapter 11 cases, entered an order (the “Bar Date Order”) establishing:

       a. General Bar Date: July 5, 2018, at 5:00 p.m. (EST) as the “General Bar Date” and
          deadline for all persons or entities, other than Governmental Units (as defined in
          section 101(27) of the Bankruptcy Code), to file proofs of claim (each, a “Proof of
          Claim”) based on claims against any Debtor that arose prior to the Petition Date,
          including claims for the value of goods sold to any Debtor in the ordinary course of
          business and received by such Debtor within twenty (20) days before the Petition
          Date (each, a “503(b)(9) Claim”);

       b. Governmental Bar Date: September 12, 2018, at 5:00 p.m. (EST) as the
          “Governmental Bar Date” and deadline for all Governmental Units to file Proofs of
          Claim against the Debtors based on claims against any Debtor that arose prior to the
          Petition Date.

       c. Rejection Damages Bar Date: Any person or entity that holds a claim arising from
          the rejection of an executory contract or unexpired lease as to which the order
          authorizing such rejection is dated on or before the date of entry of the Bar Date
          Order, be required to file a Proof of Claim based on such rejection on or before the
          later of the applicable Bar Date or the date that is sixty (60) days after the date of the
          order authorizing such rejection, and requiring that any person or entity that holds a
          claim arising from the rejection of an executory contract or unexpired lease as to
          which the order authorizing such rejection is dated after the date of entry of the Bar
          Date Order, be required to file a Proof of Claim on or before such date as the Court
          may fix in the applicable order authorizing such rejection.

       You should consult an attorney if you have any questions, including whether to file a
Proof of Claim. If you have any questions with respect to this notice, you may contact the
Debtors’ claims agent, Epiq Bankruptcy Solutions, LLC (“Epiq”) at (888) 751-4998.

1.     WHO MUST FILE A PROOF OF CLAIM

        You MUST file a Proof of Claim if you have a claim that arose prior to the Petition Date,
and it is not a claim described in Section 2 below. Acts or omissions of the Debtors that arose
prior to the Petition Date may give rise to claims against the Debtors that must be filed by the
applicable Bar Dates, notwithstanding that such claims may not have matured or become fixed or
liquidated as of the Petition Date.

       Under section 101(5) of the Bankruptcy Code and as used herein, the word “claim”
means: (a) a right to payment, whether or not such right is reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
secured, or unsecured; or (b) a right to an equitable remedy for breach of performance if such
breach gives rise to a right to payment, whether or not such right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured.



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2.     WHO NEED NOT FILE A PROOF OF CLAIM

               (a)    any person or entity that has already properly filed a Proof of Claim
                      against a Debtor with Epiq or the Clerk of the Bankruptcy Court for the
                      Eastern District of New York in a form substantially similar to Official
                      Bankruptcy Form No. 410;

               (b)    any person or entity whose claim is listed on a Debtor’s Schedule D or E/F
                      of the Debtors’ schedules of assets and liabilities (“Schedules”), and (i) the
                      claim is not described as “disputed,” “contingent,” or “unliquidated,” (ii)
                      such person or entity agrees with the amount, nature, and priority of the
                      claim set forth in the Schedules, and (iii) such person or entity agrees that
                      the claim is an obligation of the specific Debtor that listed the claim in its
                      Schedules;

               (c)    any person or entity whose claim has been allowed by order of the Court
                      entered on or before the applicable Bar Date;

               (d)    any person or entity whose claim has been satisfied in full by the Debtors
                      or any other party prior to the applicable Bar Date;

               (e)    any holder of a claim for which the Court has already fixed a specific
                      deadline to file a Proof of Claim;

               (f)    any party that is not required to file a proof of claim pursuant to any final
                      order approving debtor in possession financing; and

               (g)    any Debtor for any claims it may hold against any other Debtor.

       You should not file a Proof of Claim if you do not have a claim against any of the
Debtors. The fact that you have received this Bar Date Notice does not mean that you have
a claim or that the Debtors or the Bankruptcy Court believes that you have a claim.

3.     WHEN AND WHERE TO FILE A PROOF OF CLAIM

        Each Proof of Claim must be filed, including supporting documentation, by either (i)
electronic submission through PACER (Public Access to Court Electronic Records at
https://ecf.nyeb.uscourts.gov), (ii) electronic submission using the interface available on Epiq’s
website at http://dm.epiq11.com/orionhealthcorp or (iii) if submitted through non-electronic
means, by U.S. Mail or other hand delivery system, so as to be actually received by Epiq on or
before the Bar Dates at the following addresses:

                      If by First-Class Mail

                      Orion HealthCorp, Inc., Claims Processing Center
                      c/o Epiq Bankruptcy Solutions, LLC
                      P.O. Box 4419
                      Beaverton, Oregon 97076-4419



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                      If by Hand Delivery or Overnight Mail

                      Orion HealthCorp, Inc., Claims Processing Center
                      c/o Epiq Bankruptcy Solutions, LLC
                      10300 SW Allen Blvd.
                      Beaverton, Oregon 97005

       Proofs of Claim will be deemed timely filed only if they are actually received by Epiq on
or before the applicable Bar Date. Proofs of Claim submitted by facsimile or e-mail will not be
accepted.

4.     HOW TO FILE A PROOF OF CLAIM

        Enclosed herewith is a Proof of Claim Form, in a form substantially similar to Official
Bankruptcy Form 410. Additional copies of the Proof of Claim Form may be obtained at
http://dm.epiq11.com/orionhealthcorp.

        If you file a Proof of Claim it must be (i) completed on a claim form substantially in the
form of the Official Bankruptcy Form 410; (ii) signed by the claimant or, if the claimant is not an
individual, by an authorized agent of the claimant; (iii) include supporting documentation (if
voluminous, attach a summary) or explanation as to why documentation is not available; (iv) be
in English language; and (v) be denominated in United States currency. Each Proof of Claim
asserting a 503(b)(9) Claim must also: (i) include the value of the goods delivered to and
received by the applicable Debtor within twenty (20) days prior to the Petition Date, (ii) attach
any documentation identifying the particular invoices corresponding to the asserted 503(b)(9)
Claim and delivery address, and (iii) attach documentation evidencing delivery of the goods
delivered to and received by the applicable Debtor within twenty (20) days prior to the Petition
Date. Any holder of a claim against more than one Debtor must file a separate Proof of Claim
against each Debtor and all holders of claims must identify on their Proof of Claim the specific
Debtor against which such claim is asserted and the case number of that Debtor’s bankruptcy
case. The Debtors’ names and case numbers are set forth above.

        Supporting Documentation. Each Proof of Claim must include supporting
documentation in accordance with Bankruptcy Rules 3001(c) and 3001(d). If, however, such
documentation is voluminous, upon prior written consent of the Debtors’ counsel, such Proof of
Claim may include a summary of such documentation or an explanation as to why such
documentation is not available; provided, that any creditor that received such written consent
shall be required to transmit such writings to Debtors’ counsel upon request no later than ten
days from the date of such request.

5.     CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE
       APPLICABLE BAR DATE

     EXCEPT AS DESCRIBED IN SECTION 2 ABOVE, AS APPLICABLE, ANY
HOLDER OF A CLAIM AGAINST ANY DEBTOR WHO RECEIVED NOTICE OF THE
BAR DATES (WHETHER SUCH NOTICE WAS ACTUALLY OR CONSTRUCTIVELY



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RECEIVED) AND IS REQUIRED, BUT FAILS, TO FILE A PROOF OF CLAIM
AGAINST ANY DEBTOR IN ACCORDANCE WITH THE BAR DATE ORDER AND
THIS BAR DATE NOTICE ON OR BEFORE THE APPLICABLE BAR DATE, WILL
BE BARRED FROM ASSERTING ITS CLAIM AGAINST ANY SUCH DEBTOR AND
ITS CHAPTER 11 ESTATE, VOTING ON ANY PLAN OF REORGANIZATION FILED
IN ANY SUCH DEBTOR’S CHAPTER 11 CASE, AND PARTICIPATING IN ANY
DISTRIBUTION IN ANY SUCH DEBTOR’S CHAPTER 11 CASE ON ACCOUNT OF
THAT CLAIM.

6.     THE DEBTORS’ SCHEDULES AND ACCESS THERETO

        You may be listed in the Schedules as the holder of a claim against the Debtors.
Interested parties may examine copies of the Schedules at http://dm.epiq11.com/orionhealthcorp
(free of charge) or on the Court’s electronic docket http://www.nyeb.uscourts.gov (a PACER
login and password are required and can be obtained through the PACER Service Center at
http://pacer.psc.uscourts.gov).

       If you rely on the Debtors’ Schedules, it is your responsibility to determine that your
claim is accurately listed in the Schedules. As set forth above, if you agree with the nature,
amount, and status of your claim as listed in the Debtors’ Schedules, and if you do not dispute
that your claim is only against the Debtor specified, and if your claim is not described as
“disputed,” “contingent,” or “unliquidated,” you need not file a Proof of Claim. Otherwise, or if
you decide to file a Proof of Claim, you must do so before the applicable Bar Date, in accordance
with the procedures set forth in this Bar Date Notice.

        In the event the Debtors file an amendment (a “Schedules Amendment”) to any of their
Schedules and such Schedules Amendment (i) reduces the undisputed, noncontingent, and
liquidated amount of a claim, (ii) changes the characterization of a claim, or (iii) adds a new
claim to the Schedules described as “disputed,” “contingent” or “unliquidated,” the deadline (the
“Amended Schedules Bar Date”) for each applicable claimant to file a Proof of Claim with
respect to such amended or new claim shall be the later of (y) the General Bar Date or (z) 5:00
p.m. (Eastern Time) on the date that is sixty (60) days after service of a notice on such claimant
of the Schedules Amendment), but, in the case of any amendment to the Schedules after the
applicable Claim Deadlines where you did not file a proof of claim prior to the applicable Claim
Deadlines, only to the extent such proof of claim does not exceed the amount scheduled for such
claim before the amendment; provided, however, that you are not entitled to an extension of an
undisputed, liquidated, non-contingent claim.




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Dated: ____________, 2018          DLA PIPER LLP (US)
       New York, New York
                                   _______________________
                                   Thomas R. Califano (6144)
                                   DLA Piper LLP (US)
                                   1251 Avenue of the Americas
                                   New York, New York 10020-1104
                                   Telephone: (212) 335-4500
                                   Facsimile: (212) 335-4501
                                   E-mail: thomas.califano@dlapiper.com

                                   Proposed Counsel to the Debtors and Debtors in
                                   Possession




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                               Exhibit 2

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                               :    Chapter 11
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ORION HEALTHCORP, INC.                                               :    Case No. 18-71748 (AST)
CONSTELLATION HEALTHCARE TECHNOLOGIES, INC.                          :    Case No. 18-71749 (AST)
NEMS ACQUISITION, LLC                                                :    Case No. 18-71750 (AST)
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NORTHEAST MEDICAL SOLUTIONS, LLC                                          Case No. 18-71751 (AST)
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NEMS WEST VIRGINIA, LLC                                              :    Case No. 18-71752 (AST)
PHYSICIANS PRACTICE PLUS, LLC                                        :    Case No. 18-71753 (AST)
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MEDICAL BILLING SERVICES, INC.                                       :    Case No. 18-71755 (AST)
RAND MEDICAL BILLING, INC.                                           :    Case No. 18-71756 (AST)
RMI PHYSICIAN SERVICES CORPORATION                                   :    Case No. 18-71757 (AST)
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WESTERN SKIES PRACTICE MANAGEMENT, INC.                                   Case No. 18-71758 (AST)
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INTEGRATED PHYSICIAN SOLUTIONS, INC.                                 :    Case No. 18-71759 (AST)
NYNM ACQUISITION, LLC                                                :    Case No. 18-71760 (AST)
NORTHSTAR FHA, LLC                                                   :    Case No. 18-71761 (AST)
NORTHSTAR FIRST HEALTH, LLC                                          :    Case No. 18-71762 (AST)
VACHETTE BUSINESS SERVICES, LTD.                                     :    Case No. 18-71763 (AST)
MDRX MEDICAL BILLING, LLC                                            :    Case No. 18-71764 (AST)
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VEGA MEDICAL PROFESSIONALS, LLC                                           Case No. 18-71765 (AST)
                                                                     :
ALLEGIANCE CONSULTING ASSOCIATES, LLC                                :    Case No. 18-71766 (AST)
ALLEGIANCE BILLING & CONSULTING, LLC                                 :    Case No. 18-71767 (AST)
PHOENIX HEALTH, LLC                                                  :    Case No. 18-71789 (AST)
                                                                     :
                                    Debtors.                         :    (Jointly Administered)
---------------------------------------------------------------------x

        NOTICE OF DEADLINE FOR FILING PROOFS OF CLAIM, INCLUDING
                         SECTION 503(b)(9) CLAIMS

       PLEASE TAKE NOTICE that on March 16, 2018 (the “Petition Date”), Orion
HealthCorp, Inc. and its affiliated debtors and debtors in possession listed above (collectively,
the “Debtors”) filed voluntary petitions pursuant to chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”).

       PLEASE TAKE FURTHER NOTICE that, on April 24, 2018, the Debtors filed the
Motion of the Debtors for an Order (I) Establishing Deadlines for Filing Proofs of Claim,
Section 503(b)(9) Claims and (II) Approving the Form and Manner of Notice Thereof [D.I. 135].

        PLEASE TAKE FURTHER NOTICE that on May [•], 2018, the Court entered an
order (the “Bar Date Order”), establishing




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       a. General Bar Date: July 5, 2018, at 5:00 p.m. (EST) as the “General Bar Date” and
          deadline for all persons or entities, other than Governmental Units (as defined in
          section 101(27) of the Bankruptcy Code), to file proofs of claim (each, a “Proof of
          Claim”) based on claims against any Debtor that arose prior to the Petition Date,
          including claims for the value of goods sold to any Debtor in the ordinary course of
          business and received by such Debtor within twenty (20) days before the Petition
          Date (each, a “503(b)(9) Claim”); and

       b. Governmental Bar Date: September 12, 2018, at 5:00 p.m. (EST) as the
          “Governmental Bar Date” and deadline for all Governmental Units to file Proofs of
          Claim against the Debtors based on claims against any Debtor that arose prior to the
          Petition Date.

       c. Rejection Damages Bar Date: Any person or entity that holds a claim arising from
          the rejection of an executory contract or unexpired lease as to which the order
          authorizing such rejection is dated on or before the date of entry of the Bar Date
          Order, be required to file a Proof of Claim based on such rejection on or before the
          later of the applicable Bar Date or the date that is sixty (60) days after the date of the
          order authorizing such rejection, and requiring that any person or entity that holds a
          claim arising from the rejection of an executory contract or unexpired lease as to
          which the order authorizing such rejection is dated after the date of entry of the Bar
          Date Order, be required to file a Proof of Claim on or before such date as the Court
          may fix in the applicable order authorizing such rejection.

        PLEASE TAKE FURTHER NOTICE that a claimant should consult an attorney if the
claimant has any questions. For more detailed information regarding who must file a Proof of
Claim and the specific requirements regarding the filing of same, you may (i) contact the
Debtors’ attorneys, DLA Piper LLP (US), Attn: Thomas R. Califano, Esq. and Rachel Nanes,
Esq., by e-mail (thomas.califano@dlapiper.com and rachel.nanes@dlapiper.com) or telephone at
(212) 335-4500; (ii) contact the Debtors’ claims agent, Epiq Bankruptcy Solutions, LLC
(“Epiq”), by telephone at (888) 751-4998 or (iii) visit the case website maintained by Epiq at
http://dm.epiq11.com/orionhealthcorp. Please note that Epiq is not permitted to give you legal
advice. Epiq cannot advise you how to file, or whether you should file, a Proof of Claim.




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                               Exhibit 3

                         (Proof of Claim Form)




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 United States Bankruptcy Court for the Eastern District of New York                                    To submit your form online please go to https://epiqworkflow.com/cases/CCT
 Orion HealthCorp, Inc., Claims Processing Center
 c/o Epiq Bankruptcy Solutions, LLC                                                                     Your Mail ID is as follows: [CUSTID]
 P.O. Box 4419
 Beaverton, OR 97076-4419
 Name of Debtor: [Debtor Name]
 Case Number: [Debtor Case No.]
                                                                                                        For Court Use Only
                                                                                       Check box if
                                                                                   the address on
 [CLAIM_NM]                                                                        the envelope
 [ATTN]                                                                            sent to you by
 [ADDRESS1]                                                                        the court needs
 [ADDRESS2]                                                                        to be updated.
 [ADDRESS3]                                                                        Identify your
                                                                                   replacement          [Your claim is scheduled by the Debtor as:]
 [CITY], [STATE] [ZIP]
                                                                                   address in Part 1    [$XX.XX Classification]
 [COUNTRY]
                                                                                   (Section 3)          [$XX.XX Classification]
                                                                                   below.               [Unliquidated]


 Proof of Claim                                                                                                                                    04/16
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of claims
 under 503(b)(9), do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.
Part 1:      Identify the Claim
1. Who is the current creditor?
Name of the current creditor (the person or entity to be paid for this claim): _______________________________________________________________________

Other names the creditor used with the debtor: _______________________________________________________________________________________________

2.   Has this claim been acquired from someone else?       □ No □ Yes.        From whom? ___________________________________________________________
3.   Where should notices and payments to the creditor be sent? Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)                   4. Does this claim amend one already
                                                                                                                                      filed?
Where should notices to the creditor be sent?                      Where should payments to the creditor be sent?                     □ No
                                                                   (if different)
                                                                                                                                      □ Yes.       Claim number on court
__________________________________________________                 ______________________________________________
Name                                                               Name                                                               claims register (if known) _______________

__________________________________________________                 ______________________________________________                     Filed on _____________________________
Number     Street                                                  Number     Street                                                                 MM / DD / YYYY

__________________________________________________                 ______________________________________________                     5. Do you know if anyone else has filed a
City                 State        ZIP Code                         City                 State        ZIP Code                         proof of claim for this claim?

Country (if International): _____________________________          Country (if International): _________________________
                                                                                                                                      □ No
Contact phone: _____________________________________               Contact phone: _________________________________
                                                                                                                                      □ Yes.     Who made the earlier filing?

                                                                                                                                      ____________________________________
Contact email: _____________________________________               Contact email: _________________________________

Part 2:      Give Information About the Claim as of the Date the Case Was Filed
6. Do you have any number you use to            7. How much is the claim?                              8. What is the basis of the claim?
   identify the debtor?
                                                                                                       Examples: Goods sold, money loaned, lease, services performed,
□ No                                            $________________________________________.             personal injury or wrongful death, or credit card. Attach redacted
□ Yes.                                          Does this amount include interest or other
                                                                                                       copies of any documents supporting the claim required by Bankruptcy
Last 4 digits of the debtor’s account or any                                                           Rule 3001(c). Limit disclosing information that is entitled to privacy,
                                                charges?
number you use to identify the debtor:                                                                 such as health care information.
                                                □ No
     ____ ____ ____ ___                         □ Yes.   Attach statement itemizing interest, fees,
                                                                                                       _________________________________________________________
                                                         expenses, or other charges required by
                                                         Bankruptcy Rule 3001(c)(2)(A).




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9. Is all or part of the claim secured?                                   10. Is this claim based on a lease?       11. Is this claim subject to a right of setoff?
□ No                                                                      □ No                                      □ No
□ Yes.   The claim is secured by a lien on property.                      □ Yes. Amount necessary to cure           □ Yes. Identify the property:
                                                                          any default as of the date of petition.
  Nature of property:
                                                                                                                       ___________________________________________
  □ Real estate. If the claim is secured by the debtor’s principal        $_____________________________
  residence, file a Mortgage Proof of Claim Attachment with this          12. Is all or part of the claim entitled to priority         A claim may be partly priority and
  Proof of Claim.                                                             under 11 U.S.C. § 507(a)?                                partly nonpriority. For example, in
                                                                                                                                       some categories, the law limits the
  □ Motor vehicle                                                         □   No                                                       amount entitled to priority.

  □ Other. Describe: ___________________________________                  □ Yes. Check one:                                              Amount entitled to priority
  ____________________________________________________                       □ Domestic support obligations (including alimony
 Basis for perfection: ____________________________________                    and child support) under 11 U.S.C. § 507(a)(1)(A) or      $_____________________
 _____________________________________________________                         (a)(1)(B).
  Attach redacted copies of documents, if any, that show evidence              □   Up to $2,850* of deposits toward purchase, lease,     $_____________________
  of perfection of security interest (for example, a mortgage, lien,
                                                                               or rental of property or services for personal, family,
  certificate of title, financing statement, or other document that            or household use. 11 U.S.C. § 507(a)(7).
  shows the lien has been filed or recorded.)
                                                                               □   Wages, salaries, or commissions (up to $12,850*)
                                                                                                                                         $_____________________
 Value of property:                        $____________________               earned within 180 days before the bankruptcy
                                                                               petition is filed or the debtor’s business ends,
 Amount of the claim that is secured:      $____________________               whichever is earlier. 11 U.S.C. § 507(a)(4).              $_____________________
 Amount of the claim that is unsecured: $____________________                  □ Taxes or penalties owed to governmental units.
  (The sum of the secured and unsecured amounts should match                   11 U.S.C. § 507(a)(8).
                                                                                                                                         $_____________________
  the amount in line 7.)                                                       □ Contributions to an employee benefit plan. 11
                                                                               U.S.C. § 507(a)(5).
 Amount necessary to cure any                                                                                                            $_____________________
 default as of the date of the petition:    $___________________               □ Other. Specify subsection of 11 U.S.C. § 507
                                                                               (a)(__) that applies.
 Annual Interest Rate (when case was filed)      ______________%
                                                                          * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on
                                             □ Fixed □ Variable           or after the date of adjustment.
13. Does this claim qualify as an Administrative Expense under 11 U.S.C. § 503(b)(9)?
□ No
□ Yes. Indicate the amount of your claim arising from the value of any goods received by the Debtor within 20 days before the commencement of the above case, in which the
goods have been sold to the Debtor in the ordinary course of the such Debtor’s business. $_______________________________ Attach documentation supporting such claim.
Part 3:      Sign Below
The person completing           Check the appropriate box:
this proof of claim must
sign and date it. FRBP
                                □   I am the creditor.

9011(b).                        □   I am the creditor’s attorney or authorized agent.
                                □   I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim
electronically, FRBP
                                □   I am a guarantor, surety, endorser, or other co-debtor. Bankruptcy Rule 3005.
5005(a)(2) authorizes           I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim,
courts to establish local       the creditor gave the debtor credit for any payments received toward the debt.
rules specifying what a
signature is.                   I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
                                I declare under penalty of perjury that the foregoing is true and correct.
A person who files a
fraudulent claim could be
fined up to $500,000,           Executed on date         __________________        ____________________________________________________________
imprisoned for up to 5                                     MM / DD / YYYY           Signature
years, or both. 18 U.S.C.
§§ 152, 157, and 3571.          Print the name of the person who is completing and signing this claim:

                                Name       ____________________________________________________________________________________________
                                           First name                 Middle name                Last name

                                Title      ____________________________________________________________________________________________

                                Company ____________________________________________________________________________________________
                                        Identify the corporate servicer as the company if the authorized agent is a servicer.

                                Address    ____________________________________________________________________________________________
                                           Number            Street

                                           ____________________________________________________________________________________________
                                           City                                         State             ZIP Code

                                Contact Phone _____________________________________                  Email __________________________________________


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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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                                                                     x
In re:                                                               :    Chapter 11
                                                                     :
ORION HEALTHCORP, INC.                                               :    Case No. 18-71748 (AST)
CONSTELLATION HEALTHCARE TECHNOLOGIES, INC.                          :    Case No. 18-71749 (AST)
NEMS ACQUISITION, LLC                                                :    Case No. 18-71750 (AST)
                                                                     :
NORTHEAST MEDICAL SOLUTIONS, LLC                                          Case No. 18-71751 (AST)
                                                                     :
NEMS WEST VIRGINIA, LLC                                              :    Case No. 18-71752 (AST)
PHYSICIANS PRACTICE PLUS, LLC                                        :    Case No. 18-71753 (AST)
PHYSICIANS PRACTICE PLUS HOLDINGS, LLC                               :    Case No. 18-71754 (AST)
MEDICAL BILLING SERVICES, INC.                                       :    Case No. 18-71755 (AST)
RAND MEDICAL BILLING, INC.                                           :    Case No. 18-71756 (AST)
RMI PHYSICIAN SERVICES CORPORATION                                   :    Case No. 18-71757 (AST)
                                                                     :
WESTERN SKIES PRACTICE MANAGEMENT, INC.                                   Case No. 18-71758 (AST)
                                                                     :
INTEGRATED PHYSICIAN SOLUTIONS, INC.                                 :    Case No. 18-71759 (AST)
NYNM ACQUISITION, LLC                                                :    Case No. 18-71760 (AST)
NORTHSTAR FHA, LLC                                                   :    Case No. 18-71761 (AST)
NORTHSTAR FIRST HEALTH, LLC                                          :    Case No. 18-71762 (AST)
VACHETTE BUSINESS SERVICES, LTD.                                     :    Case No. 18-71763 (AST)
MDRX MEDICAL BILLING, LLC                                            :    Case No. 18-71764 (AST)
                                                                     :
VEGA MEDICAL PROFESSIONALS, LLC                                           Case No. 18-71765 (AST)
                                                                     :
ALLEGIANCE CONSULTING ASSOCIATES, LLC                                :    Case No. 18-71766 (AST)
ALLEGIANCE BILLING & CONSULTING, LLC                                 :    Case No. 18-71767 (AST)
PHOENIX HEALTH, LLC                                                  :    Case No. 18-71789 (AST)
                                                                     :
                                    Debtors.                         :    (Jointly Administered)
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 GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES REGARDING
         THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES
               AND STATEMENTS OF FINANCIAL AFFAIRS

                                                 Introduction

        Orion Healthcorp, Inc., Constellation Healthcare Technologies, Inc., NEMS Acquisition,
LLC, Northeast Medical Solutions, LLC, NEMS West Virginia, LLC, Physicians Practice Plus,
LLC, Physicians Practice Plus Holdings, LLC, Medical Billing Services, Inc., Rand Medical
Billing, Inc., RMI Physician Services Corporation, Western Skies Practice Management, Inc.,
Integrated Physician Solutions, Inc., NYNM Acquisition, LLC, Northstar FHA, LLC, Northstar



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First Health, LLC, Vachette Business Services, Ltd., MDRX Medical Billing, LLC, VEGA
Medical Professionals, LLC, Allegiance Consulting Associates, LLC, Allegiance Billing &
Consulting, LLC, and Phoenix Health, LLC (collectively, the “Debtors”) have filed their
respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements,” and together with the Schedules, the “Schedules and Statements”)
with the United States Bankruptcy Court for the Eastern District of New York (the “Bankruptcy
Court”), pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”)
and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of each Debtor’s
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
connection with any review of the Schedules and Statements.

       The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”)
and are not intended to be fully reconciled with the financial statements of each Debtor (whether
publically filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment and reflect the Debtors’
reasonable efforts to report the assets and liabilities of each Debtor on an individual-company
basis.

       In preparing the Schedules and Statements, the Debtors relied upon information derived
from their books and records that was available at the time of such preparation. Upon
information and belief, the Debtors’ historical books and records, including financial information
may be incomplete or inaccurate. Although the Debtors have made reasonable efforts to ensure
the accuracy and completeness of such financial information, including, without limitation, by
seeking to retrieve their corporate records from third parties, inadvertent errors or omissions, as
well as the subsequent discovery of conflicting or additional information, may require the
Debtors to amend the Schedules and Statements. The Debtors reserve all rights to amend the
Schedules and Statements from time to time as needed.

         The Debtors and their officers, employees, agents, attorneys, and financial advisors do
not guarantee or warrant the accuracy or completeness of the data that is provided in the
Schedules and Statements and shall not be liable for any loss or injury arising out of or caused in
whole or in part by the acts or omissions (whether negligent or otherwise) in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information
contained in the Schedules and Statements. Except as expressly required by the Bankruptcy
Code, the Debtors and their officers, employees, agents, attorneys, and financial advisors
expressly do not undertake any obligation to update, amend, modify, revise, or recategorize the
information provided in the Schedules and Statements or to notify any third party should the
information be updated, amended, modified, revised, or recategorized. The Debtors, on behalf of
themselves, their officers, employees, agents, attorneys, and financial advisors, disclaim any
liability to any third party arising out of or related to the information contained in the Schedules
and Statements and reserve all rights with respect thereto.


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        The Schedules and Statements have been signed by an authorized representative of each
Debtor, Daniel S. Jones of FTI Consulting, Inc., who is the interim Chief Financial Officer of
each of the Debtors. In reviewing and signing the Schedules and Statements, the representative
relied upon the efforts, statements, and representations of the Debtors’ other personnel and
professionals. The representative has not (and could not have) personally verified the accuracy
of each such statement and representation, including, for example, statements and representations
concerning amounts owed to creditors and their addresses.

                         Global Notes and Overview of Methodology

1.      Reservation of Rights. Reasonable efforts have been made to prepare and file complete
        and accurate Schedules and Statements; however, inadvertent errors or omissions may
        exist. The Debtors reserve all rights to (i) amend or supplement the Schedules and
        Statements from time to time, in all respects, as may be necessary or appropriate,
        including, without limitation, the right to amend the Schedules and Statements with
        respect to any claim description, designation, or Debtor against which the claim is
        asserted; (ii) dispute or otherwise assert offsets or defenses to any claim reflected in the
        Schedules and Statements as to amount, liability, priority, status, or classification; (iii)
        subsequently designate any claim as “disputed,” “contingent,” or “unliquidated”; or (iv)
        object to the extent, validity, enforceability, priority, or avoidability of any claim, except
        as previously waived or stipulated by the Debtors. Any failure to designate a claim in the
        Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
        constitute an admission by the Debtors that such claim or amount is not “disputed,”
        “contingent,” or “unliquidated.” Listing a claim does not constitute an admission of
        liability by the Debtor against which the claim is listed or against any of the Debtors.
        Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver
        of rights with respect to the Debtors’ chapter 11 cases, including, without limitation,
        issues involving claims, substantive consolidation, defenses, equitable subordination,
        recharacterization, other equitable rights or remedies, and/or causes of action arising
        under the provisions of chapter 5 of the Bankruptcy Code, and any other relevant
        nonbankruptcy law. Any specific reservation of rights contained elsewhere in the Global
        Notes does not limit in any respect the general reservation of rights contained in this
        paragraph or the record of these chapter 11 cases. Notwithstanding the foregoing, the
        Debtors shall not be required to update the Schedules and Statements.

2.      Description of Cases and “As of” Information Date. On March 16, 2018 (the “Petition
        Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
        Code. The Debtors are operating their businesses and managing their properties as
        debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On
        March 29, 2018, the Bankruptcy Court entered an order directing the procedural
        consolidation and joint administration of the Debtors’ chapter 11 cases [D.I. 34].

        The asset and liability information provided in the Schedules and Statements, except as
        otherwise noted, represents the asset and liability data of the Debtors as of the close of
        business on March 15, 2018.




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3.      Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome,
        and an inefficient use of estate assets for the Debtors to obtain current market valuations
        for all of their assets for purposes of the Schedules and Statements. Accordingly, unless
        otherwise indicated, the Schedules and Statements reflect net book values as of the close
        of business on March 15, 2018. Additionally, because the net book values of certain
        assets may materially differ from their fair market values, they may be listed as
        undetermined or unknown amounts as of the Petition Date. Furthermore, as applicable,
        assets that have fully depreciated or were expensed for accounting purposes may not
        appear in the Schedules and Statements if they have no net book value.

4.      Recharacterization. Notwithstanding the Debtors’ reasonable efforts to properly
        characterize, classify, categorize, or designate certain claims, assets, executory contracts,
        unexpired leases, and other items reported in the Schedules and Statements, the Debtors
        may, nevertheless, have improperly characterized, classified, categorized, designated, or
        omitted certain items due to the complexity and size of the Debtors’ businesses.
        Accordingly, the Debtors reserve all of their rights to recharacterize, reclassify,
        recategorize, redesignate, add, or delete items reported in the Schedules and Statements at
        a later time as is necessary or appropriate as additional information becomes available,
        including, without limitation, whether contracts or leases listed herein were deemed
        executory or unexpired as of the Petition Date and remain executory and unexpired
        postpetition.

5.      Real Property and Personal Property Leased. In the ordinary course of their
        businesses, the Debtors leased real property and various articles of personal property,
        including fixtures and equipment, from certain third-party lessors. The Debtors have
        made reasonable efforts to list all such leases in the Schedules and Statements. However,
        nothing in the Schedules or Statements is or shall be construed as an admission or
        determination as to the legal status of any lease (including whether to assume and assign
        or reject such lease or whether it is a true lease or a financing arrangement).

6.      Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities
        between the prepetition and post-petition periods based on the information and research
        conducted in connection with the preparation of the Schedules and Statements. If
        additional information becomes available and further research is conducted, the
        allocation of liabilities between the prepetition and post-petition periods may change.

        The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
        under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of
        their rights to dispute or challenge the validity of any asserted claims under section
        503(b)(9) of the Bankruptcy Code or the characterization of the structure of any such
        transaction or any document or instrument related to any creditor’s claim.

        The Debtors have excluded certain categories of assets, accruals, and liabilities from the
        Schedules and Statements, including, without limitation, possible deferred gains. In
        addition, certain immaterial assets and liabilities may have been excluded.




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        The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain
        outstanding claims on a post-petition basis, including, but not limited to, prepetition
        claims related to insurance policies, critical vendors, wages and compensation.
        Consequently, the amounts reflected in the Schedules and Statements are the Debtors’
        best effort to report the aggregated amount due from each Debtor to each creditor net of
        any post-petition payments.

7.      Intercompany Balances and Underlying Activity. The Debtors are still assessing the
        nature and amounts of the intercompany transactions on an entity level. As such, these
        balances and any related intercompany activity have been excluded from the Schedules
        and Statements pending further review.

8.      Insiders. Solely for purposes of the Schedules and Statements, the Debtors define
        “insiders” to include the following: (a) directors, (b) senior level officers, (c) equity
        holders, holding in excess of 5% of the voting securities of the Debtor-entities, (d)
        Debtor-affiliates, and (e) relatives of any of the foregoing (to the extent known by the
        Debtors). Entities or persons listed as “insiders” have been included for informational
        purposes, and their inclusion shall not constitute an admission that those entities or
        persons are insiders for purposes of section 101(31) of the Bankruptcy Code.

9.      Intellectual Property Rights. The exclusion of any intellectual property shall not be
        construed as an admission that such intellectual property rights do not exist or have been
        abandoned, terminated, assigned, expired by their terms, or otherwise transferred
        pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
        intellectual property shall not be construed to be an admission that such intellectual
        property rights have not been abandoned, terminated, assigned, expired by their terms, or
        otherwise transferred pursuant to a sale, acquisition, or other transaction.

10.     Executory Contracts and Unexpired Leases. Although the Debtors made diligent
        attempts to attribute executory contracts and unexpired leases to the appropriate Debtor,
        in certain instances, the Debtors may have inadvertently failed to do so. Moreover, other
        than real property leases reported in Schedule A/B, the Debtors have not necessarily set
        forth executory contracts and unexpired leases as assets in the Schedules and Statements,
        even though these contracts and leases may have some value to the Debtors’ estates. The
        Debtors’ executory contracts and unexpired leases have been set forth in Schedule G.

11.     Materialman’s/Mechanic’s Liens. The assets listed in the Schedules and Statements are
        presented without consideration of materialman’s or mechanic’s liens, if any such liens
        exist.

12.     Classifications. Listing a claim or contract on (a) Schedule D as “secured,” (b) Schedule
        E/F, Part 1 as “priority,” (c) Schedule E/F, Part 2 as “unsecured,” or (d) Schedule G as
        “executory” or “unexpired” does not constitute (i) an admission by the Debtors of the
        legal rights of the claimant, (ii) a waiver of the Debtors’ rights to recharacterize or
        reclassify such claims or contracts or leases, (iii) a waiver to exercise their rights to set
        off against such claims, or (iv) a waiver of defaults.



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13.     Claims Description. Schedules D and E/F permit each Debtor to designate a claim as
        “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a claim on the
        given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
        does not constitute an admission by that Debtor that such amount is not “disputed,”
        “contingent,” or “unliquidated,” or that such claim is not subject to objections or
        defenses. Moreover, listing a claim does not constitute an admission of liability by the
        Debtors.

14.     Causes of Action. Despite their reasonable efforts to identify all known assets, the
        Debtors may not have listed all of their causes of action or potential causes of action
        against third parties as assets in the Schedules and Statements, including, without
        limitation, causes of action arising under the provisions of chapter 5 of the Bankruptcy
        Code or any other nonbankruptcy laws. The Debtors reserve all of their respective rights
        with respect to any cause of action (including avoidance actions), controversy, right of
        setoff, cross-claim, counter-claim, or recoupment and any claim on contracts or for
        breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity,
        guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,
        license, and franchise of any kind or character whatsoever, known, unknown, fixed, or
        contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
        disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
        arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or
        pursuant to any other theory of law (collectively, “Causes of Action”) each Debtor may
        have, and neither these Global Notes nor the Schedules and Statements shall be deemed a
        waiver or release of any claims or Causes of Action or in any way prejudice or impair the
        assertion of such claims or Causes of Action.

15.     Summary of Significant Reporting Policies. The following is a summary of significant
        reporting policies:

        a. Undetermined Amounts. The description of an amount as “unknown,” “TBD” or
           “undetermined” is not intended to reflect upon the materiality of such an amount.

        b. Totals. All totals that are included in the Schedules and Statements represent totals of
           all known amounts. To the extent there are unknown or undetermined amounts
           included in the sum, the actual totals may be different than the listed totals.

        c. Liens. Property and equipment listed in the Schedules and Statements are presented
           without consideration of any liens that may attach (or have attached) to such property
           and equipment.

16.     Estimates and Assumptions. Because of the timing of the filings, management was
        required to make certain estimates and assumptions that affected the reported amounts of
        these assets and liabilities. Actual amounts could differ from those estimates, which
        differences may be material.

17.     Currency. Unless otherwise indicated, all amounts are reflected in U.S. Dollars.



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18.     Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary
        course of business. Offsets in the ordinary course can result from various items,
        including, without limitation, pricing discrepancies, returns, refunds, warranties, debit
        memos, credits, and other disputes between the Debtors and their suppliers and/or
        customers. These offsets and other similar rights are consistent with the ordinary course
        of business in the Debtors’ industry and are not tracked separately. Therefore, although
        such offsets and other similar rights may have been accounted for when certain amounts
        were included in the Schedules and Statements, offsets are not independently accounted
        for, and as such, are or may be excluded from the Debtors’ Schedules and Statements.

19.     Employee Addresses. Current employee addresses on the Schedules and Statements
        have been substituted with the address of Constellation Healthcare Technology, Inc.’s
        headquarters. For former employees, the Debtors’ have provided the last known address
        for such individual.

20.     Global Notes Control. If the Schedules and Statements differ from these Global Notes,
        these Global Notes shall control.

Specific Disclosures with Respect to the Debtors’ Schedules of Assets and Liabilities

        As stated above, the Schedules do not purport to represent financial statements prepared
in accordance with GAAP and are not intended to be fully reconciled with the financial
statements of the Debtors. Additionally, the Schedules contain unaudited information that is
subject to further review and potential adjustment and reflect the Debtors’ reasonable best efforts
to report the assets and liabilities of the Debtors. Moreover, given, among other things, the
uncertainty surrounding the collection and ownership of certain assets and the valuation and
nature of certain liabilities, to the extent that a Debtor shows more assets than liabilities, this is
not an admission that the Debtor was solvent as of the Petition Date or at any time before the
Petition Date. Likewise, to the extent that a Debtor shows more liabilities than assets, this is not
an admission that the Debtor was insolvent as of the Petition Date or at any time before the
Petition Date.

1.      Schedule A/B. All values set forth in Schedule A/B are presented per the Debtors’ books
        and records and reflect the net book value of the Debtors’ assets as of the close of
        business on March 15, 2018. NYNM Acquisition, LLC and Northstar FHA, LLC are not
        set up as entities with their own books and records in the Debtors’ accounting and
        financial reporting system. As such, there are no values associated with these entities
        within Schedules A/B.

2.      Schedule A/B, Part 1, Question 3 – Checking, savings, or other financial accounts

        To the extent Debtors maintain bank accounts for non-Debtor entities, these accounts
        have been excluded.

3.      Schedule A/B, Part 2, Question 7 – Deposits, including security deposits and utility
        deposits



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        Deposit balances are presented per the Debtors’ historical books and records and are not
        adjusted for deposit offsets or other adjustments that are still pending the Debtors’ review
        and approval. Due to these pending adjustments deposit balances are subject to change.

4.      Schedule A/B, Part 2, Question 8 – Prepayments, including prepayments on
        executory contracts, leases, insurance, taxes, and rent

        Prepayment balances are presented per the Debtors’ historical books and records and are
        not adjusted for prepayment offsets or other adjustments that are still pending Debtors’
        review and approval. Due to these pending adjustments, prepayment balances are subject
        to change.

5.      Schedule A/B, Part 3, Question 11 – Accounts receivable

        Accounts receivable balances are presented per Debtors’ historical books and records and
        are not adjusted for bad debt write-offs or other adjustments that are still pending
        Debtors’ review and approval. Due to these pending adjustments accounts receivable
        balances are subject to change.

6.      Schedule A/B, Part 4, Question 15 – Non-publicly traded stock and interests in
        incorporated and unincorporated businesses, including an LLC, partnership or
        joint venture

        The current values of the Debtors’ interests in affiliated entities is currently unknown.

7.      Schedule A/B, Part 7, Questions 39-45 – Office Furniture, Fixtures, equipment &
        collectibles

        The current value of the Debtors’ interests represents the net book value of assets that
        most closely match the General Description for questions 39-42, where applicable. Some
        assets included in Part 7 have been fully depreciated, in which case the current value of
        the Debtors’ interests is zero. Additionally, the values of assets contained in Part 7 have
        not been adjusted to correct for inappropriate or inaccurate depreciation. These
        adjustments are still pending the Debtors’ review and approval. As such, the values
        contained in Part 7 are subject to change.

8.      Schedule A/B, Part 10, Questions 60-65 – Intangibles and intellectual property

        The Debtors do not currently have amortization schedules available for the property listed
        in Part 10. The current value of the Debtors’ interests represents the net book value of
        the respective property. The value of the property contained in this schedule has not been
        adjusted to correct for inappropriate or inaccurate amortization. These adjustments are
        still pending the Debtors’ review and approval. As such, the values contained in Part 10
        are subject to change.

9.      Schedule A/B, Part 11, Question 72 – Tax refunds and unused net operating losses
        (NOLs)


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        Certain tax forms have yet to be filed with certain tax authorities. The Debtors are
        performing an assessment of the tax refunds and NOLs related to prior periods. As such,
        these values are subject to change. Any tax refunds on the Debtors’ 2016 tax returns
        were the result of payments made and/or prior year credits. Additionally, refunds in Part
        11 may be due to overpayments of franchise or other taxes based upon gross receipts.

10.     Schedule A/B, Part 11, Question 73 – Interests in insurance policies or annuities

        Certain of the Debtors currently maintain a variety of insurance policies including
        property, general liability, and other employee-related policies. To the extent the Debtors
        have made a determination of the amount of prepaid insurance premiums, such amounts
        are listed on Schedule A/B, Part 2, Question 8. All policies are expected to remain
        active. Furthermore, the Debtors do not have key man insurance policies.

11.     Schedule D

        Real property lessors, utility companies, and other parties that may hold security deposits
        have not been listed on Schedule D. The Debtors have not included parties that may
        believe their claims are secured through setoff rights or inchoate statutory lien rights,
        including certain parties from whom the Debtors have received lien notices but whose
        notices the Debtors understand have not yet been filed or recorded. While reasonable
        efforts have been made, determination of the date upon which each claim in Schedule D
        was incurred or arose would be unduly burdensome or cost prohibitive, and, therefore,
        the Debtors may not list a date for each claim listed on Schedule D.

        Finally, the Debtors are taking no position on the extent or priority of any particular
        creditor’s lien in the Schedules or the Global Notes.

12.     Schedule E/F

        To the extent any federal, state, or local tax obligations have accrued but are not yet due
        and payable, such obligations have not been included in Schedule E/F.

        The claims of individual creditors for, among other things, goods and services are listed
        as the amounts entered on the Debtors’ books and records and may not reflect credits,
        allowance, or other adjustments due from such creditors to the Debtors. Additionally,
        some amounts entered may reflect a debit or negative balance. These amounts are
        immaterial and should not be considered credits, allowances, or other adjustments. The
        Debtors reserve all rights with regard to such credits, allowances, and other adjustments,
        including the right to assert claim objections and/or setoffs with respect to the same.

        Pursuant to the Final Order (I) Authorizing the Debtors to Pay Certain Prepetition
        Wages and Compensation and Maintain and Constitute Employee Benefit Programs in
        the Ordinary Course and (II) Authorizing Banks to Honor and Process Checks and
        Transfers Related to Such Employee Obligations [D.I. 98] (the “Wages Order”), the
        Bankruptcy Court granted the Debtors authority to pay or honor certain prepetition
        obligations for employee wages, salaries, and other compensation and employee benefits.


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        As such, those amounts, even if due and owing as of the Petition Date, have since been
        paid. Consequently, those items are not included in the Schedules and Statements.

        Schedule E/F does not include certain deferred charges, deferred liabilities, certain
        accruals, or general reserves. Such amounts are, however, reflected on the Debtors’
        books and records as required in accordance with GAAP. Such accruals are general
        estimates of liabilities and do not represent specific claims as of the Petition Date. The
        Debtors have made every effort to include as contingent, unliquidated, or disputed the
        claim of any vendor not included on the Debtors’ open accounts payable that is
        associated with an account that has an accrual or receipt not invoiced.

        To the Debtors’ knowledge, all taxing authorities have been included. If no amount was
        indicated after the Debtors’ professionals analysis as being expected to be owed, the
        “Unliquidated” claim box has been checked. All known litigation matters have been
        listed. For pending cases where no final judgement has been made, the “Contingent”,
        “Unliquidated”, and “Disputed” boxes have been checked.

        Claims of individual creditors for items described as Trade Payables have been incurred
        at various periods and according to certain payment terms and have been marked as
        “various” where the form requests a “Date Debt Was Incurred”.

13.     Schedule G

        Although the Debtors have relied upon their respective existing books, records, and
        financial systems to identify and schedule executory contracts and unexpired leases
        (collectively, the “Agreements”) for each Debtor, and commercially reasonable efforts
        have been made to ensure the accuracy of each Debtor’s Schedule G, inadvertent errors,
        omissions, or over-inclusions may have occurred. Certain information, such as the
        contact information of the counter-party or the remaining term of the Agreement, may not
        be included where such information could not be obtained using the Debtors’ reasonable
        efforts. Certain of the Agreements listed in Schedule G may have been entered into by
        more than one of the Debtors. Additionally, the specific Debtor obligor(s) to certain of
        the Agreements could not be specifically ascertained in every circumstance. In such
        cases, the Debtors have made reasonable efforts to identify the correct Debtors’ Schedule
        G on which to list the agreement, and where a contract party remained uncertain, such
        Agreements may have been listed on a different Debtor’s or multiple Debtors’ Schedule
        G.

        Listing a contract, agreement, or lease on Schedule G does not constitute an admission
        that such contract, agreement, or lease is an executory contract or unexpired lease or that
        such contract, agreement, or lease was in effect on the Petition Date or is valid or
        enforceable. The Debtors do not make, and specifically disclaim, any representation or
        warranty as to the completeness or accuracy of the information set forth in Schedule G.
        The Debtors reserve all of their rights to dispute the validity, status, or enforceability of
        any Agreement set forth in Schedule G and to amend or supplement Schedule G as
        necessary.


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        In the ordinary course of business, the Debtors may have entered into various other
        types of agreements in the ordinary course of business, such as indemnity agreements,
        subordination agreements, supplemental agreements, and amendments/letter
        agreements that may not be set forth in Schedule G. Omission of a contract, agreement,
        or lease from Schedule G does not constitute an admission that such omitted contract,
        agreement, or lease is not an executory contract or unexpired lease.

        Schedule G may be amended at any time to add any omitted contracts, agreements, or
        leases. Certain of the Agreements listed in Schedule G may consist of several parts,
        including, amendments, restatements, waivers, letters, and other documents that may not
        be listed in Schedule G or that may be listed as a single entry. The Debtors expressly
        reserve their rights to challenge whether such related materials constitute an executory
        contract, a single contract or agreement, or multiple, severable, or separate contracts.
        Additionally, certain of the Agreements listed in Schedule G may contain renewal
        options, guarantees of payment, indemnifications, options to purchase, rights of first
        refusal, and other miscellaneous rights, which are not set forth separately in Schedule G.
        The Agreements listed in Schedule G may have expired or may have been modified,
        amended, or supplemented from time to time by various amendments, restatements,
        waivers, estoppel certificates, letters, memoranda and other documents, instruments, and
        agreements that may not be listed therein despite the Debtors’ use of reasonable efforts to
        identify such documents. Further, unless otherwise specified in Schedule G, each
        Agreement listed thereon shall include all exhibits, schedules, riders, modifications,
        declarations, amendments, supplements, attachments, restatements, or other agreements
        made directly or indirectly by any agreement, instrument, or other document that in any
        manner affects such Agreement, without respect to whether such agreement, instrument,
        or other document is listed therein. In some cases, the same supplier or provider appears
        multiple times in Schedule G. This multiple listing is intended to reflect distinct
        agreements between the applicable Debtor and such supplier or provider. The Debtors
        reserve all of their rights, claims, and causes of action with respect to the Agreements
        listed in Schedule G, including the right to (a) dispute the validity, status, or
        enforceability of any Agreement set forth in Schedule G; (b) dispute or challenge the
        characterization of the structure of any transaction, document, or instrument related to a
        creditor’s claim, including, but not limited to, the Agreements listed in Schedule G; and
        (c) amend or supplement such Schedule as necessary.

14.     Schedule H

        For purposes of Schedule H, the Debtors that are either the principal obligors or
        guarantors under the prepetition debt facilities are listed as co-Debtors on Schedule H.
        The Debtors may not have identified certain guarantees associated with the Debtors’
        executory contracts, unexpired leases, secured financings, debt instruments, and other
        such agreements.

        In the ordinary course of their businesses, the Debtors may be involved in pending or
        threatened litigation. These matters may involve multiple plaintiffs and defendants, some
        or all of whom may assert cross-claims and counter-claims against other parties. Because


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        the Debtors have treated all such claims as contingent, disputed, or unliquidated, such
        claims have not been set forth individually on Schedule H.

     Specific Disclosures with Respect to the Debtors’ Statements of Financial Affairs

1.      Part 2, Question 4 - Payments or transfers made within 1 year preceding
        commencement of this case to creditors who are or were insiders

        Items in this list include items that are subject to dispute with American Express, which
        may include valid business-related charges. As such, items in Question 4 are subject to
        change because of this dispute. Due to incomplete records, the Debtors do not have the
        supporting details for the transactions related to this question. The Debtors have included
        certain payments in the Statements that were made on behalf of the Debtors from sources
        outside of the Debtors’ control. The Debtors have made their best attempt to accurately
        provide such information.

2.      Part 4, Question 9 - Gifts made within 2 years preceding commencement of this
        case, with an aggregate value over $1,000

        Due to incomplete records, the Debtors do not have all the supporting details of some of
        the transactions related to this question. The Debtors have made their best attempt to
        accurately provide such information.

3.      Part 6, Question 13 - Other transfers - property transferred outside ordinary course
        of business within 2 years preceding commencement of this case

        Items in this list include items that are subject to dispute with American Express, which
        may include valid business-related charges. As such, items in Question 13 are subject to
        change. Due to incomplete records, the Debtors do not have the supporting details for the
        transactions related to this question. The Debtors have included certain payments in the
        Statements that were made on behalf of the Debtors from sources outside of the Debtors’
        control. The Debtors have made their best attempt to accurately provide such
        information.

4.      Part 7, Question 14 - Previous locations of debtor, all premises occupied and vacated
        within 3 years preceding commencement of this case

        Due to incomplete records, the Debtors do not have information necessary to completely
        answer this question. For some dates of occupancy, the Debtors provided their best
        estimates for the time periods in which a location was occupied.

5.      Part 13, Question 30 - Payments, distributions, or withdrawals credited to an insider
        within 1 year preceding commencement of this case

        Items in this list include items that are subject to dispute with American Express, which
        may include valid business-related charges. As such, items in Question 30 are subject to
        change. The Debtors have included certain payments in the Statements that were made
        on behalf of the Debtors from accounts outside of the Debtors’ control.

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6.      Part 13, Question 26d - Creditors and other parties to whom a financial statement
        was issued within 2 years preceding commencement of this case

        Over the course of the last two years, the Debtors have been involved in several
        transactions in which their books and records may have been reviewed by several parties
        involved. The parties include debt and equity investors, auditors, investment banks,
        consulting firms, counterparties and other individuals working on each of the transactions.
        The major transactions the Debtor has been involved in the last two years include the
        Debtors’ “going private” transaction in January 2017, the acquisition of New York
        Network Management, L.L.C. in March 2017, and the sale of substantially all of the assets
        of Debtor Vachette Business Services, Ltd. in March 2018. In addition to these
        transactions, the Debtors have shared financial statements with several bank lenders and
        their professionals in the ordinary course of business as such reporting all of the individual
        recipients would be onerous and consequently, the Debtors did not attempt to report that
        information as part of the schedules and statements.

7.      Part 13, Question 29 - Officers, directors, managing members, general partners,
        members in control of the debtor, or shareholders in control of the debtor within 1
        year before the filing who no longer hold these positions

        The Debtors do not have complete information regarding the former management of the
        Debtors. However, the Debtors have provided such information to the best of their ability
        and made some assumptions in doing so. For example, where the Debtors were aware of
        former board members, the Debtors assumed that such board members held the position
        over all Debtor entities that are a corporation.




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Fill in this information to identify the case:

Debtor        Orion HealthCorp, Inc.


United States Bankruptcy Court for the: Eastern District of New York


Case number          18-71748
 (if known)
                                                                                                                                        ¨ Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:         Income

  1. Gross revenue from business
      þ None

  2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
      þ None


 Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers¾including expense reimbursements¾to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted
     on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
      ¨ None
          SEE ATTACHED EXHIBIT 3

  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
     Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).
      ¨ None
              SEE ATTACHED EXHIBIT 4

  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
      þ None

  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
     account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
     debtor owed a debt.
      þ None


 Part 3:         Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
     involved in any capacity-within 1 year before filing this case.
      ¨ None




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Debtor     Orion HealthCorp, Inc.                                                       Case number (if known)   18-71748
           (Name)


           Case title                              Nature of case                       Court or agency’s name and address          Status of case

           1805 Old Alabama Road, LLC v. Orion Breach of Contract                       State Court of Fulton County, State of      ¨ Pending
           Healthcorp, Inc., 16- EV-000241                                              Georgia                                     ¨ On appeal
                                                                                        185 Central Ave SW                          þ Concluded
           Case number
                                                                                        Atlanta, GA 30303
           No, 16- EV-000241
                                                                                        USA
           Cockerell Dermatopathology, P.A. v.     Breach of contract and               District Court of Dallas County, TX         þ Pending
           Medical Billing Services, Inc. d/b/a    negligence                           133 N Riverfront Blvd                       ¨ On appeal
           Orion MBS, et al. (Cause No. DC-16-                                          #28                                         ¨ Concluded
           02365)                                                                       Dallas, TX 75207
                                                                                        USA
           Case number
           No. DC-16- 02365
           Cohen, et al. v. Porteck Corporation,   Breach of Contract                   Supreme Court of the State of NY,           þ Pending
           et al. (Index No. 617280/2017)                                               County of Suffolk                           ¨ On appeal
                                                                                        1 Court St                                  ¨ Concluded
           Case number
                                                                                        Riverhead, NY 11901
           No. 617280/2017
                                                                                        USA
           Equivalent Data, LLC v. Orion           Breach of Contract                   District Court of Harris County, Tx         ¨ Pending
           HealthCorp, Inc.                                                             49 San Jacinto St                           ¨ On appeal
                                                                                        #303                                        þ Concluded
           Case number
                                                                                        Houston, TX 77002
           No. 2015-43519
                                                                                        USA
           GeBBS Healthcare Solutions, Inc. v.     Breach of Contract                   Supreme Court of New York, County of        ¨ Pending
           Orion HealthCorp, Inc. (Index No.                                            New York                                    ¨ On appeal
           650346/2018)                                                                 60 Centre St                                þ Concluded
                                                                                        New York, NY 10007
           Case number
                                                                                        USA
           No. 1:16-cv-02206-GHW
           GeBBS Healthcare Solutions, Inc. v.     Breach of Contract                   Supreme Court of New York, County of        þ Pending
           Orion HealthCorp, Inc. (Index No.                                            New York                                    ¨ On appeal
           650346/2018)                                                                 60 Centre St                                ¨ Concluded
                                                                                        New York, NY 10007
           Case number
                                                                                        USA
           No. 650346/2018
           GSS Infotech v. Orion HealthCorp, Inc. Breach of contract, quantum           District Court of Harris County, Tx         þ Pending
           and Constellation Health, LLC (Cause meruit, and unjust enrichment           49 San Jacinto St                           ¨ On appeal
           No. 2014- 45701/ 2016/45701)                                                 #303                                        ¨ Concluded
                                                                                        Houston, TX 77002
           Case number
                                                                                        USA
           No. 2014- 45701/ 2016/45701
           Kolb Radiology, PC v. Orion             Breach of contract and               Southern District of New York               þ Pending
           Healthcorp, Inc. d/b/a Porteck, LLC     conversion                           464 Pearl St                                ¨ On appeal
           (Case No. 1:16-cv- 07824-GHW)                                                New York, NY 10007                          ¨ Concluded
                                                                                        USA
           Case number
           No. 1:16-cv- 07824-GHW
           Orion HealthCorp, Inc. and RMI          Breach of contract and fraud         District Court of Harris County, Tx; Court þ Pending
           Physicians Services Corp. v. John G.                                         of Appeals, First District                 ¨ On appeal
           McBride, et al. ( Case No.                                                   301 Fannin St                              ¨ Concluded
           2014-01758) (Court of Appeals                                                Houston, TX 77002
           Number: 01-17- 00131-CV)                                                     USA
           Case number
           No: 01-17- 00131-CV
           Singh-Narayan and Yamraj v. Orion       Unpaid wages                         Supreme Court of the State of NY,           þ Pending
           Healthcorp, Inc (Index No. 709520/17)                                        County of Queens                            ¨ On appeal
                                                                                        88-11 Sutphin Blvd                          ¨ Concluded
           Case number
                                                                                        Queens, NY 11435
           No. 709520/17
                                                                                        USA
           Steel Valley Emergency Physicians,    Breach of Contract; Breach of          Court of Common Pleas, Allegheny            þ Pending
           LLC v. North East Medical Solutions,  duty of loyalty                        County, PA                                  ¨ On appeal
           LLC, et al. (Docket No. GD-16- 01479)                                        414 Grant St                                ¨ Concluded
                                                                                        Pittsburgh, PA 15219
           Case number
                                                                                        USA
           No. GD-16- 01479

 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
    hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     þ None


 Part 4:     Certain Gifts and Charitable Contributions



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Debtor     Orion HealthCorp, Inc.                                                        Case number (if known)      18-71748
           (Name)


 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
    value of the gifts to that recipient is less than $1,000
     ¨ None

           Recipient’s name and address                       Description of the gifts or contributions           Dates given        Value

           Texas Society of Pathologists                      Corp donation for 2016 5K                           6/5/2016                     $5,000.00
           Suite #100
           401 W. 15th Street
           Austin, Texas 78701
           United States
           Recipient's relationship to debtor
           No known relationship
           Collier Youth Services                             Charitable donation                                 8/21/2017                    $5,000.00
           160 Conover Road
           Wickatunk, NJ 07765
           United States
           Recipient's relationship to debtor
           No known relationship
           Unknown                                            Wine cooler                                         12/31/2016                   $1,807.48
           Recipient's relationship to debtor
           Not Available

 Part 5:     Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     þ None


 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
     filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking
     bankruptcy relief, or filing a bankruptcy case.
     ¨ None

           Who was paid or who received the transfer?         If not money, describe any property transferred           Dates           Total amount
                                                                                                                                        or value
           DLA Piper LLP                                                                                                12/15/2017           $300,000.00
           PO BOX 75190
           BALTIMORE, MD 21275
           Email or website address
           www.dlapiper.com
           Who made the payment, if not debtor?
           DLA Piper LLP                                                                                                12/22/2017            $96,972.50
           PO BOX 75190
           BALTIMORE, MD 21275
           Email or website address
           www.dlapiper.com
           Who made the payment, if not debtor?
           DLA Piper LLP                                                                                                12/22/2017            $79,261.44
           PO BOX 75190
           BALTIMORE, MD 21275
           Email or website address
           www.dlapiper.com
           Who made the payment, if not debtor?
           DLA Piper LLP                                                                                                12/22/2017            $14,250.00
           PO BOX 75190
           BALTIMORE, MD 21275
           Email or website address
           www.dlapiper.com
           Who made the payment, if not debtor?




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          Who was paid or who received the transfer?       If not money, describe any property transferred       Dates       Total amount
                                                                                                                             or value
          DLA Piper LLP                                                                                          2/1/2018        $94,483.20
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          2/1/2018        $78,865.30
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          2/1/2018        $26,651.50
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          2/9/2018       $154,430.59
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          3/2/2018       $283,988.25
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          3/12/2018       $41,807.00
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          3/12/2018       $51,500.00
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          3/12/2018       $45,165.75
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          3/12/2018         $4,548.50
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          3/12/2018         $3,961.00
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?


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          Who was paid or who received the transfer?       If not money, describe any property transferred       Dates        Total amount
                                                                                                                              or value
          DLA Piper LLP                                                                                          3/12/2018       $250,000.00
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          3/16/2018        $51,500.00
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          DLA Piper LLP                                                                                          3/16/2018       $213,500.00
          PO BOX 75190
          BALTIMORE, MD 21275
          Email or website address
          www.dlapiper.com
          Who made the payment, if not debtor?
          Epiq Systems Acquisition Inc.                                                                          2/28/2018        $25,000.00
          777 Third Avenue
          12th Floor
          New York, NY 10017
          Email or website address
          www.epiqglobal.com
          Who made the payment, if not debtor?
          Epiq Systems Acquisition Inc.                                                                          3/14/2018        $55,000.00
          777 Third Avenue
          12th Floor
          New York, NY 10017
          Email or website address
          www.epiqglobal.com
          Who made the payment, if not debtor?
          Epiq Systems Acquisition Inc.                                                                          3/14/2018          $2,938.00
          777 Third Avenue
          12th Floor
          New York, NY 10017
          Email or website address
          www.epiqglobal.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    1/5/2018        $142,769.50
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    12/15/2017      $228,625.30
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    12/22/2017      $113,076.10
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?




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          Who was paid or who received the transfer?       If not money, describe any property transferred       Dates        Total amount
                                                                                                                              or value
          FTI Consulting Inc.                                                                                    12/29/2017      $206,801.08
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    2/1/2018        $124,391.98
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    2/9/2018         $47,589.02
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    2/9/2018         $75,082.50
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    2/9/2018        $106,030.10
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    2/23/2018       $104,406.95
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    2/23/2018        $98,760.53
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    3/2/2018        $125,277.96
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    3/2/2018        $157,319.06
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                    3/12/2018       $117,967.84
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?


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          Who was paid or who received the transfer?          If not money, describe any property transferred       Dates            Total amount
                                                                                                                                     or value
          FTI Consulting Inc.                                                                                       3/12/2018            $116,278.86
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                       3/12/2018            $125,307.41
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?
          FTI Consulting Inc.                                                                                       3/16/2018            $213,500.00
          PO BOX 418005
          BOSTON, MA 02241
          Email or website address
          www.fticonsulting.com
          Who made the payment, if not debtor?

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
     case to a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     þ None

 13. Transfers not already listed on this statement
     List any transfers of money or other property¾by sale, trade, or any other means¾made by the debtor or a person acting on behalf of the
     debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
     financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
     ¨ None

          Who received transfer?                              Description of property transferred or payments       Dates transfer   Total amount
                                                              received or debts paid in exchange                    was made         or value
          Aayush Sharma                                       Potentially non-business related Corporate            3/16/2016 -               $293.33
                                                              AmEx charges incurred by Transferee                   3/15/2018
          Relationship to debtor

          Abruzzi Investments LLC                             Withdrawal / transfer from Wells Fargo IOLA           5/25/2017             $250,000.00
          Relationship to debtor
          Entity owned by John Petrozza
          Allegiance Billing Associates, Inc.                 Earn out payment ABC as per escrow                    1/31/2017           $1,500,000.00
          333 JERICHO TURNPIKE, STE 102
          JERICHO, NY 11753
          Relationship to debtor
          Entity affiliated with John Esposito
          Allegiance Billing Associates, Inc.                 Earn out payment ACA as per escrow                    1/31/2017             $750,000.00
          333 JERICHO TURNPIKE, STE 102
          JERICHO, NY 11753
          Relationship to debtor
          Entity affiliated with John Esposito
          Arpita Khan Sharma                                  Potentially non-business related Corporate            3/16/2016 -               $293.33
                                                              AmEx charges incurred by Transferee                   3/15/2018
          Relationship to debtor

          Arvind Walia                                        Earn out payment Porteck as per escrow                6/30/2017           $1,100,000.00
          27 Kettlepond Rd
          Jericho, NY 11753
          Relationship to debtor
          CEO
          Arvind Walia                                        Earn out payment Porteck as per escrow                5/31/2017           $1,000,000.00
          27 Kettlepond Rd
          Jericho, NY 11753
          Relationship to debtor
          CEO

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Debtor    Orion HealthCorp, Inc.                                                   Case number (if known)   18-71748
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          Who received transfer?                         Description of property transferred or payments       Dates transfer   Total amount
                                                         received or debts paid in exchange                    was made         or value

          Arvind Walia                                   Earn out payment Porteck as per escrow                4/28/2017            $600,000.00
          27 Kettlepond Rd
          Jericho, NY 11753
          Relationship to debtor
          CEO
          Arvind Walia                                   Earn out payment Porteck as per escrow                3/31/2017            $600,000.00
          27 Kettlepond Rd
          Jericho, NY 11753
          Relationship to debtor
          CEO
          Arvind Walia                                   Earn out payment Porteck as per escrow                2/28/2017            $600,000.00
          27 Kettlepond Rd
          Jericho, NY 11753
          Relationship to debtor
          CEO
          Arvind Walia                                   Earn out payment Porteck as per escrow                1/31/2017            $600,000.00
          27 Kettlepond Rd
          Jericho, NY 11753
          Relationship to debtor
          CEO
          Bobby Kumar                                    Earn out payment Northstar as per escrow              4/28/2017          $1,400,000.00
          Relationship to debtor
          Unknown
          Bobby Kumar                                    Earn out payment Northstar as per escrow              3/31/2017            $700,000.00
          Relationship to debtor
          Unknown
          Bobby Kumar                                    Earn out payment Northstar as per escrow              2/28/2017            $700,000.00
          Relationship to debtor
          Unknown
          Bobby Kumar                                    Earn out payment Northstar as per escrow              1/31/2017            $700,000.00
          Relationship to debtor
          Unknown
          BOOK TRANSFER DEBIT                            Withdrawal / transfer from M&T CHT Accounts           3/31/2016            $200,000.00
          Relationship to debtor
          Unknown
          BOOK TRANSFER DEBIT                            Withdrawal / transfer from M&T CHT Accounts           3/30/2016            $250,000.00
          Relationship to debtor
          Unknown
          BOOK TRANSFER DEBIT                            Withdrawal / transfer from M&T CHT Accounts           3/30/2016          $3,800,000.00
          Relationship to debtor
          Unknown
          CHECK NUMBER 0055                              Withdrawal / transfer from M&T CHT Accounts           3/30/2016             $40,000.00
          Relationship to debtor
          Unknown
          CLOSEOUT                                       Withdrawal / transfer from M&T CHT Accounts           7/20/2016          $1,906,442.04
          Relationship to debtor
          Unknown
          Damian & Valori LLP, Operating Acct            Withdrawal / transfer from Wells Fargo IOLA           4/13/2017             $10,000.00
          Relationship to debtor
          Unknown
          Daniel Flaskay                                 Potentially non-business related Corporate            3/16/2016 -              $647.34
                                                         AmEx charges incurred by Transferee                   3/15/2018
          Relationship to debtor

          Depo International                             Withdrawal / transfer from Wells Fargo IOLA           7/25/2017              $3,950.25
          Relationship to debtor
          Unknown
          Elena Sartison                                 Potentially non-business related Corporate            3/16/2016 -           $97,737.42
                                                         AmEx charges incurred by Transferee                   3/15/2018
          Relationship to debtor



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Debtor    Orion HealthCorp, Inc.                                                      Case number (if known)   18-71748
          (Name)


          Who received transfer?                           Description of property transferred or payments        Dates transfer   Total amount
                                                           received or debts paid in exchange                     was made         or value
          Elizabeth Kelly                                  NYMN Balance consideration paid - escrow               3/10/2017          $7,500,000.00
          125 Annfield Ct.
          Staten Island, NY 10304
          Relationship to debtor
          Debtor consultant
          Elizabeth Kelly                                  AP Pymt - Elizabeth Kelly: Escrow - 3/10               3/10/2017            $375,000.00
          125 Annfield Ct.
          Staten Island, NY 10304
          Relationship to debtor
          Debtor consultant
          Elizabeth Kelly                                  Elizabeth Kelly purchase consideration paid for        3/10/2017         $15,589,500.00
          125 Annfield Ct.                                 NYNM LLC
          Staten Island, NY 10304
          Relationship to debtor
          Debtor consultant
          First United Health                              Fees reimbursed to FUH for aborted acquisitions 12/20/2016                  $974,589.50
                                                           in 2016
          Relationship to debtor
          Parmar controlled entity
          First United Health                              reimbursed to FUH for payments made to                 12/20/2016         $1,300,000.00
                                                           corporate amex
          Relationship to debtor
          Parmar controlled entity
          First United Health                              AP Pymt - First United Health                          12/20/2016         $2,713,227.46
          Relationship to debtor
          Parmar controlled entity
          GKS Business Partners                            AP Pymt - GKS Business Partners: escrow 4/14           4/14/2017            $715,000.00
          Relationship to debtor
          Consultant/advisor
          GKS Business Partners                            AP Pymt - GKS Business Partners: Escrow 3/10           3/10/2017            $715,000.00
          Relationship to debtor
          Consultant/advisor
          Grange Management Services                       AP Pymt - Grange Management Services:                  4/14/2017            $890,000.00
                                                           escrow 4/14
          Relationship to debtor
          Consultant/advisor
          Grange Management Services                       AP Pymt - Grange Management Services:                  3/10/2017            $890,000.00
                                                           escrow 3/10
          Relationship to debtor
          Consultant/advisor
          Holland & Knight LLP                             Bill - Holland & Knight LLP.: Kelly Litigation         3/10/2017            $820,500.00
                                                           Escrow-- NYNM Acquisition
          Relationship to debtor
          Consultant/advisor
          In Branch Transfer/Withdrawal                    Withdrawal / transfer from M&T CHT Accounts            7/8/2016              $10,000.00
          Relationship to debtor
          Unknown
          In Branch Transfer/Withdrawal                    Withdrawal / transfer from M&T CHT Accounts            3/18/2016          $1,000,000.00
          Relationship to debtor
          Unknown
          In Branch Transfer/Withdrawal                    Withdrawal / transfer from M&T CHT Accounts            3/16/2016            $500,000.00
          Relationship to debtor
          Unknown
          Jackson Wright                                   Earn out payment MDRX as per escrow                    5/31/2017          $2,500,000.00
          Relationship to debtor
          Payment related to a synthetic entity.
          Jackson Wright                                   Earn out payment MDRX as per escrow                    4/28/2017          $2,000,000.00
          Relationship to debtor
          Payment related to a synthetic entity.
          Jackson Wright                                   Earn out payment MDRX as per escrow                    3/31/2017          $1,500,000.00
          Relationship to debtor
          Payment related to a synthetic entity.




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Debtor    Orion HealthCorp, Inc.                                                     Case number (if known)   18-71748
          (Name)


          Who received transfer?                           Description of property transferred or payments       Dates transfer   Total amount
                                                           received or debts paid in exchange                    was made         or value
          Jackson Wright                                   Earn out payment MDRX as per escrow                   2/28/2017          $1,250,000.00
          Relationship to debtor
          Payment related to a synthetic entity.
          Jackson Wright                                   Earn out payment MDRX as per escrow                   1/31/2017          $1,500,000.00
          Relationship to debtor
          Payment related to a synthetic entity.
          Kirkland & Ellis LLP                             AP Pymt - Kirkland &Ellis LLP: Escrow-12/29           12/31/2016           $150,407.25
          Relationship to debtor
          Consultant/advisor
          Kriss & Feuerstein LLP                           Withdrawal / transfer from Wells Fargo IOLA           7/13/2017          $1,623,600.00
          Relationship to debtor
          Purchase of Parmar apartment
          Legal Order Debit - FBI case#22835317            Withdrawal / transfer from Wells Fargo IOLA           3/15/2017         $20,100,356.70
          Relationship to debtor
          Unknown
          Marko Raich                                      Potentially non-business related Corporate            3/16/2016 -              $724.17
                                                           AmEx charges incurred by Transferee                   3/15/2018
          Relationship to debtor

          Marko Raich                                      Withdrawal / transfer from Wells Fargo IOLA           3/3/2017             $178,240.00
          5151 RAU HIGHWAY


          PALMYRA, MI 49268
          Relationship to debtor
          Purchased certain Vachette assets
          Marko Raich                                      Withdrawal / transfer from Wells Fargo IOLA           11/23/2016           $240,000.00
          5151 RAU HIGHWAY


          PALMYRA, MI 49268
          Relationship to debtor
          Purchased certain Vachette assets
          McQuire Woods LLP                                AP Pymt - McguireWoods LLP: Escrow payment            12/31/2016           $175,000.00
                                                           12/29
          Relationship to debtor
          Consultant/advisor
          Merrill Lynch - Moshe&Miriam Feuer               Withdrawal / transfer from Wells Fargo IOLA           2/7/2017             $900,000.00
          Relationship to debtor
          Unknown
          Michele Matney                                   Withdrawal / transfer from Wells Fargo IOLA           11/23/2016            $60,000.00
          3130 SHORELAND AVE
          TOLEDO, OH 43611
          Relationship to debtor
          Unknown
          Michelle Matney                                  Withdrawal / transfer from Wells Fargo IOLA           3/3/2017             $100,260.00
          3130 SHORELAND AVE
          TOLEDO, OH 43611
          Relationship to debtor
          Unknown
          Nicka Marcin                                     Potentially non-business related Corporate            3/16/2016 -            $8,364.19
                                                           AmEx charges incurred by Transferee                   3/15/2018
          Relationship to debtor

          Niknim Management Inc.                           Withdrawal / transfer from Wells Fargo IOLA           6/28/2017             $20,000.00
          27 Kettlepond Rd
          Jericho, NY 11753
          Relationship to debtor
          Arvind Walia's company
          Niknim Management Inc.                           Withdrawal / transfer from Wells Fargo IOLA           6/23/2017          $1,500,000.00
          27 Kettlepond Rd
          Jericho, NY 11753
          Relationship to debtor
          Arvind Walia's company


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Debtor    Orion HealthCorp, Inc.                                                   Case number (if known)   18-71748
          (Name)


          Who received transfer?                         Description of property transferred or payments       Dates transfer   Total amount
                                                         received or debts paid in exchange                    was made         or value
          One Riverside Park                             AP Pymt - One Riverside Park: ACH 8/1/17              8/1/2017               $7,784.00
          Relationship to debtor
          Parmar aparment
          One Riverside Park                             AP Pymt - One Riverside Park: Wire 7/5/17             7/5/2017               $7,784.00
          Relationship to debtor
          Parmar aparment
          One Riverside Park                             AP Pymt - One Riverside Park: Wire 7/31/17            7/31/2017              $7,784.00
          Relationship to debtor
          Parmar aparment
          One Riverside Park                             One Riverside Park Unit 21B paid from Chase           5/31/2017              $7,784.00
                                                         6450
          Relationship to debtor
          Parmar aparment
          OUTGOING FEDWIRE FUNDS TRANSFER                Withdrawal / transfer from M&T CHT Accounts           4/1/2016               $8,000.00
          KRISS & FEUERSTEIN LLP ATTORNEY
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Related to Paul Parmar
          OUTGOING FEDWIRE FUNDS TRANSFER                Withdrawal / transfer from M&T CHT Accounts           3/30/2016          $3,800,000.00
          KRISS & FEUERSTEIN LLP ATTY ESCROW
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Related to Paul Parmar
          OUTGOING FEDWIRE FUNDS TRANSFER                Withdrawal / transfer from M&T CHT Accounts           3/16/2016            $225,000.00
          SAINATH TRADING FZE
          Relationship to debtor
          Unknown
          OUTGOING FEDWIRE FUNDS TRANSFER                Withdrawal / transfer from M&T CHT Accounts           4/15/2016          $2,500,000.00
          NIKNIM MANAGEMENT INC
          27 Kettlepond Rd
          Jericho, NY 11753
          Relationship to debtor
          Entity owned by Arvind Walia, CTO at
          Constellation Healthcare Technologies
          OUTGOING FEDWIRE TRANSFER AUTO NON Withdrawal / transfer from M&T CHT Accounts                       8/10/2016         $12,740,000.00
          REP
          Robinson Brog
          GLUCK PC
          ATTN ADAM J GREENE
          875 THIRD AVENUE
          NEW YORK, NY 10022
          Relationship to debtor
          Unknown
          Paul Parmar                                    Potentially non-business related Corporate            3/16/2016 -        $3,629,167.99
                                                         AmEx charges incurred by Transferee                   3/15/2018
          Relationship to debtor

          Paul Parmar                                    Bill - Jersey Central Power & Light: PP Bill Colts    9/19/2017              $4,267.64
          19 Colts Gait Lane                             Gait
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                    Bill - Jersey Central Power & Light: Corp- 100        9/15/2017              $4,334.97
          19 Colts Gait Lane                             048 534 562 062017 Colts Neck 091517
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                    Bill - Township of Colts Neck: Property taxes         8/2/2017                  $45.18
          19 Colts Gait Lane                             Colts Gait Block 7 Lot 4.13 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO



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Debtor    Orion HealthCorp, Inc.                                                  Case number (if known)   18-71748
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          Who received transfer?                        Description of property transferred or payments       Dates transfer   Total amount
                                                        received or debts paid in exchange                    was made         or value
          Paul Parmar                                   Bill - Township of Colts Neck: Colts Gait property 8/2/2017                     $74.09
          19 Colts Gait Lane                            taxes Block 7 Lot 4.14 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Acct 3898 Block 7      8/2/2017              $35,808.52
          19 Colts Gait Lane                            Lot 4.14 Colts Gait
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Property taxes         8/1/2016                  $44.91
          19 Colts Gait Lane                            Colts Gait Block 7 Lot 4.13 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Colts Gait property 8/1/2016                     $74.28
          19 Colts Gait Lane                            taxes Block 7 Lot 4.14 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Acct 3898 Block 7      8/1/2016              $34,518.37
          19 Colts Gait Lane                            Lot 4.14 Colts Gait
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Jersey Central Power & Light: Corp- 100        6/15/2017                $162.74
          19 Colts Gait Lane                            048 534 562 052017 Colts Neck
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Jersey Central Power & Light: Corp- 100        6/15/2017              $1,447.94
          19 Colts Gait Lane                            048 534 562 062017 Colts Neck
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Property taxes         5/3/2017                  $43.27
          19 Colts Gait Lane                            Colts Gait Block 7 Lot 4.13 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Colts Gait property 5/3/2017                     $70.97
          19 Colts Gait Lane                            taxes Block 7 Lot 4.14 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Acct 3898 Block 7      5/3/2017              $34,609.18
          19 Colts Gait Lane                            Lot 4.14 Colts Gait
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Acc ID 00003898        4/30/2016             $34,988.30
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Acc ID 00003899        4/30/2016                 $68.71
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO




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Debtor    Orion HealthCorp, Inc.                                                  Case number (if known)   18-71748
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          Who received transfer?                        Description of property transferred or payments       Dates transfer   Total amount
                                                        received or debts paid in exchange                    was made         or value
          Paul Parmar                                   Bill - Township of Colts Neck: Acc ID 00004197        4/30/2016                 $85.17
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Property taxes         2/7/2017                  $43.28
          19 Colts Gait Lane                            Colts Gait Block 7 Lot 4.13 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Colts Gait property 2/7/2017                     $70.97
          19 Colts Gait Lane                            taxes Block 7 Lot 4.14 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Acct 3898 Block 7      2/7/2017              $34,609.19
          19 Colts Gait Lane                            Lot 4.14 Colts Gait
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Acc ID 00003898        2/29/2016             $35,106.85
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Acc ID 00003899        2/29/2016                 $68.03
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Bill - Township of Colts Neck: Acc ID 00004197        2/29/2016                 $41.86
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Reimburse Sam Z for Colts Gait Expenses               2/23/2016              $1,066.18
          19 Colts Gait Lane                            2/23/16
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   Sam Z. reimbursement Colts Gait Exp 2/2/16            2/2/2016               $2,165.39
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   12/29/15 Sam Z. reimburse utility bills Colts Gait    12/31/2015             $4,525.28
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   12/30/15 Sam Z reimburse utility bills Colts Gait     12/31/2015             $1,627.97
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                   12/8/15 Reimburse Sam Z for utility bills Colts       12/31/2015             $9,733.11
          19 Colts Gait Lane                            Gait
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO




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Debtor    Orion HealthCorp, Inc.                                                   Case number (if known)   18-71748
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          Who received transfer?                         Description of property transferred or payments       Dates transfer   Total amount
                                                         received or debts paid in exchange                    was made         or value
          Paul Parmar                                    Bill - Dolan, Rachelle: Jersey Central Power Nov      12/29/2016               $281.95
          19 Colts Gait Lane                             16 for Corp Parmer Colts neck location
          Colts Neck, NJ 07722                           Approved by Sam Z.
          Relationship to debtor
          Former CFO
          Paul Parmar                                    Bill - Dolan, Rachelle: Jersey Central Power Oct      11/22/2016               $677.36
          19 Colts Gait Lane                             for Corp Parmer Colts neck location
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                    Bill - Dolan, Rachelle: New Jersey Natural Gas        11/22/2016             $1,077.17
          19 Colts Gait Lane                             Oct 2016 Statement Parmar Colts Neck location
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                    Bill - Township of Colts Neck: Property taxes         11/2/2016                 $44.91
          19 Colts Gait Lane                             Colts Gait Block 7 Lot 4.13 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                    Bill - Township of Colts Neck: Colts Gait property 11/2/2016                    $74.27
          19 Colts Gait Lane                             taxes Block 7 Lot 4.14 QFarm
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                    Bill - Township of Colts Neck: Acct 3898 Block 7      11/2/2016             $34,518.36
          19 Colts Gait Lane                             Lot 4.14 Colts Gait
          Colts Neck, NJ 07722
          Relationship to debtor
          Former CFO
          Paul Parmar                                    Bill - Dolan, Rachelle: Jersey Central Power & 10/24/2016                    $4,631.68
          19 Colts Gait Lane                             Light Reim Various Confirms
          Colts Neck, NJ 07722                           #GB6E,GB6G,GB6J,GB6K,GB6L,GB7F for Corp
                                                         Parmer Colts neck location
          Relationship to debtor
          Former CFO
          Pepper Hamilton LLP                            Withdrawal / transfer from Wells Fargo IOLA           5/16/2017              $4,386.75
          Relationship to debtor
          Unknown
          Precise Court Reporting Services               Withdrawal / transfer from Wells Fargo IOLA           7/5/2017                 $813.90
          Relationship to debtor
          Unknown
          Ranga Bhoomi LLC                               Withdrawal / transfer from Wells Fargo IOLA           2/10/2017          $8,765,997.44
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Related to Paul Parmar
          Ranga Bhoomi LLC                               Withdrawal / transfer from Wells Fargo IOLA           2/10/2017          $7,234,002.56
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Related to Paul Parmar
          Reel Life Production PVT LTD                   Withdrawal / transfer from Wells Fargo IOLA           4/18/2017            $150,000.00
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Related to Paul Parmar
          Reel Life Production PVT LTD                   Withdrawal / transfer from Wells Fargo IOLA           2/21/2017            $300,000.00
          19 Colts Gait Lane
          Colts Neck, NJ 07722
          Relationship to debtor
          Related to Paul Parmar




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Debtor    Orion HealthCorp, Inc.                                                     Case number (if known)   18-71748
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          Who received transfer?                           Description of property transferred or payments       Dates transfer   Total amount
                                                           received or debts paid in exchange                    was made         or value
          Robinson Brog                                    AP Pymt - Robinson Brog Leinwand Greene:              3/10/2017            $775,000.00
                                                           Escrow - 3/10
          Relationship to debtor
          Consultant/advisor
          Robinson Brog                                    Robinson & Brog NYNM purchase consideration           3/10/2017          $3,590,000.00
                                                           paid- reps and warranties
          Relationship to debtor
          Consultant/advisor
          Robinson Brog                                    Robinson and Brog purchase consideration paid- 3/10/2017                 $2,000,000.00
                                                           CHT share escrow
          Relationship to debtor
          Consultant/advisor
          Robinson Brog                                    Robinson Brog funds received                          2/16/2017            $720,000.00
          Relationship to debtor
          Consultant/advisor
          Robinson Brog                                    Robinson Brog funds received                          2/15/2017             $50,000.00
          Relationship to debtor
          Consultant/advisor
          Robinson Brog Leinwand                           Withdrawal / transfer from Wells Fargo IOLA           12/22/2016           $697,392.29
          GLUCK PC
          ATTN ADAM J GREENE
          875 THIRD AVENUE
          NEW YORK, NY 10022
          Relationship to debtor
          Unknown
          Sarah Reinsch                                    Potentially non-business related Corporate            3/16/2016 -           $11,434.17
                                                           AmEx charges incurred by Transferee                   3/15/2018
          Relationship to debtor

          Sher Tremonte LLP                                Withdrawal / transfer from Wells Fargo IOLA           10/20/2016           $365,000.00
          90 BROAD ST
          NEW YORK, NY 10004
          Relationship to debtor
          Unknown
          State Street Corporate LLC                       Withdrawal / transfer from Wells Fargo IOLA           5/15/2017                $300.00
          1786 MOUNT FRIENDSHIP RD
          SMYRNA, DE 19977
          Relationship to debtor
          Unknown
          TELLER MISCELLANEOUS DEBIT                       Withdrawal / transfer from M&T CHT Accounts           4/5/2016             $260,000.00
          Relationship to debtor
          Unknown
          Truc N To                                        Potentially non-business related Corporate            3/16/2016 -               $15.00
                                                           AmEx charges incurred by Transferee                   3/15/2018
          Relationship to debtor

          United States Treasury                           Withdrawal / transfer from Wells Fargo IOLA           4/27/2017            $246,291.45
          2970 MARKET ST
          BLN 3G23100
          PHILADELPHIA, PA 19104-5002
          Relationship to debtor
          Unknown
          US Legal Support                                 Withdrawal / transfer from Wells Fargo IOLA           6/27/2017                $731.90
          Relationship to debtor
          Unknown
          Vijay Kumar                                      Earn out payment Phoenix as per escrow                4/28/2017            $950,000.00
          Relationship to debtor
          Payment related to a synthetic entity.
          Vijay Kumar                                      Earn out payment Phoenix as per escrow                3/31/2017            $600,000.00
          Relationship to debtor
          Payment related to a synthetic entity.
          Vijay Kumar                                      Earn out payment Phoenix as per escrow                2/28/2017            $600,000.00
          Relationship to debtor
          Payment related to a synthetic entity.



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Debtor     Orion HealthCorp, Inc.                                                      Case number (if known)   18-71748
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           Who received transfer?                            Description of property transferred or payments       Dates transfer       Total amount
                                                             received or debts paid in exchange                    was made             or value
           Vijay Kumar                                       Earn out payment Phoenix as per escrow                1/31/2017                $600,000.00
           Relationship to debtor
           Payment related to a synthetic entity.
           Wilcox & Fetzer                                   Withdrawal / transfer from Wells Fargo IOLA           6/6/2017                      $4,522.71
           Relationship to debtor
           Unknown
           Windels Marx Lane & Mittendorf LLP                Withdrawal / transfer from Wells Fargo IOLA           3/24/2017                $100,000.00
           Relationship to debtor
           Unknown
           Young Conaway Stargatt & Taylor                   Withdrawal / transfer from Wells Fargo IOLA           12/30/2016               $200,000.00
           Relationship to debtor
           Unknown
           Young Conaway Stargatt & Taylor                   Withdrawal / transfer from Wells Fargo IOLA           1/18/2017                $100,000.00
           Relationship to debtor
           Unknown
           Young Conway                                      AP Pymt - Young Conway: Escrow - 12/30                12/31/2016               $425,000.00
           Relationship to debtor
           Consultant/advisor
           Young Conway                                      AP Pymt - Young Conway: Escrow - 1/24                 1/24/2017                $100,000.00
           Relationship to debtor
           Consultant/advisor

 Part 7:     Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ¨ Does not apply

           Address                                                                                Dates of occupancy

           1625 Avenue of the Cities                                                              From 11/1/2009                    To Current
           Suite C - 120
           East Moline, IL 61265
           1625 Avenue of the Cities                                                              From 11/1/2009                    To 3/31/2018
           Suite C - 120
           East Moline, IL 61265
           One Arin Park                                                                          From 12/1/2016                    To Current
           1715 Route 35 North
           Suite 301
           Middletown, NJ 07748
           One Arin Park                                                                          From 12/1/2016                    To Current
           1715 Route 35 North
           Suite 303
           Middletown, NJ 07748
           368 West Pike St                                                                       From Unknown                      To Current
           Suite 102
           Lawrenceville, GA 30046
           3200 Wilcrest Drive                                                                    From 12/10/2012                   To 9/25/2017
           Suite 415
           Houston, TX 77042
           3200 Wilcrest Drive                                                                    From 6/8/2011                     To 9/25/2017
           Suite 600
           Houston, TX 77042

 Part 8:     Health Care Bankruptcies

 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
     ¾ diagnosing or treating injury, deformity, or disease, or
     ¾ providing any surgical, psychiatric, drug treatment, or obstetric care?
     þ None


 Part 9:     Personal Identifiable Information


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Debtor      Orion HealthCorp, Inc.                                                         Case number (if known)   18-71748
            (Name)


 16. Does the debtor collect and retain personally identifiable information of customers?
     ¨ No.
     þ Yes. State the nature of the information collected and retained.           Patient Data (Name, Marital status, Home address, Social security
                                                                                  number, Medical history, Driver License No.)
                Does the debtor have a privacy policy about that information?
                ¨ No
                þ Yes

 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?
     þ No. Go to Part 10.
     ¨ Yes. Does the debtor serve as plan administrator?
                þ No. Go to Part 10.
                ¨ Yes. Fill in below:


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
     sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
     houses, cooperatives, associations, and other financial institutions.
     þ None

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing
     this case.
     þ None

 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
     in which the debtor does business.
     ¨ None

            Facility name and address                    Names of anyone with access to it               Description of the contents      Does debtor
                                                                                                                                          still have it?
            Iron Mountain                               Rachelle Dolan                                   Accounting, payroll, HR and     ¨ No
            600 Distribution Drive                                                                       general company records         þ Yes
            Atlanta, GA 30336

 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.
    þ None


 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
 n Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
    regardless of the medium affected (air, land, water, or any other medium).
 n Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the
    debtor formerly owned, operated, or utilized.
 n Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant,
    contaminant, or a similarly harmful substance.
 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
     þ No
     ¨ Yes. Provide details below.




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 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
     þ No
     ¨ Yes. Provide details below.

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     þ No
     ¨ Yes. Provide details below.


 Part 13:     Details About the Debtor’s Business or Connections to Any Business

 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
     ¨ None

            Business name and address                Describe the nature of the business                       Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.
            Allegiance Billing & Consulting, LLC     Revenue Cycle Management for hospital-based               XX-XXXXXXX
            333 Jericho Turnpike                     physician practices                                       Date business existed
            Suite 102
            Jericho, NY 11753                                                                                  FromUnknown          ToPresent
            Allegiance Consulting Associates, LLC Revenue Cycle Management for hospital-based                  XX-XXXXXXX
            2 Broad Street                        physician practices                                          Date business existed
            3rd Floor
            Bloomfield, NJ                                                                                     FromUnknown          ToPresent
            Brooklyn Medical Systems IPA 3, Inc.                                                               XX-XXXXXXX
                                                                                                               Date business existed
                                                                                                               From                 To
            Brooklyn Medical Systems IPA 4, Inc.                                                               XX-XXXXXXX
                                                                                                               Date business existed
                                                                                                               From                 To
            Brooklyn Medical Systems IPA 5, Inc.                                                               XX-XXXXXXX
                                                                                                               Date business existed
                                                                                                               From                 To
            Integrated Physicians Solutions, Inc.    Management services for primary care and                  XX-XXXXXXX
            368 W. Pike St.                          pediatric practices                                       Date business existed
            Suite 103
            Lakewood,, GA 30046                                                                                FromUnknown          ToPresent
            MDRX Medical Billing, LLC                Entity used in a sham acquisition with no operating XX-XXXXXXX
            N/A                                      business                                            Date business existed
            N/A
            N/A                                                                                          FromUnknown          ToPresent
            N/A, N/A
            Medical Billing Services, Inc.           Healthcare Revenue Cycle Management                       XX-XXXXXXX
            3200 Wilcrest Drive                                                                                Date business existed
            Suite 550
            Houston, TX 77042                                                                                  FromUnknown          ToPresent
            NEMS Acquisition, LLC                    Healthcare Revenue Cycle Management                       XX-XXXXXXX
            1715 Route 35 North                                                                                Date business existed
            Suite 303
            Middletown, NJ                                                                                     FromUnknown          ToPresent
            Nems West Virginia, LLC                  Healthcare Revenue Cycle Management                       XX-XXXXXXX
            1107 Garfield Ave                                                                                  Date business existed
            Parkersburg, WV 26105
                                                                                                               FromUnknown          ToPresent
            Network Management Insurance                                                                       XX-XXXXXXX
            Brokerage Services, LLC                                                                            Date business existed
                                                                                                               From                 To
            New York Network IPA, Inc                                                                          XX-XXXXXXX
                                                                                                               Date business existed
                                                                                                               From                 To




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          Business name and address                 Describe the nature of the business                       Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.
          New York Network Management, LLC                                                                    XX-XXXXXXX
                                                                                                              Date business existed
                                                                                                              From                 To
          New York Network Premier IPA, Inc                                                                   XX-XXXXXXX
                                                                                                              Date business existed
                                                                                                              From                 To
          Northeast Medical Solutions, LLC          Healthcare Revenue Cycle Management                       XX-XXXXXXX
          417 Grand Park Drive                                                                                Date business existed
          Suite 204
          Parkersburg, WV 26105                                                                               FromUnknown          To Present
          Northstar FHA, LLC                        Entity used in a sham acquisition with no operating XX-XXXXXXX
          1715 Route 35 North                       business                                            Date business existed
          Suite 303
          Middletown, NJ                                                                                FromUnknown          To Present
          Northstar First Health, LLC               Non-operating entity                                      XX-XXXXXXX
          1715 Route 35 North                                                                                 Date business existed
          Suite 303
          Middletown, NJ                                                                                      FromUnknown          To Present
          NYNM Acquisition, LLC                     Negotiates contracts with insurance companies on Unknown
          2901 4th Ave.                             behalf of doctors                                Date business existed
          1st Floor
          Brooklyn, NY 11209                                                                         FromUnknown          To Present
          Phoenix Health, LLC                       Entity used in a sham acquisition with no operating XX-XXXXXXX
          N/A                                       business                                            Date business existed
          N/A
          N/A                                                                                           FromUnknown          To Present
          N/A, N/A
          Physicians Practice Plus Holdings,        Healthcare Revenue Cycle Management                       XX-XXXXXXX
          LLC                                                                                                 Date business existed
          100 Jericho Quadrangle
          Suite 235                                                                                           FromUnknown          To Present
          Jericho, NY 11753
          Physicians Practice Plus, LLC             Healthcare Revenue Cycle Management                       XX-XXXXXXX
          100 Jericho Quadrangle                                                                              Date business existed
          Suite 235
          Jericho, NY 11753                                                                                   FromUnknown          To Present
          Rand Medical Billing, Inc.                Healthcare Revenue Cycle Management                       XX-XXXXXXX
          1633 Erringer Road                                                                                  Date business existed
          1st Floor
          Simi Valley, CA 93065                                                                               FromUnknown          To Present
          RMI Physician Services Corportation       Healthcare Revenue Cycle Management                       XX-XXXXXXX
          12951 South Fwy                                                                                     Date business existed
          Houston, TX 77047
                                                                                                              FromUnknown          To Present
          Vachette Business Services, Ltd.          Healthcare third-party billing services, negotiated       XX-XXXXXXX
          111 Giles Avenue                          managed care contracts, and assisted with                 Date business existed
          Apartement C                              business
          Blissfield, MI 49228                      management.                                               From9/2/2015         To Present
          VEGA Medical Professionals, LLC           Revenue Cycle Management for hospital-based               XX-XXXXXXX
          2 Broad Street                            physician practices                                       Date business existed
          3rd Floor
          Bloomfield, NJ                                                                                      FromUnknown          To Present
          Western Skies Practice Management,        Healthcare Revenue Cycle Management                       XX-XXXXXXX
          Inc.                                                                                                Date business existed
          7175 West Jefferson Ave.
          Suite 2500                                                                                          FromUnknown          To Present
          Suite 2500, CO 80235

 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            ¨ None

              Name and address                                                                          Dates of service




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                Name and address                                                                          Dates of service

                Dolan, Rachelle                                                                           From 3/1997           To Current
                One Arin Park
                1715 Route 35 North
                Suite 303
                Middletown, NJ 07748
                Ravi Chivukula                                                                            From Unknown          To 9-10/2017
                111 Round Hill Dr.
                Freehold, NJ 07728
                Sotirios “Sam” Zaharis                                                                    From Unknown          To 9-10/2017
                1304 Plaza Drive
                Woodbridge, NJ 07095
                To, Truc N                                                                                From 5/2017           To 3/2018
                One Arin Park
                1715 Route 35 North
                Suite 301
                Middletown, NJ 07748
                Wildermuth, Corinna M                                                                     From 11/2017          To 4/2018
                One Arin Park
                1715 Route 35 North
                Suite 301
                Middletown, NJ 07748

     26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.
              ¨ None

                Name and address                                                                          Dates of service

                Briggs & Veselka                                                                          From 01/2016           To 12/2016
                9 Greenway Plaza
                Suite 1700
                Houston, TX 07704
                RRBB Accountants and Advisors                                                             From 01/2014           To 12/2015
                265 Davidson Avenue
                Suite 210
                Somerset, NJ 08873
                Sessler Macklin LLP                                                                       From 01/2016           To 12/2016
                David Macklin
                228 East 45th St.
                10th Floor
                New York, NY 10017

     26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
              ¨ None

                Name and address                                                                          If any books of account and records are
                                                                                                          unavailable, explain why
                Dolan, Rachelle
                One Arin Park
                1715 Route 35 North
                Suite 303
                Middletown, NJ 07748
                To, Truc N
                One Arin Park
                1715 Route 35 North
                Suite 301
                Middletown, NJ 07748
                Wildermuth, Corinna M
                One Arin Park
                1715 Route 35 North
                Suite 301
                Middletown, NJ 07748

     26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.
              ¨ None
              See Global Notes




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          (Name)


 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     þ None

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
     ¨ None

          Name                                Address                                               Position and nature of any       % of interest, if any
                                                                                                    interest
          Arvind Waila                        27 Kettlepond Rd                                      CEO
                                              Jericho, NY 11753
          Chinh Chu                           One Arin Park                                         Director
                                              1715 Route 35 North
                                              Suite 303
                                              Middletown, NJ 07748
          Douglas Newton                      555 Madison Avenue                                    Director
                                              26th Floor
                                              New York, NY 10022
          Robert J. Rosenberg                 125 E 61st Street                                     Director
                                              New York, NY 10065
          Timothy J. Dragelin                 One Arin Park                                         CRO
                                              1715 Route 35 North
                                              Suite 303
                                              Middletown, NJ 07748

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
     control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     ¨ None

         Name                               Address                                       Position and nature of       Period during which position or
                                                                                          any interest                 interest was held
         Eric Feldstein                     61 East 86th St                               Board Member                 From 2017          To 2018
                                            Apt 54
                                            New York, NY 10028
         James Quella                       9 Sharon Mountain Rd                          Board Member                 From 2017          To 11/2017
                                            Sharon, CT 06069
         Joseph A. Seale                    1207 Rosine St                                Officer                      From Unknown       To Unknown
                                            Houston, TX 77019
         Mark L. Shwartz                    509 East 2nd Street                           Officer                      From 10/2017       To 10/2017
                                            Suite #4
                                            Boston, MA 02127
         Parth Mehrotra                     180 Broad St                                  Board Member                 From 01/2017       To 01/2018
                                            Apt 1405
                                            Stamford, CT 07901
         Paul Parmar                        19 Colts Gait Lane                            CEO                          From Unknown       To 9/2017
                                            Colts Neck, NJ 07722
         Pav Bakshi                                                                       Board Member                 From Unknown       To 9/2017
         Ravi Chivukula                     111 Round Hill Dr.                            Controller                   From 9/2017        To 10/2017
                                            Freehold, NJ 07728
         Sotirios “Sam” Zaharis             1304 Plaza Drive                              CFO                          From 9/2017        To 10/2017
                                            Woodbridge, NJ 07095
         Truc To                            One Arin Park                                 CFO                          From 5/2017        To 3/2018
                                            1715 Route 35 North
                                            Suite 303
                                            Middletown, NJ 07748

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     ¨ None

          Name and address of recipient                                Amount of money or                  Dates                   Reason for providing
                                                                       description and value of                                    the value
                                                                       property




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          Name and address of recipient                            Amount of money or                 Dates              Reason for providing
                                                                   description and value of                              the value
                                                                   property

         Chinh Chu                                                 $21,250.00                         6/15/2017          Payment for service
         555 Madison Avenue
         26th Floor
         New York, NY 10022

         Elizabeth Kelly / Premier Network Managment, LLC          $7,500,000.00                      3/10/2017          NYNM acquisition
         125 Annfield Ct.                                                                                                payment
         Staten Island, NY 10,304

         Elizabeth Kelly / Premier Network Managment, LLC          $375,000.00                        3/10/2017          NYNM acquisition
         125 Annfield Ct.                                                                                                payment
         Staten Island, NY 10,304

         Elizabeth Kelly / Premier Network Managment, LLC          $15,589,500.00                     3/10/2017          NYNM acquisition
         125 Annfield Ct.                                                                                                payment
         Staten Island, NY 10,304

         Kriss & Feuerstein LLP                                    $1,623,600.00                      7/13/2017          Withdrawal / transfer
         19 Colts Gait Lane                                                                                              from Wells Fargo
         Colts Neck, NJ 07722                                                                                            IOLA

         Mark L. Shwartz                                           $26,449.67                         12/22/2017         Payment for service
         509 East 2nd Street
         Suite #4
         Boston, MA 02127

         Niknim Management Inc.                                    $1,500,000.00                      6/23/2017          Withdrawal / transfer
         27 Kettlepond Rd                                                                                                from Wells Fargo
         Jericho, NY 11753                                                                                               IOLA

         Niknim Management Inc.                                    $20,000.00                         6/28/2017          Withdrawal / transfer
         27 Kettlepond Rd                                                                                                from Wells Fargo
         Jericho, NY 11753                                                                                               IOLA

         Parth Mehrotra                                            $273.00                            12/15/2017         Payment for service
         180 Broad St
         Apt 1405
         Stamford, CT 07901

         Paul Parmar                                               $43.27                             5/3/2017           Bill - Township of
         19 Colts Gait Lane                                                                                              Colts Neck: Property
         Colts Neck, NJ 07722                                                                                            taxes Colts Gait
                                                                                                                         Block 7 Lot 4.13
                                                                                                                         QFarm

         Paul Parmar                                               $70.97                             5/3/2017           Bill - Township of
         19 Colts Gait Lane                                                                                              Colts Neck: Colts
         Colts Neck, NJ 07722                                                                                            Gait property taxes
                                                                                                                         Block 7 Lot 4.14
                                                                                                                         QFarm

         Paul Parmar                                               $34,609.18                         5/3/2017           Bill - Township of
         19 Colts Gait Lane                                                                                              Colts Neck: Acct
         Colts Neck, NJ 07722                                                                                            3898 Block 7 Lot 4.14
                                                                                                                         Colts Gait

         Paul Parmar                                               $162.74                            6/15/2017          Bill - Jersey Central
         19 Colts Gait Lane                                                                                              Power & Light: Corp-
         Colts Neck, NJ 07722                                                                                            100 048 534 562
                                                                                                                         052017 Colts Neck

         Paul Parmar                                               $1,447.94                          6/15/2017          Bill - Jersey Central
         19 Colts Gait Lane                                                                                              Power & Light: Corp-
         Colts Neck, NJ 07722                                                                                            100 048 534 562
                                                                                                                         062017 Colts Neck




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          Name and address of recipient                            Amount of money or                 Dates              Reason for providing
                                                                   description and value of                              the value
                                                                   property

         Paul Parmar                                               $45.18                             8/2/2017           Bill - Township of
         19 Colts Gait Lane                                                                                              Colts Neck: Property
         Colts Neck, NJ 07722                                                                                            taxes Colts Gait
                                                                                                                         Block 7 Lot 4.13
                                                                                                                         QFarm

         Paul Parmar                                               $74.09                             8/2/2017           Bill - Township of
         19 Colts Gait Lane                                                                                              Colts Neck: Colts
         Colts Neck, NJ 07722                                                                                            Gait property taxes
                                                                                                                         Block 7 Lot 4.14
                                                                                                                         QFarm

         Paul Parmar                                               $35,808.52                         8/2/2017           Bill - Township of
         19 Colts Gait Lane                                                                                              Colts Neck: Acct
         Colts Neck, NJ 07722                                                                                            3898 Block 7 Lot 4.14
                                                                                                                         Colts Gait

         Paul Parmar                                               $4,334.97                          9/15/2017          Bill - Jersey Central
         19 Colts Gait Lane                                                                                              Power & Light: Corp-
         Colts Neck, NJ 07722                                                                                            100 048 534 562
                                                                                                                         062017 Colts Neck
                                                                                                                         091517

         Paul Parmar                                               $4,267.64                          9/19/2017          Bill - Jersey Central
         19 Colts Gait Lane                                                                                              Power & Light: PP Bill
         Colts Neck, NJ 07722                                                                                            Colts Gait

         Paul Parmar                                               $429,868.61                        6/28/2016 -        Potentially
         19 Colts Gait Lane                                                                           9/20/2017          non-business related
         Colts Neck, NJ 07722                                                                                            AmEx charges paid
                                                                                                                         on behalf of
                                                                                                                         Transferree

         Ravi Chivukula                                            $460.14                            4/5/2017           Payment for service
         111 Round Hill Dr.
         Freehold, NJ 07728

         Reel Life Production PVT LTD                              $150,000.00                        4/18/2017          Withdrawal / transfer
         19 Colts Gait Lane                                                                                              from Wells Fargo
         Colts Neck, NJ 07722                                                                                            IOLA

         Robert J. Rosenberg                                       $30,000.00                         2/28/2018          Payment for service
         125 E 61st Street
         New York, NY 10065

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     þ None

 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     þ None




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 Part 14: Signature and Declaration

         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
         by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.

         I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the
         information is true and correct.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on May 15, 2018.




         û     /s/ Daniel S. Jones                                                    Daniel S. Jones
            Signature of individual signing on behalf of the debtor                   Printed Name

              Interim Chief Financial Officer
              Position or relationship to debtor




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         ¨ No
         þ Yes




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                          Statement of Financial Affairs - Exhibit 3
                             Orion Healthcorp, Inc. 18-71748




                                      Check             Check
Claimant                              Date             Amount          Reasons for Payment

ADP TOTALSOURCE                     12/15/2017         $19,379.73      BENEFITS
ATTN JAMES BLUE                     12/15/2017         $33,627.26      NET COMPENSATION
13141 NORTHWEST FREEWAY
                                    12/15/2017          $1,366.86      401K
HOUSTON, TX 77040
                                    12/15/2017          $8,296.16      BENEFITS
                                    12/15/2017          $6,155.19      NET COMPENSATION
                                    12/15/2017         $13,125.74      BENEFITS
                                    12/15/2017          $2,480.88      401K
                                    12/15/2017         $74,927.97      NET COMPENSATION
                                    12/15/2017        $114,082.27      NET COMPENSATION
                                    12/15/2017          $1,681.25      401K
                                    12/15/2017          $5,366.43      BENEFITS
                                    12/15/2017          $8,281.45      BENEFITS
                                    12/15/2017          $7,771.79      BENEFITS
                                    12/15/2017         $22,190.70      BENEFITS
                                    12/15/2017        $121,463.13      NET COMPENSATION
                                    12/15/2017           $652.90       BENEFITS
                                    12/15/2017         $15,979.73      BENEFITS
                                    12/15/2017          $4,501.81      401K
                                    12/15/2017           $102.00       401K
                                    12/15/2017         $45,432.53      NET COMPENSATION
                                    12/15/2017           $816.15       401K
                                    12/15/2017          $4,115.28      401K
                                    12/15/2017         $87,517.22      NET COMPENSATION
                                    12/15/2017         $27,650.95      BENEFITS
                                    12/21/2017         $47,253.42      NET COMPENSATION
                                    12/21/2017          $2,106.99      401K
                                    12/21/2017          $6,008.20      401K
                                    12/21/2017         $83,076.42      NET COMPENSATION
                                    12/21/2017         $52,766.87      NET COMPENSATION
                                    12/21/2017           $973.59       401K
                                    12/29/2017          $1,680.08      401K
                                    12/29/2017           $795.86       401K
                                    12/29/2017          $3,707.88      401K
                                    12/29/2017         $47,095.81      NET COMPENSATION
                                    12/29/2017           $102.87       401K
                                    12/29/2017          $1,361.10      401K
                                    12/29/2017         $70,236.49      NET COMPENSATION
                                    12/29/2017          $4,545.08      401K
                                    12/29/2017          $6,152.34      NET COMPENSATION
                                    12/29/2017        $113,507.15      NET COMPENSATION
                                    12/29/2017         $68,700.24      NET COMPENSATION
                                    12/29/2017          $2,480.32      401K
                                    12/29/2017         $89,097.55      NET COMPENSATION
                                    12/29/2017         $32,735.07      NET COMPENSATION
                                    01/05/2018          $6,742.46      401K
                                    01/05/2018          $2,558.67      401K
                                    01/05/2018         $49,138.91      NET COMPENSATION
                                    01/05/2018         $89,339.47      NET COMPENSATION
                                    01/05/2018          $1,243.03      401K


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                           Orion Healthcorp, Inc. 18-71748




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Claimant                            Date             Amount          Reasons for Payment

                                  01/05/2018         $53,347.09      NET COMPENSATION
                                  01/10/2018           $719.85       BENEFITS
                                  01/10/2018           $147.00       BENEFITS
                                  01/10/2018           $315.54       BENEFITS
                                  01/10/2018           $144.12       BENEFITS
                                  01/10/2018           $272.71       BENEFITS
                                  01/10/2018           $625.21       BENEFITS
                                  01/10/2018           $192.47       BENEFITS
                                  01/10/2018           $197.04       BENEFITS
                                  01/10/2018           $199.23       BENEFITS
                                  01/10/2018           $233.46       BENEFITS
                                  01/10/2018           $204.00       BENEFITS
                                  01/10/2018           $301.65       BENEFITS
                                  01/10/2018           $210.35       BENEFITS
                                  01/10/2018         $13,042.00      BENEFITS
                                  01/10/2018           $250.12       BENEFITS
                                  01/10/2018           $221.12       BENEFITS
                                  01/10/2018              $6.46      BENEFITS
                                  01/10/2018          $1,556.04      BENEFITS
                                  01/10/2018         $15,447.00      BENEFITS
                                  01/10/2018           $408.00       BENEFITS
                                  01/10/2018           $690.03       BENEFITS
                                  01/10/2018            $93.19       BENEFITS
                                  01/10/2018           $277.32       BENEFITS
                                  01/10/2018         $21,214.00      BENEFITS
                                  01/10/2018           $116.23       BENEFITS
                                  01/10/2018           $364.02       BENEFITS
                                  01/10/2018            $99.66       BENEFITS
                                  01/10/2018           $918.00       BENEFITS
                                  01/10/2018           $358.99       BENEFITS
                                  01/10/2018          $1,498.05      BENEFITS
                                  01/10/2018           $327.48       BENEFITS
                                  01/10/2018           $357.00       BENEFITS
                                  01/10/2018           $306.00       BENEFITS
                                  01/10/2018           $603.55       BENEFITS
                                  01/10/2018           $255.00       BENEFITS
                                  01/10/2018           $171.58       BENEFITS
                                  01/10/2018           $257.37       BENEFITS
                                  01/10/2018           $545.55       BENEFITS
                                  01/10/2018           $549.00       BENEFITS
                                  01/10/2018           $371.85       BENEFITS
                                  01/10/2018           $414.45       BENEFITS
                                  01/10/2018            $94.08       BENEFITS
                                  01/10/2018         $18,884.00      BENEFITS
                                  01/10/2018          $6,680.00      BENEFITS
                                  01/10/2018          $4,364.00      BENEFITS
                                  01/10/2018          $6,166.00      BENEFITS
                                  01/10/2018              $8.76      BENEFITS
                                  01/10/2018          $1,161.61      BENEFITS


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Claimant                            Date             Amount          Reasons for Payment

                                  01/10/2018          $1,369.77      BENEFITS
                                  01/10/2018           $401.46       BENEFITS
                                  01/10/2018           $714.00       BENEFITS
                                  01/10/2018             $81.18      BENEFITS
                                  01/10/2018           $104.18       BENEFITS
                                  01/10/2018          $1,071.00      BENEFITS
                                  01/10/2018             $83.01      BENEFITS
                                  01/10/2018          $1,020.00      BENEFITS
                                  01/10/2018             $29.00      BENEFITS
                                  01/10/2018          $1,626.07      BENEFITS
                                  01/10/2018             $37.96      BENEFITS
                                  01/10/2018           $510.00       BENEFITS
                                  01/10/2018          $7,001.00      BENEFITS
                                  01/10/2018             $21.48      BENEFITS
                                  01/10/2018          $9,642.00      BENEFITS
                                  01/10/2018           $385.41       BENEFITS
                                  01/10/2018          $3,003.00      BENEFITS
                                  01/12/2018          $3,733.00      401K
                                  01/12/2018           $102.86       401K
                                  01/12/2018          $1,389.40      401K
                                  01/12/2018          $1,607.62      401K
                                  01/12/2018         $74,865.22      NET COMPENSATION
                                  01/12/2018           $810.68       401K
                                  01/12/2018         $35,799.30      NET COMPENSATION
                                  01/12/2018              $0.00      NET COMPENSATION
                                  01/12/2018          $4,613.82      401K
                                  01/12/2018          $3,592.17      401K
                                  01/12/2018        $112,605.38      NET COMPENSATION
                                  01/12/2018          $6,484.57      NET COMPENSATION
                                  01/12/2018              $0.00      401K
                                  01/12/2018         $68,644.87      NET COMPENSATION
                                  01/12/2018         $95,332.23      NET COMPENSATION
                                  01/12/2018         $46,960.89      NET COMPENSATION
                                  01/19/2018           $997.42       401K
                                  01/19/2018         $48,554.96      NET COMPENSATION
                                  01/19/2018          $5,898.11      401K
                                  01/19/2018          $2,516.49      401K
                                  01/19/2018         $86,869.09      NET COMPENSATION
                                  01/19/2018         $47,557.31      NET COMPENSATION
                                  01/22/2018          $2,040.56      NET COMPENSATION
                                  01/22/2018          $4,742.79      401K
                                  01/22/2018          $1,663.38      401K
                                  01/22/2018          $3,505.38      401K
                                  01/22/2018          $1,527.44      NET COMPENSATION
                                  01/22/2018          $1,370.92      401K
                                  01/22/2018          $3,792.41      401K
                                  01/22/2018         $68,564.12      NET COMPENSATION
                                  01/22/2018         $46,648.72      NET COMPENSATION
                                  01/22/2018             $68.28      401K


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Claimant                            Date             Amount          Reasons for Payment

                                  01/22/2018         $74,935.52      NET COMPENSATION
                                  01/22/2018        $112,385.15      NET COMPENSATION
                                  01/22/2018         $34,764.99      NET COMPENSATION
                                  01/22/2018           $807.59       401K
                                  01/22/2018        $105,502.34      NET COMPENSATION
                                  01/22/2018           $102.89       401K
                                  01/22/2018          $6,486.57      NET COMPENSATION
                                  02/02/2018          $3,228.76      NET COMPENSATION
                                  02/02/2018          $5,913.13      401K
                                  02/02/2018         $85,895.64      NET COMPENSATION
                                  02/02/2018          $2,347.61      NET COMPENSATION
                                  02/02/2018         $36,333.58      NET COMPENSATION
                                  02/02/2018         $55,056.40      NET COMPENSATION
                                  02/02/2018          $1,942.91      401K
                                  02/02/2018          $1,465.68      401K
                                  02/09/2018          $4,785.68      401K
                                  02/09/2018          $3,593.30      401K
                                  02/09/2018          $3,808.24      401K
                                  02/09/2018         $73,804.35      NET COMPENSATION
                                  02/09/2018         $43,722.80      NET COMPENSATION
                                  02/09/2018         $90,274.95      NET COMPENSATION
                                  02/09/2018          $1,691.02      401K
                                  02/09/2018           $797.25       401K
                                  02/09/2018         $69,538.69      NET COMPENSATION
                                  02/09/2018          $1,241.02      401K
                                  02/09/2018           $102.91       401K
                                  02/09/2018         $32,631.90      NET COMPENSATION
                                  02/09/2018          $6,780.02      NET COMPENSATION
                                  02/09/2018        $112,676.20      NET COMPENSATION
                                  02/12/2018             $37.76      BENEFITS
                                  02/12/2018          $1,498.05      BENEFITS
                                  02/12/2018             $93.20      BENEFITS
                                  02/12/2018          $2,181.00      BENEFITS
                                  02/12/2018          $4,364.00      BENEFITS
                                  02/12/2018         $13,859.00      BENEFITS
                                  02/12/2018             $21.48      BENEFITS
                                  02/12/2018             $37.96      BENEFITS
                                  02/12/2018         $12,554.00      BENEFITS
                                  02/12/2018          $6,131.00      BENEFITS
                                  02/12/2018          $1,122.00      BENEFITS
                                  02/12/2018          $6,135.00      BENEFITS
                                  02/12/2018         $18,884.00      BENEFITS
                                  02/12/2018          $1,161.61      BENEFITS
                                  02/12/2018              $6.46      BENEFITS
                                  02/12/2018             $70.08      BENEFITS
                                  02/12/2018          $5,678.00      BENEFITS
                                  02/12/2018             $90.14      BENEFITS
                                  02/12/2018             $80.27      BENEFITS
                                  02/12/2018          $1,563.30      BENEFITS


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Claimant                            Date             Amount          Reasons for Payment

                                  02/12/2018          $1,353.52      BENEFITS
                                  02/12/2018            $81.18       BENEFITS
                                  02/12/2018          $1,518.08      BENEFITS
                                  02/12/2018            $78.50       BENEFITS
                                  02/12/2018           $525.01       BENEFITS
                                  02/12/2018           $225.35       BENEFITS
                                  02/12/2018           $459.00       BENEFITS
                                  02/12/2018           $153.01       BENEFITS
                                  02/12/2018           $705.35       BENEFITS
                                  02/12/2018           $200.76       BENEFITS
                                  02/12/2018           $199.23       BENEFITS
                                  02/12/2018           $663.00       BENEFITS
                                  02/12/2018           $652.07       BENEFITS
                                  02/12/2018           $137.88       BENEFITS
                                  02/12/2018           $147.48       BENEFITS
                                  02/12/2018           $269.04       BENEFITS
                                  02/12/2018           $255.00       BENEFITS
                                  02/12/2018           $341.99       BENEFITS
                                  02/12/2018           $142.58       BENEFITS
                                  02/12/2018           $320.88       BENEFITS
                                  02/12/2018           $326.06       BENEFITS
                                  02/12/2018           $576.06       BENEFITS
                                  02/12/2018           $309.08       BENEFITS
                                  02/12/2018           $153.00       BENEFITS
                                  02/12/2018           $549.00       BENEFITS
                                  02/12/2018           $301.65       BENEFITS
                                  02/12/2018           $332.22       BENEFITS
                                  02/12/2018           $542.63       BENEFITS
                                  02/12/2018           $109.77       BENEFITS
                                  02/12/2018           $371.85       BENEFITS
                                  02/12/2018         $19,854.00      BENEFITS
                                  02/12/2018           $233.46       BENEFITS
                                  02/12/2018          $1,428.00      BENEFITS
                                  02/12/2018           $969.00       BENEFITS
                                  02/12/2018           $357.00       BENEFITS
                                  02/12/2018          $9,642.00      BENEFITS
                                  02/12/2018           $357.00       BENEFITS
                                  02/12/2018           $867.00       BENEFITS
                                  02/12/2018           $218.10       BENEFITS
                                  02/12/2018           $414.45       BENEFITS
                                  02/12/2018           $253.51       BENEFITS
                                  02/12/2018           $369.44       BENEFITS
                                  02/12/2018           $171.58       BENEFITS
                                  02/12/2018           $210.35       BENEFITS
                                  02/16/2018         $50,340.32      NET COMPENSATION
                                  02/16/2018         $87,891.51      NET COMPENSATION
                                  02/16/2018         $37,368.08      NET COMPENSATION
                                  02/16/2018          $1,012.27      401K
                                  02/16/2018          $5,995.50      401K


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Claimant                               Date             Amount          Reasons for Payment

                                     02/16/2018          $1,960.03      401K
                                     03/02/2018         $31,901.65      NET COMPENSATION
                                     03/02/2018          $1,119.58      401K
                                     03/02/2018          $6,199.39      401K
                                     03/02/2018          $1,948.75      401K
                                     03/02/2018         $42,265.72      NET COMPENSATION
                                     03/02/2018         $82,931.29      NET COMPENSATION
                                     03/09/2018              $0.00      NET COMPENSATION
                                     03/09/2018           $790.11       401K
                                     03/09/2018             $85.87      401K
                                     03/09/2018              $0.00      401K
                                     03/09/2018         $71,529.83      NET COMPENSATION
                                     03/09/2018          $3,690.26      401K
                                     03/09/2018        $115,262.46      NET COMPENSATION
                                     03/09/2018          $1,234.19      401K
                                     03/09/2018         $31,295.00      NET COMPENSATION
                                     03/09/2018         $71,507.47      NET COMPENSATION
                                     03/09/2018          $4,954.14      401K
                                     03/09/2018          $1,773.91      401K
                                     03/09/2018         $84,527.84      NET COMPENSATION
                                     03/09/2018         $43,723.76      NET COMPENSATION
                                     03/09/2018          $3,603.07      401K
                                     03/09/2018          $5,352.42      NET COMPENSATION
                                     03/16/2018          $7,579.73      BENEFITS
                                     03/16/2018         $83,220.68      NET COMPENSATION
                                     03/16/2018         $14,232.03      BENEFITS
                                     03/16/2018          $7,195.13      BENEFITS
                                     03/16/2018         $22,890.97      BENEFITS
                                     03/16/2018         $23,156.22      BENEFITS
                                     03/16/2018         $30,335.37      NET COMPENSATION
                                     03/16/2018          $6,311.86      401K
                                     03/16/2018           $633.24       BENEFITS
                                     03/16/2018         $12,474.02      BENEFITS
                                     03/16/2018          $7,160.52      BENEFITS
                                     03/16/2018         $17,558.45      BENEFITS
                                     03/16/2018          $1,969.31      401K
                                                     $4,496,030.86
BOYNTON & BOYNTON AGENCY             01/04/2018          $5,609.10      AP PAYMENTS
21 CEDAR AVENUE                      01/05/2018          $3,444.00      AP PAYMENTS
FAIR HAVEN, NJ 07704
                                     02/02/2018         $57,272.73      AP PAYMENTS
                                     02/02/2018         $62,045.45      AP PAYMENTS
                                     02/02/2018          $5,727.27      AP PAYMENTS
                                     02/02/2018          $6,204.55      AP PAYMENTS
                                     02/05/2018          $7,125.83      AP PAYMENTS
                                     02/05/2018         $78,384.17      AP PAYMENTS
                                                       $225,813.10




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Claimant                                   Date             Amount          Reasons for Payment

BRIGGS AND VESELKA CO.                   01/26/2018          $3,150.00      AP PAYMENTS
9 GREENWAY PLAZA                         02/23/2018          $7,350.00      AP PAYMENTS
SUITE 1700
HOUSTON, TX 77046                                           $10,500.00
CHILDREN'S MEDICAL CENTER                03/15/2018        $103,533.18      IPS PHYSICIAN PAYMENTS
331 NORTH BREIEL BLVD.
MIDDLETOWN, OH 45042                                       $103,533.18

COOPER'S COMMUNICATIONS, LLC             01/05/2018          $3,000.00      AP PAYMENTS
113 TAXIWAY AVENUE                       01/18/2018          $3,000.00      AP PAYMENTS
EASLEY, SC 29640
                                         02/06/2018          $3,000.00      AP PAYMENTS
                                         03/09/2018          $3,000.00      AP PAYMENTS
                                                            $12,000.00
CYRUSONE-122496                          12/15/2017          $1,570.57      AP PAYMENTS
LOCKBOX 773581                           12/15/2017          $1,570.57      AP PAYMENTS
3581 SOLUTIONS CENTER
                                         01/18/2018          $1,570.57      AP PAYMENTS
CHICAGO, IL 60677-3005
                                         01/18/2018          $1,570.57      AP PAYMENTS
                                         02/06/2018          $1,570.57      AP PAYMENTS
                                         02/23/2018          $1,570.57      AP PAYMENTS
                                                             $9,423.42
GORDON & REES LLP                        12/15/2017         $22,359.50      INSURANCE-RELATED
1111 BROADWAY SUITE 1700                 12/15/2017         $10,825.00      INSURANCE-RELATED
OAKLAND, CA 94607
                                         12/15/2017         $25,805.65      INSURANCE-RELATED
                                                            $58,990.15
INTACCT CORPORATION                      01/26/2018          $7,185.02      AP PAYMENTS
DEPT 3237                                01/26/2018          $3,592.50      AP PAYMENTS
PO BOX 123237
                                         01/26/2018          $2,708.71      AP PAYMENTS
DALLAS, TX 75312-3237
                                         01/26/2018          $3,693.69      AP PAYMENTS
                                                            $17,179.92
J P MORGAN CHASE                         12/29/2017             $18.00      AP PAYMENTS
ATTN: BARBARA HERNANDEZ                  01/16/2018          $5,252.81      AP PAYMENTS
712 MAIN STREET
                                         02/15/2018          $7,941.31      AP PAYMENTS
HOUSTON, TX 77002-3201
                                                            $13,212.12
JHD HEALTHCARE PARTNERS                  02/06/2018          $7,500.00      AP PAYMENTS
5057 KELLER SPRINGS ROAD
SUITE 300                                                    $7,500.00
ADDISON, TX 75001
LETOURNEAU INTERESTS INC.                01/18/2018          $6,690.00      RENT
                                         02/06/2018          $6,689.70      RENT
                                                            $13,379.70
MARK L. SHWARTZ                          12/22/2017          $1,449.67      AP PAYMENTS
                                         12/22/2017         $25,000.00      AP PAYMENTS
                                                            $26,449.67




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Claimant                                      Date             Amount          Reasons for Payment

MERCK SHARP & DOHME CORP.- 5254             12/15/2017           $112.26       AP PAYMENTS
PO BOX 5254                                 12/15/2017           $447.52       AP PAYMENTS
CAROL STREAM, IL 60197-5254
                                            12/15/2017           $340.46       AP PAYMENTS
                                            01/18/2018           $194.53       AP PAYMENTS
                                            01/18/2018           $136.18       AP PAYMENTS
                                            01/18/2018           $170.23       AP PAYMENTS
                                            01/18/2018           $148.49       AP PAYMENTS
                                            01/18/2018             $27.01      AP PAYMENTS
                                            01/18/2018           $306.42       AP PAYMENTS
                                            01/18/2018           $309.25       AP PAYMENTS
                                            01/18/2018           $272.37       AP PAYMENTS
                                            01/18/2018           $159.18       AP PAYMENTS
                                            01/18/2018           $517.40       AP PAYMENTS
                                            01/18/2018           $515.05       AP PAYMENTS
                                            02/06/2018           $170.23       AP PAYMENTS
                                            02/06/2018           $547.81       AP PAYMENTS
                                            02/16/2018           $305.44       AP PAYMENTS
                                            02/16/2018             $46.37      AP PAYMENTS
                                            02/16/2018           $107.08       AP PAYMENTS
                                            02/16/2018           $204.28       AP PAYMENTS
                                            02/16/2018           $182.54       AP PAYMENTS
                                            02/16/2018           $144.36       AP PAYMENTS
                                            02/23/2018           $147.14       AP PAYMENTS
                                            03/02/2018           $229.58       AP PAYMENTS
                                            03/02/2018           $330.90       AP PAYMENTS
                                            03/02/2018           $144.36       AP PAYMENTS
                                            03/02/2018           $346.62       AP PAYMENTS
                                            03/02/2018             $75.77      AP PAYMENTS
                                            03/09/2018             $95.22      AP PAYMENTS
                                            03/09/2018             $97.75      AP PAYMENTS
                                                                $6,831.80
PEDIATRIC ASSOCIATES OF DAYTON              03/15/2018        $378,983.77      IPS PHYSICIAN PAYMENTS
9000 N MAIN STREET
DAYTON, OH 45415                                              $378,983.77

PEDIATRIC GROUP ASSOCIATES                  03/15/2018        $156,814.75      IPS PHYSICIAN PAYMENTS
465 AVENUE OF THE CITIES
STE. 120                                                      $156,814.75
EAST MOLINE, IL 61244
PORTECK INDIA INFORSERVICES PVT LTD         02/06/2018        $324,347.00      PORTECK INDIA FUNDING
D179 SECTOR 63
NOIDA, UTTAR PRADESH 201307                                   $324,347.00

ROBERT J. ROSENBERG                         02/28/2018         $30,000.00      BOARD OF DIRECTORS FEES
125 E 61ST STREET
NEW YORK, NY 10065                                             $30,000.00




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                                  Statement of Financial Affairs - Exhibit 3
                                     Orion Healthcorp, Inc. 18-71748




                                              Check             Check
Claimant                                      Date             Amount          Reasons for Payment

SANOFI PASTEUR INC.                         12/26/2017           $405.35       AP PAYMENTS
ATTN JERRY MESSINA                          01/05/2018           $348.98       AP PAYMENTS
CONTRACT ADMINISTRATION - 60D17
                                            01/05/2018            $32.98       AP PAYMENTS
DISCOVERY DRIVE
SWIFTWATER, PA 18370                        01/05/2018            $90.86       AP PAYMENTS
                                            01/05/2018            $33.32       AP PAYMENTS
                                            01/05/2018           $162.23       AP PAYMENTS
                                            01/05/2018            $33.32       AP PAYMENTS
                                            01/05/2018            $98.95       AP PAYMENTS
                                            01/05/2018            $32.98       AP PAYMENTS
                                            01/05/2018            $29.77       AP PAYMENTS
                                            01/05/2018            $53.51       AP PAYMENTS
                                            01/05/2018            $29.94       AP PAYMENTS
                                            01/05/2018            $36.35       AP PAYMENTS
                                            01/05/2018            $76.52       AP PAYMENTS
                                            01/05/2018            $21.90       AP PAYMENTS
                                            01/05/2018            $96.02       AP PAYMENTS
                                            01/05/2018           $226.53       AP PAYMENTS
                                            01/05/2018            $58.27       AP PAYMENTS
                                            01/05/2018           $100.74       AP PAYMENTS
                                            01/05/2018            $36.03       AP PAYMENTS
                                            01/05/2018             $2.73       AP PAYMENTS
                                            01/19/2018            $46.02       AP PAYMENTS
                                            01/19/2018            $23.01       AP PAYMENTS
                                            01/19/2018            $27.61       AP PAYMENTS
                                            01/19/2018            $32.21       AP PAYMENTS
                                            01/26/2018           $630.96       AP PAYMENTS
                                            01/26/2018            $37.04       AP PAYMENTS
                                            01/26/2018            $33.63       AP PAYMENTS
                                            01/26/2018            $46.02       AP PAYMENTS
                                            01/26/2018           $346.16       AP PAYMENTS
                                            01/26/2018           $391.55       AP PAYMENTS
                                            01/26/2018           $305.28       AP PAYMENTS
                                            01/26/2018            $35.98       AP PAYMENTS
                                            01/26/2018           $294.77       AP PAYMENTS
                                            01/26/2018             $9.20       AP PAYMENTS
                                            01/26/2018           $355.68       AP PAYMENTS
                                            02/06/2018          $1,094.27      AP PAYMENTS
                                            02/06/2018           $443.22       AP PAYMENTS
                                            02/06/2018           $290.69       AP PAYMENTS
                                            02/06/2018          $1,816.94      AP PAYMENTS
                                            02/16/2018            $52.39       AP PAYMENTS
                                            02/16/2018             $2.71       AP PAYMENTS
                                            02/16/2018            $25.72       AP PAYMENTS
                                            02/16/2018            $27.61       AP PAYMENTS
                                            02/16/2018            $83.11       AP PAYMENTS
                                            02/16/2018           $146.23       AP PAYMENTS
                                            02/16/2018            $21.67       AP PAYMENTS
                                            02/16/2018            $21.67       AP PAYMENTS
                                            02/16/2018           $115.30       AP PAYMENTS


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                                  Statement of Financial Affairs - Exhibit 3
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                                              Check             Check
Claimant                                      Date             Amount          Reasons for Payment

                                            02/16/2018            $11.32       AP PAYMENTS
                                            02/16/2018           $124.06       AP PAYMENTS
                                            02/16/2018            $77.58       AP PAYMENTS
                                            02/16/2018           $297.57       AP PAYMENTS
                                            02/16/2018            $86.87       AP PAYMENTS
                                            02/16/2018            $18.41       AP PAYMENTS
                                            02/16/2018           $257.41       AP PAYMENTS
                                            02/16/2018            $55.03       AP PAYMENTS
                                            02/16/2018            $35.98       AP PAYMENTS
                                            02/16/2018            $35.98       AP PAYMENTS
                                            02/16/2018            $35.98       AP PAYMENTS
                                            02/16/2018            $65.01       AP PAYMENTS
                                            02/16/2018            $21.67       AP PAYMENTS
                                            02/16/2018           $409.96       AP PAYMENTS
                                            02/23/2018            $27.61       AP PAYMENTS
                                            02/23/2018            $47.18       AP PAYMENTS
                                            02/23/2018           $180.63       AP PAYMENTS
                                            02/23/2018            $47.18       AP PAYMENTS
                                            03/02/2018           $159.53       AP PAYMENTS
                                            03/02/2018            $68.88       AP PAYMENTS
                                            03/02/2018           $180.51       AP PAYMENTS
                                            03/02/2018            $22.96       AP PAYMENTS
                                            03/02/2018           $382.35       AP PAYMENTS
                                            03/02/2018            $38.10       AP PAYMENTS
                                            03/02/2018           $225.70       AP PAYMENTS
                                            03/02/2018           $114.31       AP PAYMENTS
                                            03/02/2018           $122.12       AP PAYMENTS
                                            03/09/2018            $23.01       AP PAYMENTS
                                            03/09/2018           $185.35       AP PAYMENTS
                                            03/09/2018            $23.01       AP PAYMENTS
                                            03/09/2018            $15.73       AP PAYMENTS
                                            03/09/2018            $81.51       AP PAYMENTS
                                            03/09/2018            $45.92       AP PAYMENTS
                                            03/09/2018            $31.45       AP PAYMENTS
                                            03/09/2018            $44.03       AP PAYMENTS
                                            03/09/2018            $75.48       AP PAYMENTS
                                            03/09/2018            $47.53       AP PAYMENTS
                                            03/09/2018           $280.93       AP PAYMENTS
                                            03/09/2018            $36.99       AP PAYMENTS
                                            03/09/2018           $236.23       AP PAYMENTS
                                            03/09/2018            $32.21       AP PAYMENTS
                                            03/09/2018            $37.74       AP PAYMENTS
                                            03/09/2018            $22.96       AP PAYMENTS
                                                               $13,133.90
SESSLER MACKLIN LLP                         02/07/2018          $8,750.00      AP PAYMENTS
ATTN DAVID MACKLIN                          03/05/2018          $6,900.00      AP PAYMENTS
228 EAST 45TH STREET 10TH FLOOR
NEW YORK, NY 10017                                             $15,650.00




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                                     Orion Healthcorp, Inc. 18-71748




                                            Check             Check
Claimant                                    Date             Amount          Reasons for Payment

TRUC N. TO LLC.                            12/15/2017        $17,500.00      MANAGEMENT FEES
6400 SPINNAKER LANE                        01/19/2018        $17,500.00      MANAGEMENT FEES
ALPHARETTA, GA 30005
                                           02/06/2018        $17,500.00      MANAGEMENT FEES
                                           03/02/2018        $17,500.00      MANAGEMENT FEES
                                                             $70,000.00
TW TELECOM -910182 (LEVEL3)                01/05/2018         $2,651.72      AP PAYMENTS
910182 LEVEL 3                             02/06/2018         $2,061.55      AP PAYMENTS
P.O. BOX 910182
                                           02/16/2018         $2,061.55      AP PAYMENTS
DENVER, CO 80291
                                           03/09/2018         $2,061.55      AP PAYMENTS
                                                              $8,836.37
VILES AND BECKMAN LLC                      01/26/2018         $8,500.00      OTHER LEGAL SETTLEMENTS
6350 PRESIDENTIAL CT                       02/13/2018         $8,500.00      OTHER LEGAL SETTLEMENTS
FORT MYERS, FL 33919
                                                             $17,000.00
VINCENT LOPEZ SERAFINO JENEVEIN PC         12/15/2017         $5,121.12      LEGAL FEES RELATED TO ONGOING
THANKSGIVING TOWER                                                           LITIGATION
1601 ELM ST STE 4100                       12/15/2017          $505.00       LEGAL FEES RELATED TO ONGOING
DALLAS, TX 75201                                                             LITIGATION
                                           12/15/2017         $1,125.00      LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           12/15/2017         $1,286.06      LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           12/15/2017          $327.50       LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           12/15/2017         $5,225.00      LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           12/15/2017           $37.50       LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           12/15/2017          $160.00       LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           12/15/2017          $637.50       LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           12/15/2017         $2,179.12      LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           12/15/2017         $1,387.65      LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           12/15/2017         $1,807.68      LEGAL FEES RELATED TO ONGOING
                                                                             LITIGATION
                                           01/19/2018          $150.00       AP PAYMENTS
                                           01/19/2018         $2,986.11      AP PAYMENTS
                                           01/19/2018          $750.00       AP PAYMENTS
                                                             $23,685.24

 Grand Total: 23                                         $6,039,294.95




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                                          Statement of Financial Affairs - Exhibit 4
                                               Orion Healthcorp, Inc. 1871748



Name                        Relationship to Debtor        Payment Date                  Amount      Description

KRISS & FEUERSTEIN LLP      RELATED TO PAUL                  7/13/2017           $1,623,600.00      Withdrawal / transfer from Wells Fargo
19 COLTS GAIT LANE          PARMAR                                                                  IOLA
COLTS NECK, NJ 07722
                                                                                 $1,623,600.00

NIKNIM MANAGEMENT INC.      ENTITY OWNED BY                  6/23/2017           $1,500,000.00      Withdrawal / transfer from Wells Fargo
27 KETTLEPOND RD            ARVIND WALIA, CTO AT                                                    IOLA
JERICHO, NY 11753           CONSTELLATION                    6/28/2017                 $20,000.00   Withdrawal / transfer from Wells Fargo
                            HEALTHCARE                                                              IOLA
                            TECHNOLOGIES
                                                                                 $1,520,000.00

PAUL PARMAR                 FORMER CEO                  3/16/2017 - 3/15/2018    $1,306,287.27      Potentially non-business related
19 COLTS GAIT LANE                                                                                  Corporate AmEx charges incurred by
COLTS NECK, NJ 07722                                                                                Insider
                                                              5/3/2017                 $34,609.18   Bill - Township of Colts Neck: Acct
                                                                                                    3898 Block 7 Lot 4.14 Colts Gait
                                                              5/3/2017                    $70.97    Bill - Township of Colts Neck: Colts
                                                                                                    Gait property taxes Block 7 Lot 4.14
                                                                                                    QFarm
                                                              5/3/2017                    $43.27    Bill - Township of Colts Neck: Property
                                                                                                    taxes Colts Gait Block 7 Lot 4.13 QFarm
                                                             6/15/2017                  $1,447.94   Bill - Jersey Central Power & Light:
                                                                                                    Corp- 100 048 534 562 062017 Colts
                                                                                                    Neck
                                                             6/15/2017                   $162.74    Bill - Jersey Central Power & Light:
                                                                                                    Corp- 100 048 534 562 052017 Colts
                                                                                                    Neck
                                                              8/2/2017                 $35,808.52   Bill - Township of Colts Neck: Acct
                                                                                                    3898 Block 7 Lot 4.14 Colts Gait
                                                              8/2/2017                    $74.09    Bill - Township of Colts Neck: Colts
                                                                                                    Gait property taxes Block 7 Lot 4.14
                                                                                                    QFarm
                                                              8/2/2017                    $45.18    Bill - Township of Colts Neck: Property
                                                                                                    taxes Colts Gait Block 7 Lot 4.13 QFarm
                                                             9/15/2017                  $4,334.97   Bill - Jersey Central Power & Light:
                                                                                                    Corp- 100 048 534 562 062017 Colts
                                                                                                    Neck 091517
                                                             9/19/2017                  $4,267.64   Bill - Jersey Central Power & Light: PP
                                                                                                    Bill Colts Gait
                                                                                 $1,387,151.77

REEL LIFE PRODUCTION PVT LTD RELATED TO PAUL                 4/18/2017             $150,000.00      Withdrawal / transfer from Wells Fargo
19 COLTS GAIT LANE           PARMAR                                                                 IOLA
COLTS NECK, NJ 07722
                                                                                   $150,000.00

 Grand Total: 4                                                                  $4,680,751.77




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 THOMPSON COBURN HAHN & HESSEN LLP
 488 Madison Avenue                                                                       [_____] 2021
                                                                      Objection Deadline: [_______],
                                                                                          September  22, 2022
                                                                                                          at [______]
                                                                                                               at 4:00 p.m.
 New York, NY 10022                                                   Hearing
                                                                      Presentment   [______]
                                                                              Date:Date:
                                                                                    [_______],
                                                                                         September
                                                                                               2021 23,
                                                                                                    at [______]
                                                                                                        2022 at 12:00 p.m.
 (212) 478-7200
 Mark T. Power, Esq.
 Joseph Orbach, Esq.

 Counsel to the Liquidating Trustee

 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------x
                           Chapter 11
  In re:                                                                  Chapter 11

  Orion HealthCorp, Inc., et al.,                                         Case No. 18-71748-67 (AST)
                                                                          Case No. 18-71789 (AST)
                                            Debtors.                      Case No. 18-74545 (AST)
  ----------------------------------------------------------------x
                                                                          Jointly Administered.


         NOTICE OF PRESENTMENT OF ORDER GRANTING LIQUIDATING
          TRUSTEE’S MOTION OBJECTING TO CLAIM NO. 240 FILED BY
                 CONSTELLATION HEALTH INVESTMENT, LLC

Claim at Issue: Claim No 240 Filed by Constellation Health Investment, LLC

    THE ATTACHED MOTION AND PROPOSED ORDER SEEK TO REDUCE,
    MODIFY DISALLOW AND/OR EXPUNGE CERTAIN FILED PROOF(S) OF
     CLAIM. CLAIMANT RECEIVING THIS NOTICE SHOULD REVIEW THE
    NOTICE AND THE ATTACHED TO DETERMINE IF THEIR CLAIM(S) ARE
                           AFFECTED.

         PLEASE TAKE NOTICE, that upon the annexed motion (the “Motion”) of Howard

M. Ehrenberg (the “Liquidating Trustee”) under that Liquidating Trust Agreement by and

among Orion HealthCorp, Inc., Constellation Healthcare Technologies, Inc., and certain of

their affiliates (collectively, the “Debtors” or “Debtor Entities”), the Liquidating Trustee, by

and through his undersigned attorneys of record, shall present for signature and approval to

the Honorable Alan S. Trust, Chief United States Bankruptcy Judge, presiding, on September

23, 2022, at 12:00 p.m. (prevailing Eastern Time), or as soon thereafter as the Motion may




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be heard, at the United States Bankruptcy Court for the Eastern District of New York, Alfonse

M. D’Amato U.S. Courthouse, 290 Federal Plaza, Central Islip, New York 11722 (the

“Court” or “Bankruptcy Court”), the proposed Order, pursuant to sections 105 and 502(b) of

title 11 of the United States Code (the “Bankruptcy Code”) and Rule 3007 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), disallowing and expunging Claim

No. 240 filed by Constellation Health Investment, LLC; and


       PLEASE TAKE FURTHER NOTICE that a response or objection (collectively, the

“Objection”) to the relief requested in the Motion or the proposed Order, if any, must conform

with the Bankruptcy Code and the Bankruptcy Rules, shall be in writing, shall be filed with

the Bankruptcy Court, shall set forth the nature of the objector’s interest in the Debtors’ estates

and the reasons and legal basis for the objection, and be served upon the Liquidating Trustee’s

counsel of record as follows: Thompson Coburn Hahn & Hessen LLP, Attn: Mark T. Power,

Esq., at the addresses listed on the first page of this Notice, no later than September 22, 2022

at 4:00 p.m. The Objection and proof of service shall be filed at least one (1) day prior to the

date set for the presentment of the proposed Order. If no Objection is timely served and filed,

the Bankruptcy Court may enter the proposed Order with no further notice or opportunity to

be heard; and


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      PLEASE TAKE FURTHER NOTICE, that if an Objection is timely filed to the

relief requested, or if the Court determines that a hearing is appropriate, the Court will

schedule a hearing. Notice of such a hearing will be provided by the applicant.


Dated: August 23, 2022
      New York, New York


                                         Respectfully submitted,


                                         By: /s/ Mark T. Power_______________

                                         THOMPSON COBURN HAHN &
                                         HESSEN LLP

                                         Mark T. Power, Esq.
                                         Joseph Orbach, Esq.
                                         488 Madison Avenue
                                         New York, NY 10022
                                         (212) 478-7200

                                         Counsel for Howard M. Ehrenberg, Liquidating Trustee




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 THOMPSON COBURN HAHN & HESSEN LLP
 488 Madison Avenue                                                                       September 2021
                                                                      Objection Deadline: [_______], 22, 2022  at 4:00 p.m.
                                                                                                          at [______]
 New York, NY 10022                                                   Presentment
                                                                      Hearing Date:Date: September
                                                                                    [_______], 2021 23, 2022 at 12:00 p.m.
                                                                                                    at [______]
 (212) 478-7200
 Mark T. Power, Esq.
 Joseph Orbach, Esq.

 Counsel to the Liquidation Trustee

 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------x
                           Chapter 11
  In re:                                                                  Chapter 11

  Orion HealthCorp, Inc., et al.,                                         Case No. 18-71748-67 (AST)
                                                                          Case No. 18-71789 (AST)
                                            Debtors.                      Case No. 18-74545 (AST)
  ----------------------------------------------------------------x
                                                                          Jointly Administered.


LIQUIDATING TRUSTEE’S MOTION OBJECTING TO CLAIM NO. 240 FILED BY
            CONSTELLATION HEALTH INVESTMENT, LLC


         Howard M. Ehrenberg (the “Liquidating Trustee”), in his capacity as the Liquidating

Trustee under that Liquidating Trust Agreement (the “Liquidating Trust”) by and among

Orion HealthCorp, Inc., Constellation Healthcare Technologies, Inc., and certain of their

affiliates (collectively, the “Debtors” or “Debtor Entities”), by and through his attorneys,

hereby submits the Liquidating Trustee’s Motion Objecting to Claim No. 240 Filed by Constellation

Health Investment, LLC (the “Claim Objection”), and respectfully requests the entry of an

order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”):

disallowing and expunging Claim No. 240 as a claim which (i) provided insufficient

documentation, (ii) any documentation that may be provided is unenforceable, (iii) was

misclassified as a general unsecured or secured claim, (iv) was inferior to the claims asserted




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of the Debtors, and (v) was late-filed. In support of the Claim Objection, the Liquidating

Trustee respectfully represents as follows:

                               JURISDICTION AND VENUE

         1.    The Court has jurisdiction over this Claim Objection pursuant to 28 U.S.C. §§

157 and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core

proceeding within the meaning of 28 U.S.C. § 157, and the Court may enter a final order

consistent with Article III of the United States Constitution. The Court also has jurisdiction

to hear this Claim Objection pursuant to Section 13 of the Debtors’ Third Amended Joint Plan

of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code, dated January 6, 2019 [ECF No.

645] (including all exhibits thereto and as the same may be further amended, modified, or

supplemented from time to time) (the “Plan”).

         2.    The statutory basis for the relief sought herein is sections 105(a) and 502(b) of

the Bankruptcy Code, as defined below, Rules 3003, 3007, and 9006 of the Federal Rules of

Bankruptcy Procedure, as amended or modified, (the “Bankruptcy Rules”), and Section 8.2

of the Plan.

                                       BACKGROUND

         3.    On March 16, 2018 (the “Petition Date”), each Debtor other than New York

Network Management, L.L.C. (the “Initial Debtors”) commenced a case (collectively, the

“Initial Chapter 11 Cases”) by filing a petition for relief under chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”) with the Bankruptcy Court for the Eastern

District of New York (the “Bankruptcy Court”).

         4.    On July 5, 2018, New York Network Management, L.L.C. commenced its

case (the “NYNM Case” and, collectively, with the Initial Chapter 11 Cases, the “Chapter




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11 Cases”) by filing a petition for relief under chapter 11 of the Bankruptcy Code with the

Bankruptcy Court, which Chapter 11 Cases are jointly administered under Case No. 18-

71748 (AST).

             5.     On February 26, 2019, the Honorable Alan S. Trust, Chief United States

Bankruptcy Judge for the Eastern District of New York, presiding, entered an order (the

“Confirmation Order”) [ECF No. 701] confirming the Plan.

             6.     The Plan provides, among other things, for the formation of the Liquidating

Trust and the appointment of the Liquidating Trustee on the Plan’s Effective Date (defined

below) to oversee distributions to holders of Allowed Claims1 and Allowed Interests and to

pursue retained Causes of Action of the Debtors’ Estates. The Plan further provides that

“any Holders’ Interest in the Debtors . . . will be cancelled as of the Effective Date.” Plan,

§4.1(g); see also Id., §3.3. On March 1, 2019, the Plan became effective (the “Effective

Date”).

             7.     The Plan provides that the Liquidating Trustee shall have the authority and

responsibility to, among other things, receive, manage, invest, supervise, and protect the

Liquidating Trust Assets, including all Causes of Action of the Debtors, except those

expressly waived by the Plan, all Assigned Causes of Action, any Claims or Interests

brought against the Debtors, and all other unencumbered Assets of the Debtors’ Estates

remaining after all required payments have been made pursuant to the Plan.

             8.     As of the Effective Date, the Liquidating Trustee was tasked with, among

other things, (a) the establishment and maintenance of any necessary operating, reserve and

trust accounts required to carry out the terms of the Liquidating Trust; (b) the pursuit of



1
    Unless otherwise defined, capitalized terms used herein have the meanings ascribed to them in the Plan.


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objections to, estimation of, and settlements of Claims, including proofs of claim filed

against the Debtors’ Estates; (c) the prosecution of any Causes of Action of the Debtors’

Estates not otherwise released under the Plan for the benefit of holders of Allowed Claims

and Allowed Interests; and (d) the calculation and distribution of all disbursements to be

made under the Plan to holders of Allowed Claims and Allowed Interests.

          9.    On July 19, 2022, for cause shown, this Bankruptcy Court issued an order

[ECF No. 1049] granting the Liquidating Trustee’s request to extend the Claims Objection

Deadline through and including October 28, 2022.

          10. On May 3, 2018, this Bankruptcy Court entered an Order Granting Motion of

the Debtors for an Order (I) Establishing Deadlines for Filing of Proofs of Claim, Section 503(b)(9)

Claims and (II) Approving the Form and Manner of Notice Thereof (the “Bar Date Order”) [ECF

No. 156]. The Bar Date Order set a claims bar date of July 5, 2018, at 5:00 p.m. (EST) (the

“General Bar Date”). Moreover, paragraph 13 of the Bar Date Order states that “[a]ny

holder of a claim against any Debtor who receives notice of the applicable Bar Dates

(whether such notice was actually or constructively received) and is required, but fails, to

file a Proof of Claim in accordance with this Order on or before the applicable Bar Date,

shall, pursuant to Bankruptcy Rule 3003(c)(2), not be treated as a creditor with respect to

that claim for purposes of voting and distribution.”

          11. 12.       On July 6, 2018, after the expiration of the General Bar Date,

Constellation Health Investment, LLC (“CHI” or the “Claimant”) filed a claim for

$28,550,000 for “money loaned and services performed.” CHI claims that $4,800,000 of its

claim is secured by a lien on property through an 8% Coupon.




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         12. On January 14, 2021, the Liquidating Trustee filed his Second Amended

Adversary Proceeding Complaint [Adv. Proc. No. 18-8053, ECF No. 303] (the “Second

Amended Complaint”) which asserted numerous claims against numerous entities including

the Claimant. Among the claims asserted in the Second Amended Complaint were

objections to the Claim (as defined below).

                                   RELIEF REQUESTED

         13. The Liquidating Trustee files this Claim Objection to Claim No. 240 (the

“Claim”) of CHI pursuant to section 502(b) of the Bankruptcy Code and Bankruptcy Rules

3003 and 3007, and seeks entry of an order expunging the Claim for the reasons set forth

herein or, in the alternative, reclassifying the Claim as a claim asserting an equity interest in

the Debtors and, accordingly, authorizing the removal of the Claim from the claims register.

A proposed form of order granting the relief requested herein is annexed hereto as Exhibit

A (the “Proposed Order”). Pursuant to Local Rule 3007-1, a true and correct copy of the

Claim is annexed hereto as Exhibit B.

                                  OBJECTION TO CLAIM

         14. As highlighted, the Plan, the Confirmation Order, and the Liquidating Trust

grant the Liquidating Trustee all powers necessary to implement the provisions of the Plan

and to administer the Liquidating Trust for the benefit of creditors. Section 105(a) of the

Bankruptcy Code further provides that the Bankruptcy Court “may issue any order, process

or judgment that is necessary or appropriate to carry out the provisions of this title.” 11

U.S.C. § 105(a).

         15. A filed proof of claim is “deemed allowed, unless a party in interest . . .

objects.” 11 U.S.C. § 502(a). Upon a showing in a claims objection that a claim is legally




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insufficient, the claimant has the burden to demonstrate the validity of the claim. See In re

Arcapita Bank B.S.C.(c), 508 B.R. 814, 817 (S.D.N.Y. 2014). Once the objector produces

evidence negating the prima facie validity of a filed claim by refuting one or more facts in the

filed claim, the burden of going forward then reverts to the claimant. See In re Waterman

Steamship Corp., 200 B.R. 770, 774-75 (Bankr. S.D.N.Y. 1996). The ultimate burden of

persuasion always rests on the claimant. Id. at 775. Also see In re WorldCom, No. 02-13533,

2005 WL 3832065 at *4 (Bankr. S.D.N.Y. Dec. 29, 2005). The claimant must prove the

claim, not sit back while the objector attempts to disprove it. In re Bennett, 83 B.R. 248, 252

(Bankr. S.D.N.Y. 1988).

         16. In addition, section 502 of the Bankruptcy Code provides that a claim may

not be allowed to the extent that “such claim is unenforceable against the debtor and

property of the debtor, under any agreement or applicable law.” 11 U.S.C. § 502(b)(1).

   A. Insufficient Documentation Provided For Claim

         17. The Debtors’ estates have no liability for the Claim because the Debtors’

prepetition books and records do not indicate that there is any liability owing to Claimant

and the Claimant has failed to provide any documentation, let alone sufficient

documentation, to indicate that there is any amount due and owing by the Debtors. The

Claim lacks sufficient information and evidence to establish an entitlement to any recovery,

and the Claimant has not otherwise established that its Claim meets the standards for prima

facie validity or is enforceable against the Debtors or the property of the Debtors under any

agreement or applicable law. See 11 U.S.C. 502(b); see also Bankruptcy Rule 3001(f). No

supporting documentation was provided with the Claim to shed light on what “services




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were performed,” what “money was loaned,” and whether such services were performed or

money was owed pursuant to a contract or other agreement.

          18. Under Bankruptcy Rule 3001(f), “a proof of claim” is not “prima facie evidence

of the claim” unless the proof of claim is “executed and filed in accordance with [the

Bankruptcy Rules].” Fed. R. Bankr. P. 3001(f); see also In re Rally Partners, L.P., 306 B.R. 165,

168 (Bankr. E.D. Tex. 2003) (“A proof of claim . . . does not qualify for [the] prima facie

evidentiary effect if it is not executed or filed in accordance with the Bankruptcy Rules.

[Bankruptcy] Rule 3001 generally sets forth the requirements for filing a proof of claim . . . .”

(citing First Nat’l Bank of Fayetteville, Ark. v. Circle J Dairy, Inc. (In re Circle J Dairy, Inc.), 112 B.R.

297, 300 (W.D. Ark. 1989)) (internal citation omitted)). The Claim is not prima facie

evidence of the claim because such Claimant did not file the Proof of Claim in accordance

with Bankruptcy Rule 3001(a).

          19. Bankruptcy Rule 3001(a) defines a “proof of claim” as “a written statement

setting forth a creditor’s claim.” Fed. R. Bankr. P. 3001(a). In general, “[a] proof of claim

[must] conform substantially to the appropriate Official Form”—that is, the current version of

Official Form 10. Fed. R. Bankr. P. 3001(a); see also Fed. R. Bankr. P. 9009 (“Except as

otherwise provided in [Bankruptcy] Rule 3016(d), the Official Forms prescribed by the

Judicial Conference of the United States shall be observed and used with alterations as may be

appropriate.”). Therefore, “[Official] Form 10 sets forth what [a claimant] is required [to

include] in a proof of claim.” In re Rockefeller Ctr. Props., 241 B.R. 804, 819 n.23 (Bankr.

S.D.N.Y. 1999). Through Official Form 10, Bankruptcy Rule 3001(a) requires a proof of

claim to contain the “Basis for [the] Claim.” Specifically, Bankruptcy Rule 3001(a) requires a

proof of claim to contain “facts sufficient to support a legal basis for the claim.” In re Planet



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Hollywood Int’l, Inc., 274 B.R. 391, 394 (Bankr. D. Del. 2001) (citing In re Allegheny Int’l, Inc.,

954 F.3d 167, 173 (3d Cir. 1992)).

         20. Here, the Claim was not filed properly because the Claim was not supported by

any documentation beyond the bare, conclusory descriptions in the Proof of Claim forms.

Specifically, the Claimant furnished no information to support any assertion to support the

Claim. Therefore, the Claim does not contain facts sufficient to support legal bases for the

Claim, and such Claim was not filed in accordance with Bankruptcy Rule 3001(a).

         21. The Claim is not prima facie evidence of the claim because they were not filed

in accordance with Bankruptcy Rule 3001(a). See Sass v. Barclays Bank PLC (In re Am. Home

Mortg. Holdings, Inc.), 501 B.R. 44, 62 (Bankr. D. Del. 2013) (“Pursuant to . . . Bankruptcy

[Rule] 3001, [if] a proof of claim does not provide the facts and documents necessary to

support the claim, [then] it is not entitled to the presumption of prima facie validity.” (citing

In re Kincaid, 388 B.R. 610, 614 (Bankr. E.D. Pa. 2008))). If the Claim is not expunged, the

Claimant would receive a recovery to which it is otherwise not entitled to on account of a

claim which is not enforceable against the Debtors and their estates. Accordingly, the

Claim should be disallowed and expunged in its entirety.

   B. Any Documentation That May Exist is Not Enforceable

         22. Further, to the extent that CHI can produce some documentation supporting

the Claim, any agreements the Debtors entered into with CHI is likely unenforceable. As

detailed in the Second Amended Complaint, the Debtors were the victims of a large, complex

and brazen fraud that was subject to an intricate and deliberate concealment effort perpetrated

by their former management. The thefts were orchestrated by Parmjit “Paul” Parmar

(“Parmar”), and were implemented through (among other things) looting the Debtors’ assets



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for his own benefit and the benefit of others. Parmar was Chief Executive Officer (“CEO”)

and Chairman of the Board of Directors (the “Board”) of CHT. Parmar controlled CHT

through his position as CEO and Chairman of the Board of CHT, his ownership of CHT

shares, and his ownership and/or control over the Parmar Shareholder Entities (as defined in

the Second Amended Complaint) which include the Claimant, who owned, directly or

indirectly, CHT shares.


           23. Any agreements the Debtors may have entered into with Claimant were likely

executed by Parmar on both sides of the agreement and thus are unenforceable. The

manipulation and self-dealing of corporate assets by insiders in control of a company such as

officers, directors, or controlling shareholders reflects bad faith and deprives creditors of fair

consideration. Self-interested transfers, such as any which may have potentially been made

here where Parmar was on both sides of the agreement, could not have been made in good

faith and violate NYC DCL §273-1.2 Further, an insider payment is not in good faith,

regardless of whether or not it was paid on account of an antecedent debt. Am. Media, Inc. v.

Bainbridge & Knight Labs., LLC, 135 A.D. 3d. 477, 478 (N.Y. 1st Dept. 2016). As Parmar was

perpetuating his fraud he likely utilized Claimant and/or any agreements entered into

between the Debtors and Claimant to further his illegal activities. Courts have consistently

held that agreements to facilitate a crime are unenforceable and void. See McMullen v.

Hoffman, 174 U.S. 639, 654 (“no court will lend its assistance in any way towards carrying out

the terms of an illegal contract”); see also In re Adelphia Communications Corp. Securities and

Derivative Litigation, 2013 WL 6838899 (S.D.N.Y. 2013) (discussing the doctrine of in pari


2
 The Court previously held contracts introduced by an entity controlled by Parmar were inadmissible where there
was no affidavit, factual substantiation, or authentication of documents alleged to have been entered into by the
Debtors. See Adversary Proceeding Number 20-08051, Hearing Transcript Feb. 9, 2021 at p. 14:18-15:10.


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delicto which is the application of the principle that no court will lend its aid to a man who

grounds his actions upon an immoral or illegal act); State v. Strickland, 42 Md. App. 357, 362

(Md. 1979) (“A basic principle of contract law is that agreements to commit a crime are

illegal, void.”).


          24. Accordingly, to the extent Claimant can produce and properly authenticate any

documentation supporting its Claim, it is likely that such agreements are unenforceable as a

matter of law.


    C. Misclassification of Claim

          25. The Claim was improperly classified. The Claim was filed in part as a general

unsecured claim and in part as a secured claim. The Claim alleges that the Claim is secured

by a note in the amount of $4.8 million.

          26. To the extent the Claim arose from equity, the Claim should be disallowed.

Since an equity interest does not provide a holder with a “right to payment,” it does not

constitute a “claim” under section 101(5) of the Bankruptcy Code. 11 U. S.C. § 101(5); see

also In re Hedged- Investments Associates, Inc., 84 F.3d 1267, 1272 (10th Cir. 1996) (stating that

an equity interest is not a claim against the debtor); In re Pine Lake Vill. Apartment Co., 21

B.R. 478, 480 (Bankr. S.D.N.Y. 1982) (stating that an equity interest is not a claim against

the debtor and the equity holder is only entitled to a proof of interest). Since equity interests

in the Debtors do not constitute liabilities of the Debtors or their estates, the Claim must be

disallowed in its entirety. Additionally, to the extent the Claim arises from an original

equity basis, even if the Claim was converted into contractual liabilities for purposes of

bankruptcy classification, it remains equity. See 11 U.S.C § 510(b); see also In re Med




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Diversified, Inc., 461 F.3d 251, 254 (2d Cir. 2006) (“in accordance with case law broadly

construing section 510(b), [] the claim need not flow directly from the securities transaction,

but can be viewed as ‘arising from’ the transaction if the transaction is part of the causal link

leading to the injury”); In re KIT digital, Inc., 497 B.R. 170, 180 (discussing the purpose of §

510(b) and stating that when claimants retain the right to participate in corporate profits if a

company succeeds, § 510(b) prevents them from using other claims to recover value of their

equity investment in parity with general unsecured creditors); Matter of Stirling Homex Corp.,

579 F.2d 206, 213 (“When a corporation becomes bankrupt, the temptation to lay aside the

garb of a stockholder . . . and to assume the role of a creditor, is very strong, and all

attempts of that kind should be viewed with suspicion.”); Collier on Bankruptcy (Alan N.

Resnick & Henry J. Sommer eds., 16th ed.) at ¶ 510.04[1] (“The clear mandate of section

510(b) is that shareholder claimants will not be permitted to elevate their interests from the

level of equity to general claims.”)

          27. As discussed herein in ¶¶ 17-21, to the extent CHI is claiming a portion of the

CHI Claim is a secured claim, CHI has not provided any documentation or evidence to

demonstrate that the CHI Claim is secured, and CHI has not identified any collateral for

which it holds a valid and perfected lien or security interest.

    D. Inferior to Debtors Claims

          28. To the extent the Claim relates to Merger Proceeds3, the claims of the Debtors

to such Merger Proceeds are superior to the claim of CHI and thus the Claim should be

expunged, for the reasons set forth in detail in the Second Amended Complaint.


3
 “Merger Proceeds” as defined in the Second Amended Complain refers to $212,502,269.25 which was paid out in
connection with the go-private merger transaction pursuant to which CHT Holdco, LLC acquired the stock of
Debtor Constellation Healthcare Technologies.



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   E. Late-Filed Claim

          29. The Liquidation Trustee further objects to the Claim as it was filed after the

applicable General Bar Date. Pursuant to the Bar Date Order, all holders of claims against

the Debtors were required to file a proof of claim with supporting documentation before the

applicable General Bar Date. The Claim was filed after the applicable General Bar Date and,

therefore, does not comply with the Bar Date Order. The Liquidation Trustee has examined

the Claim and has determined that they do not constitute an amendment to other timely filed

claims.

          30. Failure to timely file a proof of claim constitutes grounds for disallowance and

expungement pursuant to the Bankruptcy Code and Bar Date Order, and such claims may be

included on an omnibus objection. See Bankruptcy Rule 3007(d)(4). Further, failure to

disallow and expunge the Claim will result in Claimant receiving unwarranted recoveries to

the detriment of the Debtors, their estates, and their creditors who have complied with the Bar

Date Order and have timely filed proofs of claim in these chapter 11 cases. See In re Tronox

Incorporated, et al., 626 B.R. 688, 699 (Bankr. S.D.N.Y. 2021); In re Matter of Pacific Drilling

S.A., et al., 616 B.R. 634, 642-644 (Bankr. S.D.N.Y. 2020). Accordingly, the Liquidation

Trustee requests that the Claim be disallowed as a late filed claim and expunged in its entirety.

          31. Given these issues, the Liquidating Trustee seeks an entry of an order,

attached hereto as Exhibit A, pursuant to section 502(b) of the Bankruptcy Code, Rules

3003 and 3007 of the Bankruptcy Rules and Local Rule 3007-1, disallowing the Claim and

removing the Claim from the claims register.




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                                     RESERVATION OF RIGHTS

           32. The Liquidating Trustee hereby reserves the right to object in the future to the

Claim on any additional ground not set forth in this Claim Objection, and to amend,

modify, or supplement this Claim Objection to the extent the Claim Objection is not

sustained or the claimant files a response to this Claim Objection setting forth additional

bases for the Claim.

                                  NOTICE AND PRIOR REQUEST

           33. Notice of this Claim Objection will be provided to: (i) CHI at the email and

physical address for notices set forth in the Claim (Exhibit B), (ii) the Office of the United

States Trustee, and (iii) all parties requesting notice under Bankruptcy Rule 2002. The

Liquidating Trustee submits that, in view of the facts and circumstances, such notice is

sufficient and no other or further notice need be provided. Except as to the extent set forth

in the Second Amended Complaint,4 no previous request for the relief sought herein has

been made by the Debtors or the Liquidating Trustee to this or any other Court.




4
 To the extent the Court grants the requested relief as it relates to the Claim, the Liquidating Trustee will
withdraw Count XXXV of the Second Amended Complaint as it relates to the Claim.


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                                      CONCLUSION

         34. For the foregoing reasons, the Liquidating Trustee respectfully requests that

this Bankruptcy Court enter an order, substantially in the form attached hereto as Exhibit

A, (i) sustaining the Claim Objection, (ii) expunging the Claim; (iii) removing the Claim

from the claims register, and (iv) granting such other and further relief as the Bankruptcy

Court deems appropriate under the circumstances.

Dated: August 23, 2022
      New York, New York


                                           Respectfully submitted,


                                           By: /s/ Mark T. Power_______

                                           THOMPSON COBURN HAHN &
                                           HESSEN LLP

                                           Mark T. Power, Esq.
                                           Joseph Orbach, Esq.
                                           488 Madison Avenue
                                           New York, NY 10022
                                           (212) 478-7200

                                           Counsel for Howard M. Ehrenberg, Liquidating Trustee




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                               EXHIBIT A

                             Proposed Order




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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------x
                           Chapter 11
  In re:                                                              Chapter 11

  Orion HealthCorp, Inc., et al.,                                     Case No. 18-71748-67 (AST)
                                                                      Case No. 18-71789 (AST)
                                            Debtors.                  Case No. 18-74545 (AST)
  ----------------------------------------------------------------x
                                                                      Jointly Administered.


    ORDER GRANTING LIQUIDATING TRUSTEE’S MOTION OBJECTING TO
    CLAIM NO. 240 FILED BY CONSTELLATION HEALTH INVESTMENT, LLC

         Howard M. Ehrenberg (the “Liquidating Trustee”), in his capacity as the Liquidating

Trustee under that Liquidating Trust Agreement by and among Orion HealthCorp, Inc.,

Constellation Healthcare Technologies, Inc., and certain of their affiliates (collectively, the

“Debtors” or “Debtor Entities”), by and through his attorneys, submitted the Liquidating

Trustee’s Motion Objecting to Claim No. 240 Filed by Constellation Health Investment, LLC (the

“Claim Objection”). Based on the Claim Objection, and the evidence in support thereof,

the Court finds that Claim No. 240 filed by Constellation Health Investment, LLC shall be

disallowed in its entirety and expunged from the claims register.

         The Court having further determined that the Claim Objection is in the best interests

of the Debtors, their estates, their creditors, and other parties in interest; and due and

sufficient notice of the Claim Objection having been given under the particular

circumstances; and it appearing that no other or further notice need be provided; and after

due deliberation thereon; and good and sufficient cause appearing therefor, it is hereby:

         ORDERED, ADJUDGED, AND DECREED that:

          1.       The Claim Objection is hereby sustained.

          2.       The Motion is GRANTED.




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       3.     Claim No. 240 filed by Constellation Health Investment, LLC is disallowed

in its entirety and ordered expunged from the claims register.

       4.     The Liquidating Trustee, the Clerk of this Court, and the Claims Agent, Epiq

Bankruptcy Solutions, LLC, shall have the authority to take all actions necessary or

appropriate to give effect to this Order.

       5.     The Liquidating Trustee retains any and all rights to object to Claim No. 240

filed by Constellation Health Investment, LLC on any other grounds as may become

necessary.

       6.     The Court shall retain jurisdiction to hear and determine all matters arising

from the implementation or interpretation of this Order.




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                               EXHIBIT B

                             Claim No. 240




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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------- x
                                                               :        Chapter 11
                                                               :
 In re:                                                        :        Case No. 18-71748-67 (AST)
                                                               :        Case No. 18-71789 (AST)
 Orion HealthCorp, Inc., et al.,                               :        Case No. 18-74545 (AST)
                                                               :
                                    Debtors.                   :        (Jointly Administered)
                                                               :
-------------------------------------------------------------- x        Ref. Docket Nos. 1052-1053


                                          AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

DAVID RODRIGUEZ, being duly sworn, deposes and says:
                                                                                                 1
1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC , located at
   777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
   not a party to the above-captioned action.

2. On August 23, 2022, I caused to be served the:

     a. “Liquidating Trustee’s Motion Objecting to Claim No. 239 Filed by First United Health,
        LLC,” dated August 23, 2022 [Docket No. 1052], and

     b. “Liquidating Trustee’s Motion Objecting to Claim No. 240 Filed by Constellation Health
        Investment, LLC,” dated August 23, 2022 [Docket No. 1053],

by causing true and correct copies to be:

        i.    enclosed securely in separate postage pre-paid envelopes and delivered via first class
              mail to those parties listed on the annexed Exhibit A, and

       ii.    delivered via electronic mail to those parties listed on the annexed Exhibit B.




1 Epiq Bankruptcy Solutions, LLC, is now known as Epiq Corporate Restructuring, LLC.


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3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                  /s/ David Rodriguez
                                                                  David Rodriguez

 Sworn to before me this
 24th day of August, 2022
 /s/ Cassandra Murray
 Notary Public, State of New York
 No. 01MU6220179
 Qualified in Queens County
 Commission Expires April 12, 2026




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                           EXHIBIT A




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                                                    Service List

Claim Name                              Address Information
BAKER BOTTS L.L.P.                      ATTN: CHRISTOPHER NEWCOMB (COUNSEL TO HEALTHTEK SOLUTIONS, LLC) 30 ROCKEFELLER
                                        PLAZA NEW YORK NY 10112
INTERNAL REVENUE SERVICE                CENTRALIZED INSOLVENCY OPERATION 2970 MARKET STREET PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE                CENTRALIZED INSOLVENCY OPERATION P.O. BOX 7346 PHILADELPHIA PA 19101-7346
JQ 1                                    (OFFICIAL COMMITEE OF UNSECURED CREDITORS) 100 JERICHO QUADRANGLE, SUITE 106
                                        JERICHO NY 11753
LAW OFFICE OF CHARLES A. GRUEN          ATTN: CHARLES A. GRUEN (COUNSEL TO U.S. BANK NATIONAL ASSOCIATION D/B/A U.S.
                                        BANK EQUIPMENT FINANCE) 381 BROADWAY, SUITE 300 WESTWOOD NJ 07675
MACCO & STERN LLP                       ATTN: COOPER J. MACCO (COUNSEL FOR EDGE BUSINESS ALLIANZ & MEDLINK COMPUTER
                                        SCIENCES) 2950 EXPRESS DRIVE SOUTH, SUITE 109 ISLANDIA NY 11749
OFFICE OF THE ATTORNEY GENERAL          FOR THE STATE OF NEW YORK ATTN: ERIC T. SCHNEIDERMAN THE CAPITOL ALBANY NY
                                        12224-0341
OFFICE OF THE UNITED STATES ATTORNEY    ATTN: BONNI PERLIN, BANKRUPTCY COORDINATOR CIVIL DIVISION, EDNY, BANKRUPTCY
FOR EDNY                                PROCESSING 271-A CADMAN PLAZA EAST BROOKLYN NY 11201
OFFICE OF THE UNITED STATES TRUSTEE     EASTERN DISTRICT OF NEW YORK LONG ISLAND FEDERAL PLAZA COURTHOUSE ATTN: ALFRED
                                        M. DIMINO 560 FEDERAL PLAZA CENTRAL ISLIP NY 11722
REED SMITH LLP                          ATTN: CHRYSTAL P. MAURO (COUNSEL TO STEEL VALLEY EMERGENCY PHYSICIANS, INC.
                                        ("SVEP") 599 LEXINGTON AVENUE NEW YORK NY 10022
ROSENBERG RICH BAKER BERMAN AND COMPANY ATTN: MANAGING PARTNER 265 DAVIDSON AVENUE, SUITE 210 SOMERSET NJ 08873
SECURITIES EXCHANGE COMMISSION          NEW YORK REGIONAL OFFICE ANDREW CALAMARI, REGIONAL DIRECTOR BROOKFIELD PLACE;
                                        200 VESEY ST, STE 400 NEW YORK NY 10281-1022
SECURITIES EXCHANGE COMMISSION          100 F STREET, NE WASHINGTON DC 20549
U.S. DEPARTMENT OF JUSTICE              ATTN: SETH SHAPIRO CIVIL DIVISION, COMMERICAL LITIGATION BRANCH P.O. BOX 875
                                        BRANCH FRANKLIN STATION WASHINGTON DC 20044
U.S. DEPARTMENT OF JUSTICE              950 PENNSYLVANIA AVENUE, NW WASHINGTON DC 20530-0001




                                 Total Creditor count 15




Epiq Corporate Restructuring, LLC                                                                               1441
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                           EXHIBIT B




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                                                                               08/25/22 10:19:08
                                                                                        18:14:10
                         Orion HealthCorp, Inc., et al. Case No. 18‐71748‐67 (AST)
                                    Electronic Mail Master Service List
Creditor Name                                                Email Address
ALLIANCE HEALTH SCIENCES                                     info@alliancediagnostics.com
CHAPMAN AND CUTLER FOR BMO HARRIS BANK                       stetro@chapman.com
CHRISTINE COHEN                                              chriscohen55@yahoo .com
COMMONWEALTH OF PA, OFFICE OF UCTS, DOL &
INDUSTRY                                                     ra-li-ucts-bankrupt@state.pa.us
                                                             cbelmonte@duanemorris.com;
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                                                             BRose@hahnhessen.com;
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HAHN & HESSEN LLP                                            jamato@hahnhessen.com
KEYBANK NATIONAL ASSOCIATION                                 bob_j_burns@keybank.com
KOLB RADIOLOGY, PC                                           tkolbmd@yahoo.com
L'ABBATE BALKAN FOR ROBINSON BROG, ET AL                     mrice@lbcclaw.com
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POPEO, PC                                     pjricotta@mintz.com; krwalsh@mintz.com

                                                             davideades@mvalaw.com; treyrayburn@mvalaw.com;
                                                             zacharysmith@mvalaw.com;
                                                             jimlangdon@mvalaw.com;
MOORE & VAN ALLEN FOR BANK OF AMERICA                        gabrielmathless@mvalaw.com
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MUCHMORE & ASSOCIATES PLLC                                   mtravis@muchmorelaw.com
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                                                             andrewmarks@quinnemanuel.com;
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                                                             clynch@reedsmith.com; kgwynne@reedsmith.com;
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                                                             RFriedman@SilvermanAcampora.com;
SILVERMAN ACAMPORA                                           BPowers@SilvermanAcampora.com
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                                                             Alissa.Piccione@troutman.com;
                                                             tim.mast@troutman.com;
                                                             Bianca.DiBella@troutman.com;
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                                                             mitchel.perkiel@troutmansanders.com;
TROUTMAN SANDERS FOR CC CAPITAL MGMT, LLC                    elinora.velazquez@troutmansanders.com
TROUTMAN SANDERS FOR CC CAPITAL MGMT, LLC                    david.dantzler@troutman.com



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                      Orion HealthCorp, Inc., et al. Case No. 18‐71748‐67 (AST)
                                 Electronic Mail Master Service List
Creditor Name                                             Email Address
U.S. DEPT OF JUSTICE - CIVIL DIVISION                     seth.shapiro@usdoj.gov
WILMER CUTLER PICKERING HALE AND DORR LLP                 lauren.lifland@wilmerhale.com
WINDELS MARX LANE & MITTENDORF, LLP FOR                   csimpson@windelsmarx.com;
PARMAR & NON-DEBTORS                                      jhoffman@windelsmarx.com




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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------x
                           Chapter 11
  In re:                                                                Chapter 11

  Orion HealthCorp, Inc., et al.,                                       Case No. 18-71748-67 (AST)
                                                                        Case No. 18-71789 (AST)
                                            Debtors.                    Case No. 18-74545 (AST)
  ----------------------------------------------------------------x
                                                                        Jointly Administered.


    ORDER GRANTING LIQUIDATING TRUSTEE’S MOTION OBJECTING TO
    CLAIM NO. 240 FILED BY CONSTELLATION HEALTH INVESTMENT, LLC

         Howard M. Ehrenberg (the “Liquidating Trustee”), in his capacity as the Liquidating

Trustee under that Liquidating Trust Agreement by and among Orion HealthCorp, Inc.,

Constellation Healthcare Technologies, Inc., and certain of their affiliates (collectively, the

“Debtors” or “Debtor Entities”), by and through his attorneys, submitted the Liquidating

Trustee’s Motion Objecting to Claim No. 240 Filed by Constellation Health Investment, LLC (the

“Claim Objection”). Based on the Claim Objection, and the evidence in support thereof,

the Court finds that Claim No. 240 filed by Constellation Health Investment, LLC shall be

disallowed in its entirety and expunged from the claims register.

         The Court having further determined that the Claim Objection is in the best interests

of the Debtors, their estates, their creditors, and other parties in interest; and due and

sufficient notice of the Claim Objection having been given under the particular

circumstances; and it appearing that no other or further notice need be provided; and after

due deliberation thereon; and good and sufficient cause appearing therefor, it is hereby:

         ORDERED, ADJUDGED, AND DECREED that:

          1.       The Claim Objection is hereby sustained.

          2.       The Motion is GRANTED.




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       3.     Claim No. 240 filed by Constellation Health Investment, LLC is disallowed

in its entirety and ordered expunged from the claims register.

       4.     The Liquidating Trustee, the Clerk of this Court, and the Claims Agent, Epiq

Bankruptcy Solutions, LLC, shall have the authority to take all actions necessary or

appropriate to give effect to this Order.

       5.     The Liquidating Trustee retains any and all rights to object to Claim No. 240

filed by Constellation Health Investment, LLC on any other grounds as may become

necessary.

       6.     The Court shall retain jurisdiction to hear and determine all matters arising

from the implementation or interpretation of this Order.




                                                          ____________________________
Dated: October 4, 2022                                              Alan S. Trust
       Central Islip, New York                          Chief United States Bankruptcy Judge


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Official Form 417A (12/18)




                                  [Caption as in Form 416A, 416B, or 416D, as appropriate]

                            NOTICE OF APPEAL AND STATEMENT OF ELECTION


       Part 1: Identify the appellant(s)
           1. Name(s) of appellant(s): Constellation Health Investment LLC
              _________________________________________________________________________

           2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
              appeal:

                 For appeals in an adversary proceeding.            For appeals in a bankruptcy case and not in an
                    Plaintiff                                      adversary proceeding.
                    Defendant                                       Debtor
                    Other (describe) ________________________      X
                                                                     Creditor
                                                                     Trustee
                                                                     Other (describe)Order  Granting Liquidating
                                                                                       ________________________

                                                                           Trustee's Objection to Claim
       Part 2: Identify the subject of this appeal                         No. 240 filed by Constellation
           1.                                                              Health Investment, LLC
                Describe the judgment, order, or decree appealed from: ____________________________

                                                                                      10/5/2022
           2. State the date on which the judgment, order, or decree was entered: ___________________

       Part 3: Identify the other parties to the appeal

       List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
       and telephone numbers of their attorneys (attach additional pages if necessary):
                                                                 Giuliano Law, PC
                        Creditor
           1. Party: _________________            Attorney: ______________________________
                                                              445 Broadhollow Rd. Ste. 25
                                                            ______________________________
                                                              Melville, NY 11747
                                                            ______________________________
                                                              516-792-9800
                                                            ______________________________
                                                   Attn. Anthony F. Giuliano, Esq,
                        Liquidating Trustee
                                                  Thomson Coburn Hahn & Hessen
           2. Party: _________________ Attorney: ______________________________
                                                 ______________________________
                                                  LLP
                                                ______________________________
                                                  488 Madison Ave.
                                                ______________________________
                                                  New York, NY 10022
                                                  212-478-7380
                                                  Att. Mark T. Powers, Esq.




       Official Form 417A                     Notice of Appeal and Statement of Election                         page 1



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Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal.

           X Appellant(s) elect to have the appeal heard by the United States District Court rather than by
              the Bankruptcy Appellate Panel.


Part 5: Sign below

_____________________________________________________                                    10/17/2022
                                                                             Date: ____________________________
Signature of attorney for appellant(s) (or appellant(s)
if not represented by an attorney)

Name, address, and telephone number of attorney
(or appellant(s) if not represented by an attorney):
_____________________________________________________
    Anthony F. Giuliano, Esq.
_____________________________________________________
    Giuliano Law, P.C.
_____________________________________________________
    445 Broadhollow Rd. Ste.
_____________________________________________________
    25
    Melville, NY 11747

Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.


[Note to inmate filers: If you are an inmate filer in an institution and you seek the timing benefit of Fed.
R. Bankr. P. 8002(c)(1), complete Director’s Form 4170 (Declaration of Inmate Filing) and file that
declaration along with the Notice of Appeal.]




Official Form 417A                   Notice of Appeal and Statement of Election                             page 2

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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------x
                           Chapter 11
  In re:                                                                Chapter 11

  Orion HealthCorp, Inc., et al.,                                       Case No. 18-71748-67 (AST)
                                                                        Case No. 18-71789 (AST)
                                            Debtors.                    Case No. 18-74545 (AST)
  ----------------------------------------------------------------x
                                                                        Jointly Administered.


    ORDER GRANTING LIQUIDATING TRUSTEE’S MOTION OBJECTING TO
    CLAIM NO. 240 FILED BY CONSTELLATION HEALTH INVESTMENT, LLC

         Howard M. Ehrenberg (the “Liquidating Trustee”), in his capacity as the Liquidating

Trustee under that Liquidating Trust Agreement by and among Orion HealthCorp, Inc.,

Constellation Healthcare Technologies, Inc., and certain of their affiliates (collectively, the

“Debtors” or “Debtor Entities”), by and through his attorneys, submitted the Liquidating

Trustee’s Motion Objecting to Claim No. 240 Filed by Constellation Health Investment, LLC (the

“Claim Objection”). Based on the Claim Objection, and the evidence in support thereof,

the Court finds that Claim No. 240 filed by Constellation Health Investment, LLC shall be

disallowed in its entirety and expunged from the claims register.

         The Court having further determined that the Claim Objection is in the best interests

of the Debtors, their estates, their creditors, and other parties in interest; and due and

sufficient notice of the Claim Objection having been given under the particular

circumstances; and it appearing that no other or further notice need be provided; and after

due deliberation thereon; and good and sufficient cause appearing therefor, it is hereby:

         ORDERED, ADJUDGED, AND DECREED that:

          1.       The Claim Objection is hereby sustained.

          2.       The Motion is GRANTED.




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       3.     Claim No. 240 filed by Constellation Health Investment, LLC is disallowed

in its entirety and ordered expunged from the claims register.

       4.     The Liquidating Trustee, the Clerk of this Court, and the Claims Agent, Epiq

Bankruptcy Solutions, LLC, shall have the authority to take all actions necessary or

appropriate to give effect to this Order.

       5.     The Liquidating Trustee retains any and all rights to object to Claim No. 240

filed by Constellation Health Investment, LLC on any other grounds as may become

necessary.

       6.     The Court shall retain jurisdiction to hear and determine all matters arising

from the implementation or interpretation of this Order.




                                                          ____________________________
Dated: October 4, 2022                                              Alan S. Trust
       Central Islip, New York                          Chief United States Bankruptcy Judge


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Anthony F. Giuliano, Esq.
GIULIANO LAW, P.C.
Attorneys for Movants
445 Broadhollow Road, Ste. 25
Melville. New York 11747
afg@glpcny.com

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

------------------------------------------------------------------------------ x
In re:                                                                                             Chapter 11

                                                                                                   Case No. 18-71748-67 (AST)
Orion HealthCorp, Inc., et al.,                                                                    Case No. 18-71789 (AST)
                                                                                                   Case No. 18-74545 (AST)

                                                           Debtors.                                (Jointly Administered)



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                                                       CERTIFICATE OF SERVICE


        I, Anthony F. Giuliano, hereby declare, under penalty of perjury under the laws of the United States of
America, and pursuant to 28 U.S.C. § 1746, that on October 18, 2022, I caused to be served a copy of the Notice of
Appeal and Civil Cover Sheet on all parties to this action, via Electronic Document Filing System (ECF).

Dated: Melville, New York
       October 18, 2022

                                                                                   Respectfully Submitted,

                                                                                   By: /s/ Anthony F. Giuliano
                                                                                           Anthony F. Giuliano
                                                                                           Giuliano Law, P.C.
                                                                                           445 Broadhollow Road
                                                                                           Suite 25
                                                                                           Melville, NY 11747
                                                                                           Tel. (516) 792-9800
                                                                                           Email. afg@glpcny.com




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                                                  Notice Recipients
District/Off: 0207−8                     User: admin                      Date Created: 10/18/2022
Case: 8−18−71748−ast                     Form ID: pdf000                  Total: 2


Recipients of Notice of Electronic Filing:
ust         United States Trustee         USTPRegion02.LI.ECF@usdoj.gov
aty         Mark T Power           mpower@hahnhessen.com
                                                                                                     TOTAL: 2




                                                                                                                155
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Anthony F. Giuliano, Esq.
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Attorneys for Movants
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Melville. New York 11747
afg@glpcny.com

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

------------------------------------------------------------------------------ x
In re:                                                                                    Chapter 11

                                                                                          Case No. 18-71748-67 (AST)
Orion HealthCorp, Inc., et al.,                                                           Case No. 18-71789 (AST)
                                                                                          Case No. 18-74545 (AST)

                                                           Debtors.                       (Jointly Administered)



------------------------------------------------------------------------------ x



  DESIGNATION OF RECORD ON APPEAL AND STATEMENT OF ISSUES
                 TO BE PRESENTED ON APPEAL

           Constellation Health Investment, LLC (“Appellant” or “CHT”), by its

undersigned counsel, Giuliano Law P.C., designates the following items to be

included in the record on appeal, pursuant to Appellant’s Notice of Appeal dated

October 18, 2022, from the order (the “Order”) of the United States Bankruptcy Court

for the Eastern District of New York dated October 4, 2022, granting Howard M.

Ehrenberg, in his capacity as Liquidating Trustee’s (“Appellee”) objection to Claim

No. 240 filed by CHI and sets forth the following as its designation of record on appeal

and statement of issues to be presented on appeal:



A.         Designation of Record

           1.          Voluntary Petition [Dkt. No. 1].

           2.          Schedules, Statements and Affidavit [Dkt. No. 204].




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       3.    Statement of Financial Affairs [Dkt. No. 204].

       4.    Order Setting Last Day to File Proofs of Claim [Dkt. No. 156].

       5.    Amended Complaint Realignment of parties, addition of counts [Dkt.

No. 303 in Adv. Pro. No. 18-08053].

       6.    Motion to Object/Reclassify/Reduce/Expunge Claim No. 240 [Dkt. 1053].

       7.    Affidavit of Service [Dkt. No. 1054].

       8.    Order Granting Motion to Disallow Claim No.240 [Dkt. No. 1058].

       9.    Notice of Appeal to District Court [Dkt. No. 1059].

B.     Issues on Appeal

       10.   Whether the Bankruptcy Court erred in failing to articulate the basis

for granting Appellee’s Motion to Disallow Claim No. 240 (the “Motion”)?

       11.   Whether the Bankruptcy Court erred by granting the Motion where the

Motion failed to comply with Local Bankruptcy Rule EDNY 3007-1?

       12.   Whether the Bankruptcy Court erred in granting the Motion where the

relief sought was already the subject of a pending Adversary Proceeding?

       13.   Whether the Bankruptcy Court erred in determining that Claim No. 240

was untimely?

       14.   Whether the Bankruptcy Court erred in determining that Claim No. 240

failed to meet the standards for prima facia validity?

       15.   Whether the Bankruptcy Court erred in determining that any

agreements the Debtors entered into with Appellant are not enforceable?




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      16.    Whether the Bankruptcy Court erred in determining that Claim No. 240

was improperly classified?

      17.    Whether the Bankruptcy Court erred in determining that Appellant was

not entitled to a secured claim?

      18.    Whether the Bankruptcy Court erred in determining that Claim No. 240

is inferior to Debtors’ Claims?

      19.    Whether the Bankruptcy Court erred in granting Appellee’s Motion?

Dated: Melville, New York
       November 1, 2022



                                                     GIULIANO LAW, P.C.
                                                     Attorneys for Appellant

                                               By: /s/ Anthony F. Giuliano
                                                     Anthony F. Giuliano
                                                     445 Broadhollow Rd., Ste. 25
                                                     Melville, New York 11747
                                                     (516) 792-9800
                                                     afg@glpcny.com




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                                                                                     158
